Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 1 of 124 Page ID
                                 #:3169



  1 SCHEPER KIM & HARRIS LLP
    RICHARD E. DROOYAN (Bar No. 65672)
  2
    601 West Fifth Street, 12th Floor
  3 Los Angeles, CA 90071-2025
    Telephone: (213) 613-4655
  4
    Facsimile: (213) 613-4656
  5
    Monitor
  6
  7
                           UNITED STATES DISTRICT COURT
  8
                      CENTRAL DISTRICT OF CALIFORNIA
  9
                                WESTERN DIVISION
 10
 11
                                            CV No. 15-05903 DDP (JEMX)
 12 UNITED STATES OF AMERICA,
 13                                         MONITOR’S SEVENTH REPORT
                 Plaintiff,
 14
 15                   v.

 16 COUNTY OF LOS ANGELES AND
    LOS ANGELES COUNTY SHERIFF
 17 JIM MCDONNELL, in his Official
    Capacity,
 18
                 Defendants.
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                 Case No. 2:14cr00282-R
                                MONITOR’S SEVENTH REPORT
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 2 of 124 Page ID
                                 #:3170



  1        Pursuant to the Paragraph 109 of the Joint Settlement Agreement Regarding
  2 Los Angeles County Jails, the Monitor appointed by this Court hereby submits the
  3 attached Report “describing the steps taken” by the County of Los Angeles and the
  4 Los Angeles County Sheriff during the six-month period from July 1, 2018, to
  5 December 31, 2018, “to implement the Agreement and evaluating the extent to
  6 which they have complied with this Agreement.” This Report takes into
  7 consideration the advice and assistance I have received from the Subject Matter
  8 Experts appointed by this Court and the comments from the parties in accordance
  9 with Paragraph 110 of the Agreement. I am available to answer any questions the
 10 Court may have regarding my Report at such times as are convenient for the Court
 11 and the parties.
 12
 13 DATED: February 28, 2019           Respectfully submitted,
 14                                    SCHEPER KIM & HARRIS LLP
 15                                    RICHARD E. DROOYAN

 16
 17
                                       By: /s/ Richard E. Drooyan
 18
                                           Richard E. Drooyan
 19                                        Monitor
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                            -1-
                                  MONITOR’S SEVENTH REPORT
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 3 of 124 Page ID
                                 #:3171


                                 MONITOR’S SEVENTH REPORT

           This Seventh Report sets forth the Monitor’s assessments of the implementation
   of the Settlement Agreement (the "Agreement") between the County of Los Angeles (the
   "County") and the United States Department of Justice ("DOJ") for the treatment of
   mentally ill inmates in the County’s jail facilities by the Los Angeles Sheriff’s
   Department (the "Department") and the County's Department of Health Services
   ("DHS").1 It covers the County's reported results for the period from July 1, 2018,
   through December 31, 2018 (the "Seventh Reporting Period").

           As used herein, "Substantial Compliance" means that the County has "achieved
   compliance with the material components of the relevant provisions of this Agreement in
   accordance with the [agreed-upon Compliance Measures for assessing Substantial
   Compliance]," which it must maintain for twelve-consecutive months; "Partial
   Compliance" means that the County has achieved "compliance on some, but not all, of
   the material components of the relevant provision of this Agreement;" and "Non-
   Compliance" means that the County has not met "most or all of the material components
   of the relevant provisions of this Agreement."

          This Seventh Report is based upon the Monitor's review of the policies,
   procedures, and directives proposed and/or implemented by the Department and
   Correctional Health Services ("CHS") in the Seventh Reporting Period; assessments and
   observations of the Subject Matter Expert; and multiple tours of the jails by the Monitor,
   the Subject Matter Experts, and the two clinicians retained by the Monitor to assist the
   Mental Health Subject Matter Expert. It is also takes into consideration the County’s
   Self-Assessment Status Report (the "Seventh Self-Assessment"), which was received on
   December16, 2018; the Semi-Annual Report of the Department's Custody Compliance
   and Sustainability Bureau ("CCSB"), which was received on January 3, 2019; the
   County's Augmented Self-Assessment Status Report (the "Augmented Seventh Self-
   Assessment") and the CHS's Semi-Annual Report on Quality Improvement/Assurance,
   which were received on January 14, 2019 and results reported by the County through that
   date. Finally, it takes into consideration the comments the Monitor received from the
   County and DOJ on the draft of this Report that was submitted to the parties on February
   1, 2019.

           During the Seventh Reporting Period, the Mental Health Subject Matter Expert,
   with the assistance of the clinicians, conducted additional qualitative assessments of the
   County's compliance with certain Substantive Provisions in the Settlement Agreement,
   and they again used different methodologies to test some of the County's reported results.
   The Monitor's determination of the County's compliance, with the advice of the Subject
   Matter Expert, is based upon the quantitative thresholds in the Compliance Measures
   (and any other applicable requirements in the Compliance Measures), unless the quality
   of the County's performance as determined by the qualitative assessment is plainly
   inadequate or the results reported by Subject Matter Expert vary significantly from the

   1
    The Department of Health Services includes Correctional Health Services, which is responsible for
   Medical and Mental Health Services in the Los Angeles County jails.


                                                      1
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 4 of 124 Page ID
                                 #:3172


   results reported by the Department.

             During the Seventh Reporting period, the County established compliance with
   additional provisions of the Settlement Agreement, and made progress in addressing the
   significant challenges to achieving and maintaining Substantial Compliance with respect
   to its quality improvement plans and the private screening of inmates at IRC and CRDF.
   It still faces significant challenges with respect to therapeutic services and out-of-cell
   time.

           As in prior reports, this Seventh Report reflects the results of audits by the
   Monitor's auditors to verify results reported by the County. The Monitor has deemed the
   County to be in Substantial Compliance "as of" the beginning of the quarter reported by
   the County if the auditors have verified that the County has met the thresholds in the
   Compliance Measures. If the auditors were not able to verify the results reported by the
   County, the twelve-month period for maintaining Substantial Compliance will commence
   in a future period when the County's reported results are verified by the auditors. If the
   County maintains Substantial Compliance with a provision for twelve consecutive
   months, pursuant to Paragraph 111 of the Agreement, the Monitor and Subject Matter
   Experts will "no longer. . .assess or report on that provision" in future reporting periods.

          Some of the Substantial Compliance results reported by the County in the Seventh
   Reporting Period have not been audited by the Monitor’s auditors and cannot be
   considered final until verified by the auditors. The County will not be deemed to be in
   Substantial Compliance as of the County's reported date for purposes of determining the
   twelve-month compliance period if the results are not verified by the auditors.

           Appendix A to this Seventh Report shows the status of each of the 69 provisions
   of the Agreement that are subject to monitoring and the twelve-month triggering dates
   where the County is deemed to be in Substantial Compliance. Appendix B shows the
   County's progress from the Initial Reporting Period through the Seventh Reporting Period
   in achieving Substantial Compliance and in maintaining Substantial Compliance for
   twelve consecutive months on provisions that are no longer subject to monitoring.

           As has been the case since the beginning of the Initial Reporting Period, the
   County cooperated completely with the Monitor and the Subject Matter Experts during
   the Seventh Reporting Period. The Department, CHS, and County Counsel facilitated
   our visits and inmate interviews, answered our questions, and responded to our requests
   for documents and information. We appreciate their responsiveness, transparency,
   professionalism, and courtesy in handling our monitoring requests.

                                                        Richard Drooyan, Monitor
                                                        February 28, 2019




                                                2
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 5 of 124 Page ID
                                 #:3173


                                        EXECUTIVE SUMMARY

            There are 69 provisions in the Settlement Agreement that are subject to
   monitoring by the Monitor and Subject Matter Experts. As of the date of this Report, the
   County and the Department are in Substantial Compliance with 31 provisions, in Partial
   Compliance with 22 provisions, and in Non-Compliance with 7 provisions. In addition,
   there are 7 provisions in which the Department is in Substantial Compliance at some
   facilities and in Partial Compliance or Non-Compliance at other facilities. There is also
   one provision (Paragraph 34), that remained stayed pending litigation initiated by third
   party intervenors, and one provision (Paragraph 39) for which the Department is in
   Substantial Compliance at certain facilities, Partial Compliance at other facilities, and
   Not Rated at other facilities. There are 39 provisions for which the County and the
   Department are in Substantial Compliance at some or all of the facilities.2

           There are 23 provisions that are no longer subject to monitoring because the
   County and Department maintained Substantial Compliance for twelve consecutive
   months as required by Paragraph 111 of the Settlement Agreement as verified by the
   Monitor's auditors as required. There are another 11 provisions for which some facilities
   are no longer subject to monitoring because those facilities maintained Substantial
   Compliance for the required twelve consecutive months.3

           As of the date of this Report, and subject to verification by the Monitor's auditors
   and qualitative assessments in some cases, the County and the Department are in
   Substantial Compliance at some or all of the facilities with the following provisions of
   the Settlement Agreement:

           The County has achieved Substantial Compliance with Paragraph 18, which
   requires the training of Deputy Sheriffs and Custody Assistants on suicide prevention as
   follows: at Men's Central Jail ("MCJ") and Pitchess Detention Center ("PDC") South as
   of October 1, 2017, at North County Correctional Facility ("NCCF") as of September 1,
   2017, at PDC East as of December 1, 2017, at Twin Towers Correctional Facility
   ("TTCF"), the Inmate Reception Center ("IRC") and PDC North as of April 1, 2018. The
   County has provided documentation reflecting that the County has achieved Substantial
   Compliance with Paragraph 18 at Century Regional Detention Facility ("CRDF") as of
   June 1, 2018. The results at CRDF are subject to verification by the Monitor's auditors.

           The County has provided documentation reflecting that the County has achieved
   Substantial Compliance at MCJ, NCCF, and IRC as of April 1, 2018, and at TTCF as of
   July 1, 2018, with Paragraph 19, which requires the training of Deputy Sheriffs on Crisis
   Intervention and Conflict Resolution and the training of Deputy Sheriffs and Custody
   Assistants in working with mentally ill prisoners. The results are subject to verification
   by the Monitor's auditors.

   2
     Under Paragraph 111 of the Agreement, the twelve-month period for which the County is required to
   maintain Substantial Compliance can be determined on a facility-by-facility basis.
   3
     The provisions that are no longer subject to monitoring at some or all of the facilities are highlighted in
   bold in Appendix A.


                                                          3
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 6 of 124 Page ID
                                 #:3174


          The County has achieved Substantial Compliance at PDC East, PDC North,
   NCCF, and CRDF as of August 1, 2017 and at PDC South as of October 1, 2017, with
   Paragraph 20, which requires the training of additional Deputy Sheriffs on Crisis
   Intervention and Conflict Resolution and on working with mentally ill prisoners.

          The County has maintained Substantial Compliance for twelve consecutive
   months at PDC East, PDC South, PDC North, NCCF, IRC, and TTCF with Paragraph 21,
   which requires Custody personnel to maintain CPR certifications. The County also has
   provided documentation that it has maintained Substantial Compliance for twelve
   consecutive months at MCJ and for three consecutive months at CRDF. The results for
   MCJ and CRDF are subject to verification by the Monitor’s auditors.

           The County has maintained Substantial Compliance for twelve consecutive
   months with Paragraph 22, which requires the County and the Sheriff to provide
   instructional material on the use of arresting and booking documents to ensure the
   sharing of known relevant and available information on prisoners’ mental health status
   and suicide risk.

           The County has maintained Substantial Compliance for twelve consecutive
   months as of July 12, 2018, with Paragraph 23, which requires that the Department
   conduct a systematic review of prisoner housing to reduce the risk of self-harm and to
   identify and address suicide hazards, and to develop plans to reasonably mitigate suicide
   hazards identified in the review.

         The County has maintained Substantial Compliance for twelve consecutive
   months as of September 30, 2018, with Paragraph 24, which requires the Department to
   conduct annual reviews and inspections of prisoner housing to identify suicide hazards.

          The County has maintained Substantial Compliance for twelve consecutive
   months at IRC as of March 31, 2018, with Paragraph 28, which requires the Department
   to expedite inmates having urgent or emergent mental health needs through the booking
   process.

           The County has maintained Substantial Compliance for twelve consecutive
   months as of March 31, 2018, with Paragraph 29, which requires mental health
   assessments of prisoners with non-emergent mental health needs within 24 hours of the
   intake nursing assessment.

           The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2016, with Paragraph 32, which requires that a serious
   suicide attempt be entered in the prisoner’s electronic medical record in a timely manner.

           The County has maintained Substantial Compliance for twelve consecutive
   months as of June 30, 2017, with Paragraph 33, which requires mental health supervisors
   to review electronic medical records on a quarterly basis to assess their accuracy.




                                               4
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 7 of 124 Page ID
                                 #:3175


           The County has maintained Substantial Compliance as of November 1, 2017,
   through September 30, 2018, with Paragraph 35, which requires the Department to ensure
   that custody staff refer prisoners who are demonstrating a potential need for routine
   mental health care to a QMHP or a Jail Mental Evaluation Team.

           The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2016, with Paragraph 38, which requires mental health staff
   or JMET teams to make weekly cell-by-cell rounds in restricted non-mental health
   housing modules to identify prisoners with mental illnesses and grant prisoner's requests
   for out-of-cell interviews.

           The County has provided documentation reflecting that it achieved Substantial
   Compliance at NCCF as of July 1, 2017, through June 30, 2018, and at PDC North as of
   July 1, 2018, through September 30, 2018, with Paragraph 39, which requires the County
   to use a confidential self-referral system for prisoners to request mental health care. The
   results are subject to verification by the Monitor's auditors and a qualitative assessment
   by the Subject Matter Expert.

          The County has maintained Substantial Compliance at NCCF and PDC North for
   twelve consecutive months, as of September 30, 2018, with Paragraph 43, which requires
   the Department to develop and implement policies for discipline of prisoners with serious
   mental illnesses.

            The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2016, with Paragraph 44, which requires the Department to
   install protective barriers in High Observation Housing and other mental health housing
   areas.

           The County has maintained Substantial Compliance for twelve consecutive
   months with Paragraph 45, which requires Suicide Prevention Kits and first-aid kits in
   control booths in all facilities.

         The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2016, with Paragraph 48, which requires the Department to
   have written housekeeping, sanitation, and inspection plans to ensure proper cleaning.

         The County has maintained Substantial Compliance for twelve consecutive
   months as of February 28, 2017, with Paragraph 49, which requires the Department to
   have maintenance plans to respond to routine and emergency maintenance needs.

         The County has maintained Substantial Compliance for twelve consecutive
   months with Paragraph 50, which requires pest control in the jails.

          The County has maintained Substantial Compliance for twelve consecutive
   months with Paragraph 51, which requires the Department to ensure that all prisoners
   have access to basic hygiene supplies in accordance with state regulations.



                                                5
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 8 of 124 Page ID
                                 #:3176


          The County has maintained Substantial Compliance for twelve consecutive
   months at CRDF and PDC North with Paragraph 55, which requires custody, medical and
   mental health staff to meet daily in High Observation Housing and weekly in Moderate
   Observation Housing. The County also has provided documentation reflecting that it
   achieved Substantial Compliance as of April 1, 2018, through September 30, 2018, at
   MCJ. The results at MCJ are subject to verification by the Monitor’s auditors.

          The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2016, with Paragraph 56, which requires custody, medical,
   and mental health staff to communicate regarding any change in a housing assignment
   following a suicide attempt or serious change in mental health condition.

          The County has maintained Substantial Compliance for twelve consecutive
   months as of March 31, 2018, at MCJ with Paragraph 57, which requires safety checks in
   mental health housing.

          The County has maintained Substantial Compliance for twelve consecutive
   months at PDC South, PDC North, and PDC East as of December 31, 2016, with
   Paragraph 58, which requires safety checks in non-mental health housing. The County
   also has maintained Substantial Compliance as of July 1, 2017, through March 31, 2018
   at CRDF; and as of October 1, 2017, through March 31, 2018, at IRC. The County has
   provided documentation that it has maintained Substantial Compliance as of April 1,
   2018, through June 30, 2018 at CRDF; and April 1, 2018, through September 30, 2018 at
   IRC. The results at CRDF and IRC are subject to verification by the Monitor’s auditors.

          The County has maintained Substantial Compliance for twelve consecutive
   months at MCJ, PDC East, NCCF, and CRDF with Paragraph 59, which requires -
   unannounced daily supervisory rounds to verify safety checks. The County also has
   achieved and maintained Substantial Compliance from January 1, 2018, through
   September 30, 2018, at PDC North and PDC South, and from April 1, 2018, through
   September 30, 2018, at TTCF.

          The County has maintained Substantial Compliance for twelve consecutive
   months at MCJ, NCCF, PDC East, PDC North, PDC South, and TTCF with Paragraph
   68, which requires staggered contraband searches in housing units.

           The County has achieved Substantial Compliance as of July 1, 2018, through
   September 30, 2018, with Paragraph 69, which requires the County and the Sheriff to use
   clinical restraints only in the Correctional Treatment Center with the approval of a
   licensed psychiatrist who performed an individualized assessment. The results are
   subject to verification by the Monitor’s auditors.

           The County has maintained Substantial Compliance for twelve consecutive
   months as of June 30, 2017, with Paragraph 71, which requires the County and the
   Sheriff to ensure that any prisoner subjected to clinical restraints in response to a mental
   health crisis receives therapeutic services to remediate any effects from the episode(s) of



                                                 6
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 9 of 124 Page ID
                                 #:3177


   restraint.

           Subject to further verification, the County has maintained Substantial Compliance
   for twelve consecutive months as of December 31, 2017, with Paragraph 72, which
   requires the Department and the County to report on meetings to review suicides and
   incidents of serious self-injurious behavior.

          The County has maintained Substantial Compliance for twelve consecutive
   months as of September 30, 2018, with Paragraph 73, which requires the Department to
   prepare detailed reports of prisoners who threaten or exhibit self-injurious behavior.

          The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2017, with Paragraph 74, which requires the Department to
   have an objective law enforcement investigation of every suicide that occurs in the jails.

          The County has maintained Substantial Compliance for twelve consecutive
   months as of September 30, 2018, with Paragraph 75, which requires the Department and
   the County to review every serious suicide attempt that occurs in the jails.

          The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2017, with Paragraph 76, which requires the Department to
   follow certain procedures whenever there is an apparent or suspected suicide.

         The County has maintained Substantial Compliance for twelve consecutive
   months as of May 18, 2017, with Paragraph 78, which requires the Suicide Prevention
   Advisory Committee to meet twice a year.

          The County has maintained Substantial Compliance for twelve consecutive
   months as of December 31, 2017, with Paragraph 82, which requires the Department to
   co-locate personnel responsible for collecting prisoners' grievances at CRDF.

          The County has maintained Substantial Compliance for twelve consecutive
   months at MCJ, IRC, TTCF, and CRDF, with Paragraph 83, which requires it to install
   closed circuit security cameras throughout all of the common areas in the jails. The
   County has also achieved Substantial Compliance at NCCF and PDC North as of April 1,
   2018, through September 30, 2018, and at PDC South as of July 1, 2018, through
   September 30, 2018.

          The County has maintained Substantial Compliance for twelve consecutive
   months as of June 30, 2018, with Paragraph 84, which requires investigations of force
   incidents and administrative actions to be completed timely.

          The County has maintained Substantial Compliance for twelve consecutive
   months at MCJ, CRDF, PDC North, PDC South, PDC East, NCCF, and IRC with
   Paragraph 86, which requires inventory and control of weapons. It has also maintained
   Substantial Compliance as of April 1, 2018, through December 31, 2018, at TTCF.



                                                7
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 10 of 124 Page ID
                                  #:3178


                                         SEVENTH REPORT

            18.     Within three months of the Effective Date, the County and the Sheriff will
    develop, and within six months of the Effective Date will commence providing: (1) a
    four-hour custody-specific, scenario-based, skill development training on suicide
    prevention, which can be part of the eight-hour training described in paragraph 4.8 of the
    Implementation Plan in Rosas to all new Deputies as part of the Jail Operations
    Continuum and to all new Custody Assistants at the Custody Assistants academy; and (2)
    a two-hour custody-specific, scenario-based, skill development training on suicide
    prevention to all existing Deputies and Custody Assistants at their respective facilities,
    which can be part of the eight-hour training described in paragraph 4.7 of the
    Implementation Plan in Rosas, through in-service Intensified Formatted Training, which
    training will be completed by December 31, 2016.

           These trainings will include the following topics:

           (a)     suicide prevention policies and procedures, including observation and
                   supervision of prisoners at risk for suicide or self-injurious behavior;

           (b)     discussion of facility environments and staff interactions and why they
                   may contribute to suicidal behavior;

           (c)     potential predisposing factors to suicide;

           (d)     high-risk suicide periods and settings;

           (e)     warning signs and symptoms of suicidal behavior;

           (f)     case studies of recent suicides and serious suicide attempts;

           (g)     emergency notification procedures;

           (h)     mock demonstrations regarding the proper response to a suicide attempt,
                   including a hands-on simulation experience that incorporates the
                   challenges that often accompany a jail suicide, such as cell doors being
                   blocked by a hanging body and delays in securing back-up assistance;

           (i)     differentiating between suicidal and self-injurious behavior; and

           (j)     the proper use of emergency equipment.




                                                 8
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 11 of 124 Page ID
                                  #:3179


             STATUS (18):               SUBSTANTIAL COMPLIANCE (as of October 1, 2017
                                        (verified) at MCJ and PDC South)

                                        SUBSTANTIAL COMPLIANCE (as of
                                        September 1, 2017 (verified) at NCCF)

                                        SUBSTANTIAL COMPLIANCE (as of
                                        December 1, 2017 (verified) at PDC East)

                                        SUBSTANTIAL COMPLIANCE (as of April 1, 2018
                                        (verified) at TTCF, IRC, and PDC North)

                                        SUBSTANTIAL COMPLIANCE (as of June 1, 2018
                                        (unverified) at CRDF)

           The Monitor, in consultation with the Mental Health Subject Matter Expert,
    concluded in the First Reporting Period that the Department's training on suicide
    prevention, together with the Department’s De-escalation and Verbal Resolution Training
    ("DeVRT"), meets the requirements of Paragraph 18. The DeVRT curriculum was
    approved by the Rosas Monitors and the Monitor, in consultation with the Mental Health
    Subject Matter Expert, on November 4, 2015. On May 30, 2017, the Monitor, in
    consultation with the Subject Matter Expert, approved a revision to the two-hour course
    on suicide prevention for existing Deputy Sheriffs and Custody Assistants.

           The County's Initial Self-Assessment Status Report delivered on December 14,
    2015, reported that the Department commenced its suicide prevention training for new
    Deputy Sheriffs and Custody Assistants on July 1, 2015, and for existing Deputy Sheriffs
    and Custody Assistants before the Effective Date of the Settlement Agreement.

           Substantial Compliance is achieved when the Department reaches the 85%
    threshold for existing personnel at a facility, provided that it has achieved the 95%
    threshold for new personnel during the entire time from July 1, 2015 until it has reached
    the 85% threshold for existing personnel.

           In the Fifth Reporting Period, the County reported that the Department achieved
    Substantial Compliance at MCJ and PDC South as of October 1, 2017, and at NCCF as of
    September 1, 2017.4 The County's Augmented Fifth Self-Assessment reported
    Substantial Compliance at PDC East as of November 1, 2017.5 The results at MCJ, PDC
    South, and NCCF have been verified by the Monitor’s auditors.

           The County's Sixth Self-Assessment reported that the County had achieved
    Substantial Compliance at TTCF (91% of existing personnel), IRC (93%), and PDC
    North (97%) as of April 1, 2018. The results at TTCF, IRC, and PDC North have been

    4
     This is the first day of the month after the Department reached the required 85% threshold.
    5
     All two-hour training of existing Deputy Sheriffs and Custody Assistants occurred after the revision of the
    suicide prevention course was approved by the Monitor on May 30, 2017.


                                                         9
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 12 of 124 Page ID
                                  #:3180


    verified by the Monitor’s auditors.

           The County's posted results report for the Seventh Reporting Period reflect that it
    achieved Substantial Compliance at CRDF (85%) as of June 1, 2018. The results at
    CRDF are subject to verification by the Monitor's auditors.

            The County's Seventh Self-Assessment reiterates that "the Department
    continuously provides the required training for new Deputies in the Jail Operations
    Continuum and new Custody Assistants in the Custody Assistants Academy" and that the
    Department has now reported the results for new Deputies and new Custody Assistants
    through March 31, 2018. These results have been verified by the Monitor's auditors.
    Accordingly, the Department will no longer be subject to monitoring for the training of
    new Deputies in the Jail Operations Continuum and new Custody Assistants in the
    Custody Assistant Academy as required by Paragraph 18, although the Monitor expects
    that the Department will continue to provide this training to new Deputies and Custody
    Assistants hired in the future.




                                                10
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 13 of 124 Page ID
                                  #:3181


         19.   Commencing July 1, 2015, the County and the Sheriff will provide:

         (a)   Custody-specific, scenario-based, skill development training to new
               Deputies during their Jail Operations training, and to existing Deputies
               assigned to Twin Towers Correctional Facility, Inmate Reception Center,
               Men’s Central Jail, the Mental Health Housing Units at Century Regional
               Detention Facility, and the Jail Mental Evaluation Teams ("JMET") at
               North County Correctional Facility as follows:

               (i)    32 hours of Crisis Intervention and Conflict Resolution as
                      described in paragraphs 4.6 and 4.9 of the Implementation Plan in
                      Rosas to be completed within the time frames established in that
                      case (currently December 31, 2016). Deputies at these facilities
                      will receive an eight-hour refresher course consistent with
                      paragraph 4.6 of the Implementation Plan in Rosas every other
                      year until termination of court jurisdiction in that case and then a
                      four-hour refresher course every other year thereafter.

               (ii)   Eight hours identifying and working with mentally ill prisoners as
                      described in paragraph 4.7 of the Implementation Plan in Rosas to
                      be completed by December 31, 2016. This training requirement
                      may be a part of the 32-hour training described in the previous
                      subsection. Deputies at these facilities will receive a four-hour
                      refresher course consistent with paragraph 4.7 of the
                      Implementation Plan in Rosas every other year thereafter.

         (b)   Commencing July 1, 2015, the County and the Sheriff will ensure that new
               Custody Assistants receive eight hours of training in the Custody Assistant
               academy, and that all existing Custody Assistants receive eight hours of
               training related to identifying and working with mentally ill prisoners as
               described in paragraph 4.7 of the Implementation Plan in Rosas. This
               training will be completed by December 31, 2016. Custody Assistants
               will receive a four-hour refresher course consistent with paragraph 4.7 of
               the Implementation Plan in Rosas every other year thereafter.




                                           11
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 14 of 124 Page ID
                                  #:3182


               STATUS (19):              SUBSTANTIAL COMPLIANCE (as of April 1, 2018,
                                         (unverified) at NCCF, MCJ, and IRC)

                                         SUBSTANTIAL COMPLIANCE (as of July 1, 2018,
                                         (unverified) at TTCF)

                                         PARTIAL COMPLIANCE (at CRDF)

            As of November 4, 2015, the Monitor, in consultation with the Mental Health
    Subject Matter Expert and the Rosas Monitors, approved the curriculum for DeVRT,
    which provides for 32 hours of Crisis Intervention and Conflict Resolution training and
    includes eight hours identifying and working with mentally ill prisoners. The DeVRT
    curriculum meets the requirements of Paragraph 19 of the Settlement Agreement and
    Paragraphs 4.6, 4.7 and 4.9 of the Rosas Implementation Plan. The Mental Health
    Subject Matter Expert and the Rosas Monitors approved the training materials developed
    by the Department for the DeVRT on March 4, 2016.

           Substantial Compliance requires the County to show that 95% of the new
    Deputies hired after July 1, 2015 and 85% of the existing Deputies as of that date
    received the required DeVRT training. It also requires that 95% of the new Custody
    Assistants hired after that date and 85% of the existing Custody Assistants as of that date
    received the required training in working with mentally ill inmates.

           The County's Seventh Self-Assessment reported that the Department achieved
    Substantial Compliance at all facilities for new Deputies and new Custody Assistants
    through the Third Quarter of 2018. These reported results are subject to verification by
    the Monitor's auditors.

           The County's Sixth Self-Assessment also reported that the Department achieved
    Substantial Compliance with respect to the training of existing Deputies and Custody
    Assistants at IRC, MCJ, CRDF, TTCF, and NCCF (JMET) in the First Quarter of 2018.
    The Department trained 95% of the existing Deputy Sheriffs and 89% of the existing
    Custody Assistants at TTCF by the end of the First Quarter of 2018; 100% of existing
    Deputies and 98% of existing Custody Assistants at IRC; 99% of existing Deputies and
    92% of existing Custody Assistants at MCJ; and 100% of the existing Deputies in the
    JMET unit at NCCF.6

           The Department initially posted results for the First Quarter of 2018 that excluded
    "unavailable" Deputies who were not available "during the relevant month" due to, for
    example, Injured On Duty. These deputies should not, however, be excluded unless they
    were "unavailable" to attend the DeVRT during a substantial period, since the training
    has been offered since March 4, 2016. Accordingly, Deputies and Custody Assistants are
    not deemed "unavailable" unless they have been on leave or otherwise unavailable for
    more than six months as of the date of the assessment.7

    6
        There were no Custody Assistants assigned to the unit.
    7
        There were no "unavailable" existing deputies in the JMET unit at NCCF.


                                                        12
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 15 of 124 Page ID
                                  #:3183


            Using the Monitor's approved definition of "unavailable" personnel, the
    Department's revised results show that it trained 98% of the existing Deputies and 88% of
    the existing Custody Assistants at IRC through March 2018; 99% of the existing
    Deputies and 85% of the existing Custody Assistants at MCJ through March 2018; and
    95% of existing Deputies and 89% of existing Custody Assistants at TTCF through June
    2018. These results are subject to verification by the Monitor's auditors. If verified by
    the Monitors, the Department will no longer be subject to monitoring at these facilities
    for the initial training required by Paragraph 19. It will, however, be subject to
    monitoring in future periods for Substantial Compliance with the refresher course
    requirements.

           The Department reports that it trained 96% of the "existing" Deputies at CRDF
    through the Second Quarter of 2018, using the approved definition of "unavailable
    personnel," but only 21% of the existing Custody Assistants. This is because the
    Department previously interpreted Paragraph 19(b) to apply only to Custody Assistants
    assigned to the Mental Health Unit at CRDF rather than all Custody Assistants at CRDF.
    These results are sufficient, however, to establish Partial Compliance at CRDF.




                                               13
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 16 of 124 Page ID
                                  #:3184


           20.   Commencing no later than July 1, 2017, the County and the Sheriff will
    provide:

           (a)   Custody-specific, scenario-based, skill development training to existing
                 Deputies assigned to North County Correctional Facility, Pitchess
                 Detention Center, and the non-Mental Health Housing Units in Century
                 Regional Detention Facility as follows:

                 (i)    32 hours of Crisis Intervention and Conflict Resolution as
                        described in paragraphs 4.6 and 4.9 of the Implementation Plan in
                        Rosas to be completed by December 31, 2019. Deputies at these
                        facilities will receive an eight-hour refresher course consistent with
                        paragraph 4.6 of the Implementation Plan in Rosas every other
                        year until termination of court jurisdiction in that case and then a
                        four-hour refresher course every other year thereafter.

                 (ii)   Eight hours identifying and working with mentally ill prisoners as
                        described in paragraph 4.7 of the Implementation Plan in Rosas to
                        be completed by December 31, 2019. This training requirement
                        may be a part of the 32-hour training described in the previous
                        subsection. Deputies at these facilities will receive a four-hour
                        refresher course consistent with paragraph 4.7 of the
                        Implementation Plan in Rosas every other year thereafter.




                                              14
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 17 of 124 Page ID
                                  #:3185


           STATUS (20):           SUBSTANTIAL COMPLIANCE (as of August 1,
                                  2017 (verified) at CRDF, PDC East, PDC North, and
                                  NCCF)

                                  SUBSTANTIAL COMPLIANCE (as of October 1,
                                  2017 (verified) at PDC South)

            As of November 4, 2015, the Monitor, in consultation with the Subject Matter
    Experts and the Rosas Monitors, approved the curriculum for the Department’s De-
    escalation and Verbal Resolution Training ("DeVRT"), which provides for 32 hours of
    Crisis Intervention and Conflict Resolution training that meets the requirements of
    Paragraph 20 of the Settlement Agreement.

            Substantial Compliance requires that 85% of Deputies at the facilities designated
    in Paragraph 20(a) as of July 1, 2017, receive the required DeVRT training. The County
    reports that as of August 1, 2017, 85% of the Deputies assigned to PDC East, 89% of the
    Deputies assigned to PDC North, 85% of the Deputies assigned to NCCF, and 91% of the
    Deputies assigned to the non-mental housing units at CRDF, had received the required
    training, and as of October 1, 2017, 96% of the Deputies assigned to PDC South had
    received the training. The results at CRDF, PDC East, PDC North, PDC South, and
    NCCF have been verified by the Monitor's auditors, and these facilities were not subject
    to monitoring for the initial training courses during the Seventh Reporting Period.

           While the Paragraph 20 is no longer subject to monitoring for the initial training
    courses, the Monitor expects the Department to show that the Deputies and Custody
    Assistants have attended the refresher courses required by this provision through the
    duration of the Settlement Agreement.




                                                15
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 18 of 124 Page ID
                                  #:3186


           21.      Consistent with existing Sheriff’s Department policies regarding training
    requirements for sworn personnel, the County and the Sheriff will ensure that existing
    custody staff that have contact with prisoners maintain active certification in
    cardiopulmonary resuscitation and first aid.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                          through September 30, 2016 (verified) at PDC East and South)

                          SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) at NCCF, PDC North,
                          and IRC)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                          March 31, 2017 (verified) at TTCF)

                          SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through March 31, 2018 (verified) and through September 30,
                          2018 (unverified) at MCJ)

                          SUBSTANTIAL COMPLIANCE (as of July 1, 2018, through
                          September 30, 2018 (unverified) at CRDF)

            The Compliance Measures provide that the Department will demonstrate
    Substantial Compliance when 95% of the designated custody staff have the required CPR
    and first aid certifications for twelve consecutive months.

          Pursuant to Paragraph 111 of the Settlement Agreement, PDC South, PDC East,
    PDC North, NCCF, IRC, and TTCF were not subject to monitoring for Substantial
    Compliance with Paragraph 21 in the Seventh Reporting Period.

           The County's Fifth Self-Assessment reported that it achieved Substantial
    Compliance at MCJ in October 2017, which it maintained through the remainder of 2017.
    These results have been verified by the Monitor's auditors.

            The County's Sixth Self-Assessment reported that the Department continued to
    maintain Substantial Compliance at MCJ through the First Quarter of 2018. These results
    have been verified by the Monitor's auditors. The County's Seventh Self-Assessment
    reports that it continued to maintain Substantial Compliance at MCJ through the Third
    Quarter of 2018. These results are subject to verification by the Monitor's auditors. If
    verified, Paragraph 21 is no longer subject to monitoring at MCJ.

            The County's Seventh Self-Assessment reflects that it achieved Substantial
    Compliance with Paragraph 21 at CRDF in June 2018. These results are subject to
    verification by the Monitor's auditors.




                                                16
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 19 of 124 Page ID
                                  #:3187


           22.     Within six months of the Effective Date and at least annually thereafter,
    the County and the Sheriff will provide instructional material to all Sheriff station
    personnel, Sheriff court personnel, custody booking personnel, and outside law
    enforcement agencies on the use of arresting and booking documents, including the
    Arrestee Medical Screening Form, to ensure the sharing of known relevant and available
    information on prisoners’ mental health status and suicide risk. Such instructional
    material will be in addition to the training provided to all custody booking personnel
    regarding intake.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                          June 30, 2017)

            The Justice Data Interface Controller ("JDIC") message the Department has been
    using since June 29, 2016, is sufficient to establish Substantial Compliance with
    Paragraph 22, and the County maintained Substantial Compliance for twelve consecutive
    through June 30, 2017. Pursuant to Paragraph 111 of the Settlement Agreement, the
    County was not subject to monitoring for Substantial Compliance with Paragraph 22 in
    the Seventh Reporting Period.




                                               17
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 20 of 124 Page ID
                                  #:3188


            23.     Within three months of the Effective Date, the County and the Sheriff will
    commence a systematic review of all prisoner housing, beginning with the Mental Health
    Unit of the Correctional Treatment Center, all High Observation Housing areas, all
    Moderate Observation Housing areas, single-person discipline, and areas in which safety
    precautions are implemented, to reduce the risk of self-harm and to identify and address
    suicide hazards. The County and the Sheriff will utilize a nationally-recognized audit
    tool for the review. From this tool, the County and the Sheriff will:

           (a)     develop short and long term plans to reasonably mitigate suicide hazards
                   identified by this review; and

           (b)     prioritize planning and mitigation in areas where suicide precautions are
                   implemented and seek reasonable mitigation efforts in those areas.

           STATUS:        SUBSTANTIAL COMPLIANCE

            The Monitor has verified, with the advice of the Subject Matter Expert, that the
    Department's Suicide Hazard Inspection Check List tool is a nationally recognized audit
    tool for this review. The Department reports that it inspected all of the housing units by
    January 14, 2016, and it has provided the Monitor with completed checklists
    documenting the inspections.

           The County submitted an updated Suicide Hazard Mitigation plan to the Monitor
    on January 18, 2018. After consultation with the Mental Health Subject Matter Expert,
    the Monitor concluded that the updated Plan satisfies the requirements of Paragraph 23.

            The Department submitted another updated plan to the Monitor on July 12, 2018.
    After consultation with the Mental Health Subject Matter Expert, the Monitor concluded
    that the updated Plan satisfies the requirements of Paragraph 23. The County has
    maintained Substantial Compliance with Paragraph 23 for twelve consecutive months and
    this provision is no longer subject to monitoring.




                                                18
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 21 of 124 Page ID
                                  #:3189


            24.    The County and the Sheriff will review and inspect housing areas on at
    least an annual basis to identify suicide hazards.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through September 30, 2018)

            CDM 3-06/020.00 FACILITIES INSPECTIONS requires Custody Support
    Services (CSS) to "review and inspect housing areas on a least an annual basis to identify
    suicide hazards."

            The Monitor and Subject Matter reviewed a revised annual suicide hazard
    inspection tool that was submitted by the Department on December 13, 2016, and
    approved it with the caveat that, in order to achieve Substantial Compliance, the sample
    sizes of randomly selected cells must be large enough to ensure that the cells are
    representative of each housing type at a facility. Further, if a problem is found in the
    randomly selected cells, a complete inspection or remediation of the area or setting
    should then be conducted. An updated tool was submitted by the Department on
    February 9, 2017; it also was approved with the same caveats.

             The Department conducted an Annual Suicide Hazard Inspection at each of its jail
    facilities during the Sixth and Seventh Reporting Periods. As noted by the Mental Health
    Subject Matter Expert, "the County is doing a good job of inspections, but remediation
    and follow-through are not clearly demonstrated and tracked." The second Annual
    Suicide Hazard Inspection reports are sufficient "to identify suicide hazards" for purposes
    of Paragraph 24, and the Department has maintained Substantial Compliance with this
    provision for twelve consecutive months. Accordingly, Paragraph 24 is no longer subject
    to monitoring. Corrective action implementation and tracking must, however, be
    addressed by the Custody Compliance and Sustainability Bureau ("CCSB") under
    Paragraph 77(c), which requires CCSB to "ensure that corrective actions are taken to
    mitigate suicide risk. . . obtaining where appropriate, technical assistance. . .when such
    assistance is needed to address suicide-risk issues."




                                                19
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 22 of 124 Page ID
                                  #:3190


            25.    The County and the Sheriff will ensure that any prisoner in a Sheriff’s
    Department station jail who verbalizes or who exhibits a clear and obvious indication of
    current suicidal intent will be transported to IRC, CRDF, or a medical facility as soon as
    practicable. Pending transport, such prisoners will be under unobstructed visual
    observation, or in a suicide resistant location with safety checks every 15 minutes.

           STATUS:         PARTIAL COMPLIANCE

            A provision of the Station Jail Manual adopted in March 2018 requires that any
    arrestee who "displays obvious suicidal ideation or exhibits unusual behavior that clearly
    manifest[s] self-injurious behavior or other clear indication of mental health crisis shall
    be transported to the Inmate Reception Center (IRC), Century Regional Detention
    Facility (CRDF), or a medical facility as soon as practicable. Pending transport, such
    inmates . . . shall be under unobstructed visual observation or in a suicidal restraint
    location with safety checks every 15 minutes."

            The Compliance Measures require the Department to randomly select and analyze
    Arrestee Medical Screening Forms from station jails identifying prisoners who verbalize
    or exhibit a clear and obvious indication of current suicidal intent to determine
    compliance with Paragraph 25 of the Agreement. The County’s Seventh Self-
    Assessment reported that 71% of the records reviewed for the Second Quarter of 2018
    and 75% of the records reviewed for the Third Quarter of 2018 reflect the information
    required to establish Substantial Compliance with Paragraph 25. While once again short
    of the 95% threshold for Substantial Compliance, the Department continued to show
    improvement in the Seventh Reporting Period. The Mental Health Subject Matter Expert
    reviewed "a number of the source documents from 2018Q3" and is of the opinion that the
    "County is making progress on this provision and is nearing substantial compliance."




                                                20
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 23 of 124 Page ID
                                  #:3191


             26.    Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will follow established screening procedures to identify prisoners with emergent
    or urgent mental health needs based upon information contained in the Arrestee Medical
    Screening Form (SH-R-422) or its equivalent and the Medical/Mental Health Screening
    Questionnaire and to expedite such prisoners for mental health evaluation upon arrival at
    the Jail Reception Centers and prior to routine screening. Prisoners who are identified as
    having emergent or urgent mental health needs, including the need for emergent
    psychotropic medication, will be evaluated by a QMHP as soon as possible but no later
    than four hours from the time of identification.

           STATUS:        PARTIAL COMPLIANCE

            The Compliance Measures require the Department to "review Arrestee Medical
    Screening Forms (SH-R-422) (or its equivalent) and the Medical/Mental Health
    Screening Questionnaires of 100 randomly selected prisoners during one randomly
    selected week per quarter at CRDF and at IRC." Substantial Compliance requires that (1)
    95% of the forms "include the required mental health information" and (2) 90% of the
    prisoners having urgent or emergent needs were "seen by a QMHP within four hours."

            The County’s Seventh Self-Assessment reports that for the one randomly selected
    week in the Second Quarter of 2018, 93% of the screening forms reviewed had the
    required mental health information, and 55% of the prisoners were seen by a QMHP
    within four hours. For the Third Quarter of 2018, 88% of the forms had the required
    information and 45% of the prisoners were seen within four hours. The timeliness of the
    responses by QMHPs remains significantly below the 90% threshold. The County has
    adopted a pilot program that requires it to "conduct the [initial and nursing] assessments
    at the windows in the IRC clinic, and in the nursing room at CRDF," which the County
    believes "will improve compliance."

            The Mental Health Subject Matter Expert and the clinicians did a qualitative
    assessment of the "completeness of intake documentation" and "whether patients with
    emergent or urgent needs were missed at intake[.]" They "found that 96% of the intake
    documentation was complete and available," only 9% "of urgent/emergent cases that
    should have been detected at admission were not," and there was "much less
    inconsistency and errors in the records." They "continue[d] to see very clear
    improvement in the screening and detection processes. Assuming some of the logistical
    challenges of having nurses do all intake screenings are solved, [they] are confident that
    the intake process is working well for detecting urgent and emergent cases." As is
    evident from the Department's reported results, the "primary problem is the timeliness of
    the QMHP assessments."




                                                21
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 24 of 124 Page ID
                                  #:3192


            27.     Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will ensure that all prisoners are individually and privately screened by Qualified
    Medical Staff or trained custody personnel as soon as possible upon arrival to the Jails,
    but no later than 12 hours, barring an extraordinary circumstance, to identify a prisoner’s
    need for mental health care and risk for suicide or self-injurious behavior. The County
    and the Sheriff will ensure that the Medical/Mental Health Screening Questionnaire, the
    Arrestee Medical Screening Form (SH-R-422), or its equivalent, and/or the Confidential
    Medical Mental Health Transfer Form are in the prisoner’s electronic medical record or
    otherwise available at the time the prisoner is initially assessed by a QMHP.

            STATUS:           PARTIAL COMPLIANCE

            The Compliance Measures require the Department to review the records of
    "randomly selected prisoners who were processed for intake during one randomly
    selected week at CRDF and at IRC" to determine compliance with this provision.
    Substantial Compliance requires that 90% of the records reviewed reflected that the
    prisoners were screened for mental health needs within 12 hours and that the required
    documentation was available to the QMHP for 90% of the mental health assessments
    conducted by the QMHP.

            As noted in the Monitor's Sixth Report, the County achieved, and maintained
    Substantial Compliance with Paragraph 27 for six months from October 1, 2017, through
    March 31, 2018. The County's Seventh Self-Assessment reflects that the County
    maintained Substantial Compliance with Paragraph 27 in the Second Quarter of 2018, but
    only achieved Partial Compliance in the Third Quarter of 2018, when the required forms
    were filled out for only 67 of the 100 of the randomly selected prisoners within 12 hours.
    The County attributes this to "an unintended consequence of the restructuring" of the
    "IRC booking front to provide privacy during the screening process[.]"8

            The Mental Health Subject Matter Expert and the clinicians did a qualitative
    assessment of the "completeness of intake documentation" and "whether patients with
    routine needs were missed at intake[.]" They found "that 100% of the intake
    documentation was completed and available," and 25% "of routine cases that should have
    been detected were not." The Subject Matter Expert notes that, "[i]n general. . .the
    screening process itself seems to be detecting routine cases at a reasonable level,
    especially in light of the improvements in detecting urgent and emergent cases."

            In order to satisfy the requirements of Paragraph 27, inmates must be privately
    screened. Nurses at CRDF now conduct the assessments in a room off a hallway near the
    booking front and nurses at IRC now conduct the assessments at windows behind the
    inmate seating areas in the IRC clinic. The room at CRDF is completely private and
    satisfies the requirements of Paragraph 27. Although the windows in the IRC clinic are

    8
     This unintended consequence was first noticed by CHS in the pilot program that began on May 28, 2018.
    As noted in the Monitor's Sixth Report, this "raises serious concerns about whether the County is
    continuing to meet the 90% threshold for Substantial Compliance with Paragraph 27 in the Second Quarter
    of 2018[.]" See Monitor's Sixth Report, pp. 22 and 23, note 12.


                                                      22
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 25 of 124 Page ID
                                  #:3193


    not as private as the room at CRDF, the Monitor stood in the inmate seating area while
    inmates were interviewed by the nurses in IRC and could not hear the conversations
    between the nurses and the inmates. The Monitor is of the view that these windows are
    sufficiently private to satisfy the requirements of Paragraph 27. If the County decides to
    add windows to expedite the assessments, it must ensure that those windows are also far
    enough away from the inmate seating area to ensure inmate privacy.




                                                23
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 26 of 124 Page ID
                                  #:3194



            28.     The County and the Sheriff will ensure that any prisoner who has been
    identified during the intake process as having emergent or urgent mental health needs as
    described in Paragraph 26 of this Agreement will be expedited through the booking
    process. While the prisoner awaits evaluation, the County and the Sheriff will maintain
    unobstructed visual observation of the prisoner when necessary to protect his or her
    safety, and will conduct 15-minute safety checks if the prisoner is in a cell.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of April 1, 2017,
                          through March 31, 2018 (verified) at IRC)

                          PARTIAL COMPLIANCE (at CRDF)

            The Compliance Measures require the Department to review the records of
    randomly selected prisoners at CRDF and IRC who have urgent or emergent mental
    health needs to determine whether they were expedited through the booking process.

           The County's Seventh Self-Assessment reflects that 100% of the inmates with
    urgent or emergent mental health needs were expedited through the booking process at
    CRDF in the Second Quarter of 2018 and 85% were expedited in the Third Quarter of
    2018. These results were at or above the threshold for Substantial Compliance. All of
    the inmates identified as having urgent or emergent mental health needs were observed or
    checked as required by Paragraph 28 in the Second Quarter of 2018, but only 60% were
    observed or checked in the Third Quarter of 2018, which was below the 95% threshold
    for Substantial Compliance.

           The County previously had maintained Substantial Compliance with Paragraph 28
    at IRC for twelve consecutive months, and IRC was not subject to monitoring for
    compliance with Paragraph 28 in the Seventh Reporting Period.




                                               24
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 27 of 124 Page ID
                                  #:3195


            29.    The County and the Sheriff will ensure that a QMHP conducts a mental
    health assessment of prisoners who have non-emergent mental health needs within 24
    hours (or within 72 hours on weekends and legal holidays) of a registered nurse
    conducting an intake nursing assessment at IRC or CRDF.

            STATUS:           SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                              March 31, 2018 (verified))

           The Compliance Measures require the Department to review randomly selected
    records of the prisoners identified in the intake nursing assessment as having non-
    emergent mental health needs to determine if the Department completed mental health
    assessments for 85% of the prisoners within the required time periods.

            The County’s Sixth Self-Assessment reports that in the Fourth Quarter of 2017
    the County completed mental health assessments for 99% of the inmates at CRDF and
    IRC within the required time periods, and in the First Quarter of 2018, it completed 95%
    of the assessments within the required time periods.

             The Monitor and Mental Health Subject Matter Expert have concerns about how
    the County defines "weekends." It was using the 72-hour time frames for the QMHP
    mental health assessment if the nursing assessment occurred less than 24 hours before the
    start of the weekend, which is reasonable because the 24-hour time frame expires on the
    weekend, but it was also using the 72-hour time frame if the nursing assessment occurred
    less than 24 hours before the end of the weekend so that the 24-hour time frame expires
    during the regular work week.9 Accordingly, the County has maintained Substantial
    Compliance for twelve consecutive months and will no longer be subject to monitoring
    for compliance with Paragraph 29.10




    9
      The Monitor’s auditors verified the County's results using the extended 72-hour time frame for conducting
    the QMHP mental health assessments of the prisoners only if the nursing assessment is less than 24 hours
    before the weekend starts and then only if it is less than 24 hours before the weekend ends.
    10
       DOJ has expressed concern that "the substantial and unexplained drop" in the compliance rating posted
    by the County for CRDF in "the very next quarter" after CRDF had maintained Substantial Compliance for
    twelve consecutive months "suggests that the timeliness of QMHP assessments may be an ongoing issue."
    The Monitor and Mental Health Subject Matter Expert share this concern. The County should continue to
    review the timeliness of the assessments and post the results of its reviews.


                                                        25
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 28 of 124 Page ID
                                  #:3196


             30.     Consistent with existing DMH policies, the initial mental health
    assessment will include a brief initial treatment plan. The initial treatment plan will
    address housing recommendations and preliminary discharge information. During the
    initial assessment, a referral will be made for a more comprehensive mental health
    assessment if clinically indicated. The initial assessment will identify any immediate
    issues and determine whether a more comprehensive mental health evaluation is
    indicated. The Monitor and SMEs will monitor whether the housing recommendations in
    the initial treatment plan have been followed.

            STATUS:           PARTIAL COMPLIANCE

             The Compliance Measures require the Department to review randomly selected
    initial mental health assessments and report on (1) the percentage of assessments that
    have (i) included an initial treatment plan that addresses housing recommendations and
    preliminary discharge information and (ii) identified any immediate issues and whether a
    more comprehensive evaluation was indicated; and (2) whether the housing
    recommendations were followed.

            The County's Seventh Self-Assessment reports that 100% of the housing
    assignments reviewed in the Second Quarter of 2018 followed the housing
    recommendations in the initial treatment plans, which exceeds the 95% threshold for
    Substantial Compliance, but only 69% of the initial mental health assessments included
    an initial treatment plan that had the information required by Paragraph 30, which is
    below the 85% threshold for Substantial Compliance. The results for the Third Quarter
    of 2018 were that 98% of the housing assignments followed the housing
    recommendations and 63% of the initial mental health assessments had the required
    information.11

            The Mental Health Subject Matter Expert and the clinicians again evaluated
    "whether the determination of immediate issues [in random sample of mental health
    assessments] was reasonable in light of available information. . . [and] whether the initial
    treatment plan covered the elements required by existing County policy, which goes
    beyond the content of the formal compliance measure." They found that 100% of the
    cases "identified immediate issues," and that the determination of the immediate issues
    "was reasonable from a qualitative perspective" in 95% of the cases. The Subject Matter
    Expert concludes that "[t]his is a notable improvement."12




    11
       One of the clinicians notes that the "County's reporting methodology does not identify what elements of
    the required information are missing in those instances determined to be non-compliant. . . .For
    performance improvement purposes, this level of information will be important."
    12
       The Subject Matter Expert and clinicians also found that 65% of the cases at CRDF and 90% of the cases
    at TTCF had preliminary discharge information and that 74% of the cases at CRDF and 85% of the cases at
    TTCF met the County's "policy requirements regarding discharge planning[.]" Although the Revised
    Paragraph 34 will govern the requirements for discharge planning going forward, the Subject Matter Expert
    notes that "it is clear that there has been greater attention to these issues at intake."


                                                       26
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 29 of 124 Page ID
                                  #:3197


            31.     Consistent with existing DMH and Sheriff’s Department policies, the
    County and the Sheriff will maintain electronic mental health alerts in prisoners’
    electronic medical records that notify medical and mental health staff of a prisoner’s risk
    for suicide or self-injurious behavior. The alerts will be for the following risk factors:

             (a)      current suicide risk;

             (b)      hoarding medications; and

             (c)      prior suicide attempts.

             STATUS:           PARTIAL COMPLIANCE

            The Compliance Measures require the Department to review randomly selected
    electronic medical records for prisoners in certain at-risk groups to determine if the
    required mental health alerts are in 85% of the records reviewed, which is the threshold
    for Substantial Compliance, for prisoners who report suicidal thoughts during the intake
    process; were removed from risk precautions in the prior quarter; or were identified as
    hoarding medicine.

           The County’s Seventh Self-Assessment reports that for the Second Quarter of
    2018, 86% of the records at CRDF had the required mental health alerts, 78% of the
    records at TTCF had the alerts, and 100% of the records at MCJ had the alerts. As
    previously noted, the County must satisfy the 85% threshold for Substantial Compliance
    for each of the required alert categories.

             The County's Augmented Seventh Self-Assessment reports the following results
    for the Third Quarter of 2018: at CRDF, 80% (current suicide risk), 96% (removed from
    risk precautions),13 and 40% (hoarding) of the records had the required mental health
    alerts; at TTCF, 79% (current suicide risk), 92% (removal from risk precautions), and
    76% (hoarding) of the records had the alerts; at MCJ, 77% of the records had the alerts
    for hoarding; and at NCCF, 100% of the records had the alerts for hoarding.14

          The County's Seventh Self-Assessment reports that the "County continues to work
    on ways to improve its documentation and tracking of inmates known to hoard

    13
       DOJ has expressed concerns about how the County is making determinations that no alerts are necessary
    for some inmates, noting that "several inmates [at TTCF] on risk precautions for suicidal ideation [in 3Q18]
    have no corresponding suicide risk alerts," and the County's internal audit states "None required." While
    the County's response explains when inmates are placed on risk precautions and reviews each case
    referenced by DOJ, it does not address DOJ's concern about how the determinations are made. In order to
    achieve Substantial Compliance, the County will need to provide some explanation for the clinical
    judgment that no alert is required for an inmate who has been removed from risk precautions.
    14
       The County did not report any results for mental health alerts for prisoners at MCJ or NCCF because
    "Compliance Measures 31-1(a) and 31-1(b) refer to the intake and HOH populations respectively." As
    noted by the Mental Health Subject Matter Expert, however, "[w]hile the events qualifying an inmate for
    [each] measure may occur in those settings, the measure still applies upon transfer to another setting,
    including MCJ and NCCF."


                                                        27
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 30 of 124 Page ID
                                  #:3198


    medications" and has "expanded the categories of information included in its audit
    universe for inmates potentially hoarding medications" to include "referrals from nursing
    to mental health related to hoarding, the list of suspected or confirmed overdoses from
    medication, and inmate segregation reports that refer to inmates disciplined for having
    contraband pills." The Mental Health Subject Matter Expert concurs that "[e]xpanding
    the universe is needed," but questions "[w]hether limiting custody identification of
    hoarding to those instances when a [disciplinary] segregation report is done will capture a
    significant number of hoarding cases[.]" Anytime Custody finds contraband pills (i.e.,
    pills in excess of what is ordered or that are not ordered for an inmate), "there should be a
    determination of hoarding and medication non-adherence by qualified clinical staff."
    DOJ concurs and adds that "[h]oarding alerts should also be entered for inmates any time
    that an inmate has been found to have overdosed." The County agrees that hoarding
    alerts should be entered under these circumstances.




                                                 28
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 31 of 124 Page ID
                                  #:3199


           32.      Information regarding a serious suicide attempt will be entered in the
    prisoner’s electronic medical record in a timely manner.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified))

            The Compliance Measures require that 95% of the electronic medical records of
    prisoners who had a serious suicide attempt reflect information regarding the attempt, and
    85% of the records reflect that the information was entered into the record within one day
    of the attempt.

           The County maintained Substantial Compliance with Paragraph 32 for twelve
    consecutive months as of December 31, 2016, and this provision was not subject to
    monitoring in the Seventh Reporting Period.




                                                29
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 32 of 124 Page ID
                                  #:3200


            33.   The County will require mental health supervisors in the Jails to review
    electronic medical records on a quarterly basis to assess their accuracy as follows:

           (a)    Supervisors will randomly select two prisoners from each clinician’s
                  caseload in the prior quarter;

           (b)    Supervisors will compare records for those prisoners to corroborate
                  clinician attendance, units of service, and any unusual trends, including
                  appropriate time spent with prisoners, recording more units of service than
                  hours worked, and to determine whether contacts with those prisoners are
                  inconsistent with their clinical needs;

           (c)    Where supervisors identify discrepancies through these reviews, they will
                  conduct a more thorough review using a DMH-developed standardized
                  tool and will consider detailed information contained in the electronic
                  medical record and progress notes; and

           (d)    Serious concerns remaining after the secondary review will be elevated for
                  administrative action in consultation with DMH’s centralized Human
                  Resources.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                          June 30, 2017 (verified))

            The Compliance Measures require the County to provide the Monitor and the
    Subject Matter Experts with the DMH-developed standardized tool required by Paragraph
    33(c), and to report the results of its analysis of the electronic medical records of two
    randomly selected prisoners from each clinician’s caseload. The County has provided the
    required tool, and previously reported Substantial Compliance for the Third and Fourth
    Quarters of 2016, and the First and Second Quarters of 2017.

             The Monitor’s auditors have verified the County’s results previously reported in
    its Self-Assessment. Accordingly, the County has maintained Substantial Compliance for
    twelve consecutive months and will no longer be subject to monitoring for compliance
    with Paragraph 33.




                                               30
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 33 of 124 Page ID
                                  #:3201


            34 (Revised). Consistent with existing Correctional Health Services policy, the
    County and the Sheriff will conduct clinically appropriate release planning for all
    prisoners who are being released to the community and who have been identified by a
    QMHP as having a mental illness and needing mental health treatment, or as having a
    DSM-5 major neuro-cognitive disorder that caused them to be housed in the Correctional
    Treatment Center at any time during their current incarceration. For prisoners with
    mental illness and needing mental health treatment, the release planning services will be
    guided by the prisoner’s level of care. Specifically, prisoners who any time during their
    incarceration meet mental health level of P3, or P4 will be presumptively referred for
    release planning services, and prisoners who meet mental health level of care P2 will
    receive release planning services upon referral by a clinician or upon their request.
    Prisoners who have a DSM-5 major neuro-cognitive disorder that caused them to be
    housed in the Correctional Treatment Center will also be referred for release planning
    services consistent with the Correctional Health Services policy applying to prisoners
    with mental illness.

           (a) Release planning will consider the need of the prisoner for housing;
           transportation to the prisoner's community-based provider, residence, or shelter
           within the County; bridge psychotropic medications; medical/mental
           health/substance abuse services; income/benefits establishment; and
           family/community/social supports (“Release Planning Areas”).

           (b) Release planning will be based on an individualized assessment of the
           prisoner's needs and, unless the prisoner is unable or unwilling to participate, will
           be undertaken in collaboration with the prisoner. For prisoners referred for
           release planning services, those services will include:

                  (i) An Initial Release Plan that will be created at intake or no later than ten
                  days after the referral for release planning, which referral shall normally
                  occur at the time of intake. The Initial Release Plan will include
                  preliminary identification of needs in each of the Release Planning Areas
                  and preliminary recommendations for services to address those needs, and
                  a referral for assistance in obtaining California identification when needed
                  and when the prisoner is eligible; and/or

                  (ii) A Comprehensive Release Plan that will be initiated no later than
                  thirty days after the referral for release planning. The Comprehensive
                  Release Plan will include (A) collecting information regarding the
                  prisoner’s needs; (B) coordinating with community-based providers to
                  identify available services that meet the prisoner's needs; (C) facilitating
                  the transition of care to community-based providers, and (D) assisting in
                  obtaining identification and/or benefits when needed, when the prisoner is
                  eligible, and as offered by the Sheriff’s Community Transition Unit.

           (c) The County will maintain a re-entry resource center with staff supervised by a
           QMHP. The re-entry resource center will:



                                                31
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 34 of 124 Page ID
                                  #:3202



                (i) Provide information appropriate to the released prisoner about available
                housing, transportation, medical/mental health/substance abuse services,
                income/benefits establishment, community/social supports, and other
                community resources; and

                (ii) Provide released prisoners with copies of their release plans, as
                available.

         (d) All prisoners who are receiving and continue to require psychotropic
         medications will be offered a clinically appropriate supply of those medications
         upon their release from incarceration. Unless contraindicated, this will be
         presumed to be a 14-day supply or a supply with a prescription sufficient so that
         the prisoner has the psychotropic medication available during the period of time
         reasonably necessary to permit the prisoner to consult with a doctor and obtain a
         new supply.

         (e) Nothing in Paragraph 34 will require prisoners to accept or participate in any
         of the services provided under this Paragraph.

         (f) Neither the County nor the Sheriff shall be in violation of this paragraph if
         after reasonable efforts as set forth in Correctional Health Services Policy
         M380.01, Release Planners are unable to identify available post-release services.




                                              32
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 35 of 124 Page ID
                                  #:3203


           STATUS (34):           STAYED PENDING LITIGATION

            During the Seventh Reporting Period, the parties and the Intervenors reached an
    agreement on the revised Paragraph 34 ("Revised Paragraph 34") set forth above. They
    also agreed on revised Compliance Measures and a revised policy to implement Revised
    Paragraph 34.

            On December 10, 2018, the Court issued an order pursuant to the parties' joint
    stipulation revising Paragraph 34. The County is expected to report the status of its
    compliance with Revised Paragraph 34 beginning in January 2020.




                                               33
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 36 of 124 Page ID
                                  #:3204


            35.    Consistent with existing DMH and Sheriff’s Department policies, the
    County and the Sheriff will ensure that custody staff, before the end of shift, refer
    prisoners in general or special populations who are demonstrating a potential need for
    routine mental health care to a QMHP or a Jail Mental Evaluation Team ("JMET")
    member for evaluation, and document such referrals. Custody staff will utilize the
    Behavior Observation and Referral Form.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of November 1, 2017,
                          through September 30, 2018 (verified))

            The Compliance Measures require the Department to review, for a randomly
    selected month each quarter, the Behavior Observation and Mental Health Referral
    ("BOMHR") records for prisoners referred by custody staff to a QMHP or JMET member
    for "routine" mental health care to determine the timeliness of the referrals. Substantial
    Compliance requires that "85% of the BOHMR forms reflect that the referral occurred
    before the end of the shift in which the potential need for mental health care is
    identified."

             The County's Sixth Self-Assessment reported that the Department "has developed
    an electronic version of the BOHMR" and it "concluded that 100% -- 15% more than the
    required 85% -- of BOHMR forms reflected that referrals occurred prior to the end of the
    shift in which the potential need for mental health care is identified" in both the Fourth
    Quarter of 2017 and the First Quarter of 2018. These results were verified by the
    Monitor's auditors.

            The County's Seventh Self-Assessment reports that the 100% of BOHMR forms
    reviewed in both the Second and Third Quarters of 2018 "reflected that referrals occurred
    prior to the end of the shift in which the potential need for mental health care is
    identified." The Mental Health Subject Matter Expert reviewed a number of the
    BOHMR forms and found that those that reflect mental health events "are being
    completed promptly." These results have been verified by the Monitor's auditors.




                                                34
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 37 of 124 Page ID
                                  #:3205


            36.     Consistent with existing DMH policies, the County and the Sheriff will
    ensure that a QMHP performs a mental health assessment after any adverse triggering
    event, such as a suicide attempt, suicide threat, self-injurious behavior, or any clear de-
    compensation of mental health status. For those prisoners who repeatedly engage in such
    self-injurious behavior, the County will perform such a mental health assessment only
    when clinically indicated, and will, when clinically indicated, develop an individualized
    treatment plan to reduce, and minimize reinforcement of, such behavior. The County and
    the Sheriff will maintain an on-call system to ensure that mental health assessments are
    conducted within four hours following the notification of the adverse triggering event or
    upon notification that the prisoner has returned from a medical assessment related to the
    adverse triggering event. The prisoner will remain under unobstructed visual observation
    by custody staff until a QMHP has completed his or her evaluation.

            STATUS:          PARTIAL COMPLIANCE

            The Compliance Measures require the Department to review randomly selected
    records of prisoners newly admitted to mental health housing from a lower level of care
    due to an adverse triggering event during two randomly selected weeks per quarter; and
    provide a staffing schedule for on-call services. The County's Seventh Self-Assessment
    reports that 82% of the prisoners identified in the two randomly selected weeks in the
    Second Quarter of 2018 received an assessment by a QMHP within four hours as
    required by Compliance Measure 36-4(a).15 The County's Augmented Seventh Self-
    Assessment reports that 84% of the prisoners identified in the two weeks in the Third
    Quarter of 2018 received the assessment within four hours.

           DOJ and the County have agreed that "the Department will randomly select five
    BOMHRS" from a randomly selected date, to "review videos to determine how the
    inmate was being observed while waiting for the QMHP," and "produce screen shots and
    movement records as part of their self-assessment."

           The County's Seventh Self-Assessment reports that in both the Second and Third
    Quarters of 2018, 80% of the selected prisoners at CRDF, and 100% at TTCF were on the
    videos "under unobstructed visual observation pending assessment."

            The Seventh Self-Assessment also reports that the County achieved 100%
    compliance with a staffing schedule that provides on-call services 24 hours a day, 7 days
    a week in the Second Quarter of 2018. The County's posted results show the same results
    for the Third Quarter of 2018. Compliance Measure 36.2 does not, however, simply
    require 24/7 coverage. It requires the Monitor, in consultation with the Subject Matter
    Experts, to "review" the staffing schedule "to verify the adequacy of the on-call system."
    The Mental Health Subject Matter Expert previously commented that "unless the county
    has another explanation for its inability to respond to adverse triggering events within 4
    hours, it is likely that inadequate staffing is the problem."

    15
       The Mental Health Subject Matter Expert and clinicians found that 79% of the identified prisoners
    received an assessment by a QMHP within four hours, "64% had an adequate assessment of the event and
    36% had an adequate plan."


                                                     35
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 38 of 124 Page ID
                                  #:3206


            37.     Sheriff’s Court Services Division staff will complete a Behavioral
    Observation and Mental Health Referral ("BOMHR") Form and forward it to the Jail’s
    mental health and/or medical staff when the Court Services Division staff obtains
    information that indicates a prisoner has displayed obvious suicidal ideation or when the
    prisoner exhibits unusual behavior that clearly manifests self-injurious behavior, or other
    clear indication of mental health crisis. Pending transport, such prisoner will be under
    unobstructed visual observation or subject to 15-minute safety checks.

           STATUS:         PARTIAL COMPLIANCE

            The Compliance Measures require the Department to randomly select nine courts
    from among the three Court Divisions each quarter, review written communications and
    orders that refer to a suicide risk or serious mental health crisis for a prisoner and incident
    reports for self-injurious behavior by prisoners appearing in the selected courts, and
    determine if these incidents are reflected in BOMHR forms completed by the Court
    Services Division staff in the selected courts.

            The County’s Seventh Self-Assessment reports that 100% of the incidents
    covered by Paragraph 37 in six randomly selected courts were reflected on BOMHRs in
    the Second Quarter of 2018 and 88% of the incidents in six other courts were reflected on
    BOMHRs in the Third Quarter of 2018. These results are well above the 68% and 52%
    results in the prior two quarters. The Mental Health Subject Matter Expert notes that
    "most locations are doing much better with notifications and monitoring."




                                                  36
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 39 of 124 Page ID
                                  #:3207


            38.      Consistent with existing DMH policies and National Commission on
    Correctional Health Care standards for jails, the County and the Sheriff will ensure that
    mental health staff or JMET teams make weekly cell-by-cell rounds in restricted non-
    mental health housing modules (e.g., administrative segregation, disciplinary segregation)
    at the Jails to identify prisoners with mental illness who may have been missed during
    screening or who have decompensated while in the Jails. In conducting the rounds, either
    the clinician, the JMET Deputy, or the prisoner may request an out-of-cell interview.
    This request will be granted unless there is a clear and documented security concern that
    would prohibit such an interview or the prisoner has a documented history of repeated,
    unjustified requests for such out-of-cell interviews.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified))

            The Compliance Measures require the Department to review the documentation of
    the weekly cell-by-cell rounds and the JMET Logs for a randomly selected week each
    quarter to confirm that the required cell-by-cell checks were conducted and out-of-cell
    interviews were handled in accordance with this provision.

            The County's reported results, which were verified by the Monitor's auditors,
    showed that it had maintained Substantial Compliance with Paragraph 38 for twelve
    consecutive months as of December 31, 2016. Accordingly, pursuant to Paragraph 111
    of the Settlement Agreement, Paragraph 38 was not subject to monitoring in the Seventh
    Reporting Period.




                                               37
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 40 of 124 Page ID
                                  #:3208


           39.     The County and the Sheriff will continue to use a confidential self-referral
    system by which all prisoners can request mental health care without revealing the
    substance of their requests to custody staff or other prisoners.

             STATUS            SUBSTANTIAL COMPLIANCE (as of July 1, 2018, through
                               September 30, 2018 (unverified) at PDC North)

                               SUBSTANTIAL COMPLIANCE (as of July 1, 2017,
                               through June 30, 2018 (unverified) at NCCF)

                               PARTIAL COMPLIANCE (at TTCF, CRDF and MCJ)

                               NOT RATED (PDC East and PDC South)

            Substantial Compliance requires the Department to (a) verify that housing areas
    have the required forms and (b) review randomly selected self-referrals for mental health
    care from prisoners to confirm that (i) the referrals "were forwarded to DMH" by the
    Department, and (ii) that "DMH documented the timeliness and nature of DMH's
    response to the self-referrals[.]" The thresholds for Substantial Compliance are that 90%
    of the self-referrals must be forwarded by the Department to the Department of Health
    Services – Custody Health Services (DHS-CHS) and 90% must contain the required
    documentation of DHS-CHS's response.

            Based upon a review of the County’s policies and procedures, multiple tours of
    the facilities, interviews, and the County’s Seventh Self-Assessment, the Monitor is
    satisfied that the Department has adequate processes and procedures for inmates to make
    confidential self-referrals for mental health care.

            The County's Seventh Self-Assessment reports that it achieved Substantial
    Compliance with Compliance Measure 39.4(a) in the Second and Third Quarters of 2018
    in that more than 85% of the housing areas in all of the facilities had the self-referral
    forms.

           The County's Seventh Self-Assessment also reports that in the Second Quarter of
    2018, 100% of the self-referrals from CRDF, TTCF, MCJ, and NCCF were forwarded by
    the Department to DHS-CHS as required by Compliance Measure 39.4(b), and DHS-
    CHS documented the timeliness and nature of its response in 83% of the CRDF referrals,
    100% of the NCCF referrals, 67% of the TTCF referrals, and 63% of the MCJ referrals as
    required by Compliance Measure 39.4(c).16

    16
       Absent extenuating circumstances, Mental Health Services clinicians must respond to self-referrals
    within seven days of CHS's receipt of the self-referral from the Sheriff's Department. This is based upon
    the assumption that the Department is promptly forwarding the referral to the CHS within 24 hours of
    collecting the self-referral. In reviewing cases at CRDF, however, the Mental Health Subject Matter Expert
    found that the electronic health record on the self-referral form averaged 3.5 days after the patients dated
    the forms. If the inmate's self-referral is not forwarded to CHS within 24 hours of collection, CHS
    clinicians must respond within seven days of the inmate's self-referral.



                                                        38
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 41 of 124 Page ID
                                  #:3209


            The County's Seventh Self-Assessment also reports that 100% of the self-referrals
    from three of the four buildings at PDC North in the Second Quarter of 2018 were
    forwarded and documented as required by this Compliance Measure, but there were no
    results for the MOH Building because "there were no designated Mental Health staff
    processing self-referrals in Second Quarter 2018, as the contracted staff previously
    responsible for this task no longer work at PDC."17 Finally, it reports that the County
    was unable to assess PDC South and PDC East during this quarter because "County
    records indicate that there were no self-referrals for these facilities" in this quarter, which
    is not surprising because, as the County notes, "those facilities have specialized pre-
    selected populations, and as such the County rarely, if ever, receives self-referrals from
    those facilities."

            The County's Seventh Self-Assessment reports that for the Third Quarter of 2018,
    100% of the self-referrals reviewed by the Department at CRDF were forwarded to CHS
    and that 88% of the time "CHS documented the timeliness and nature of CHS' response
    to the self-referrals received from the Department." The results for the other facilities
    were as follows: 100% and 46% for self-referrals at MCJ; 100% and 90% for TTCF; and
    100% and 95% for PDC North. The County was unable to assess PDC South and PDC
    East for the same reasons as stated above.

            The Substantial Compliance results reported by the County for NCCF for the
    Second Quarter of 2018 and for TTCF and PDC North for the Third Quarter of 2018 are
    subject to verification by the Monitor's auditors based upon an assessment of the
    timeliness of Mental Health's responses from the date the inmate's self-referral was
    received by Correctional Health Services and a qualitative assessment by the Mental
    Health Subject Matter Expert. As requested by DOJ, the auditors will also "examine
    whether self-referrals are being promptly forwarded to CHS" by Custody within 24 hours
    of collecting the self-referral and, if not, whether the CHS has responded timely within
    seven days of the inmate's self-referral (rather than from the CHS receipt of the self-
    referral). See p. 39, n. 16, supra.

            The Mental Health Subject Matter Expert and the clinicians conducted a
    qualitative assessment of the County's compliance with Paragraph 39 at TTCF in August
    2018. They report that the County’s response to self-referrals at TTCF "is disorganized,
    incomplete, and frequently lacks any meaningful clinical response. Nursing staff
    frequently do not enter the self-referrals into the medical record, instead interpreting what
    they perceive the patient’s intent to be, often excluding important information and
    thereby rendering the medical record incomplete or inaccurate. There is rarely any
    notation in the medical record about which self-referrals are being responded to and notes
    rarely include any information from the self-referrals. In many cases, there is no clinical
    response at all, merely an appointment which may or may not be timely and may or may


    17
       In the County's response to the Monitor's draft of this Seventh Report, the County subsequently clarified
    that "there were no audited referrals during the randomly selected week" in the MOH Building, which the
    County believes "may be the result of temporary staffing issues." The County reported that "there were
    staff processing referrals for the MOH building during the Second Quarter of 2018."


                                                         39
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 42 of 124 Page ID
                                  #:3210


    not result in an actual contact with the patient.”18 For these reasons, the Monitor is of the
    view that the Department has only achieved Partial Compliance at TTCF.

            The Mental Health Subject Matter Expert reports that "response times and ability
    to track what the QMHP did and how it was tied to the [patient's self-referrals] was better
    at NCCF. . . likely due to lower volume." He reports that "the clinical responses are
    generally timely. . .and the response to real concerns was generally adequate." In light of
    the Department's reported results, the Monitor is of the view that the Department has
    maintained Substantial Compliance at NCCF for twelve consecutive months, subject to
    verification by the Monitor's auditors based upon an assessment of the timeliness of
    Custody's referrals and CHS's responses.19




    18
       In addition, the Mental Health Subject Matter Expert believes that too many of the responses are to staff
    driven requests (i.e., based upon a BOHMR or nurse referrals) rather than patient self-referrals. He also
    strongly recommends that County scan the actual self-referrals into the inmate's medical record "to assure
    the appropriate clinical data is getting to the QMHP."
    19
        The reported results for NCCF for the Third and Fourth Quarters of 2017 and the First Quarter of 2018,
    are also subject to verification by the Monitor’s auditors and an assessment of the timeliness of the referrals
    and responses.




                                                          40
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 43 of 124 Page ID
                                  #:3211


           40.     The County and the Sheriff will ensure a QMHP will be available on-site,
    by transportation of the prisoner, or through tele-psych 24 hours per day, seven days per
    week (24/7) to provide clinically appropriate mental health crisis intervention services.

            STATUS:           PARTIAL COMPLIANCE

             Substantial Compliance requires the County (1) to provide the Monitor with on-
    call schedules for two randomly selected weeks reflecting that a QMHP was assigned 24
    hours a day, seven days per week, and (2) randomly select referrals for mental health
    crisis intervention received by a QMHP per quarter to verify that a QMHP responded to
    all referrals, and 90% of the referrals within four hours.

           The County’s Seventh Self-Assessment reports that for the Second Quarter of
    2018, a QMHP responded 100% of the time and 90% of the responses were within four
    hours. The Augmented Seventh Self-Assessment reports that for the Third Quarter of
    2018, a QMHP responded 100% of the time and 97% of the responses were within four
    hours.

            The County's Substantial Compliance finding is subject to a qualitative review by
    the Mental Health Subject Matter Expert and the clinicians to assess whether the QMHP's
    are providing "clinically appropriate" services.20 The Mental Health Subject Matter
    Expert notes that "the County is meeting the timeliness for crisis response," but indicates
    that "the nature of the crisis response is not clinically adequate in the majority of cases.
    Most responses consist of placement in a new housing and/placement on risk precautions
    or other monitoring status. There is almost never any evidence of a clinical response to
    the crisis itself or a plan to follow-up or manage the crisis. In many cases, the notes refer
    to treatment being provided per the new unit staff, but there is rarely any subsequent
    treatment plan or follow-up of the crisis." Accordingly, the County has achieved Partial
    Compliance rather Substantial Compliance with Paragraph 40.




    20
       The County has voiced concerns about an expansion of Paragraph 40 and an undefined and subjective
    standard, but the Mental Health Subject Matter Expert has observed that "a crisis response would, at a
    minimum, characterize the cause of the crisis, conduct a relevant risk assessment, and create a plan of
    action based on that assessment."




                                                       41
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 44 of 124 Page ID
                                  #:3212


            41.    Consistent with existing DMH policies, the County and the Sheriff will
    implement step-down protocols that provide clinically appropriate transition when
    prisoners are discharged from FIP after being the subject of suicide watch. The protocols
    will provide:

           (a)     intermediate steps between highly restrictive suicide measures (e.g.,
                   clinical restraints and direct constant observation) and the discontinuation
                   of suicide watch;

           (b)     an evaluation by a QMHP before a prisoner is removed from suicide
                   watch;

           (c)     every prisoner discharged from FIP following a period of suicide watch
                   will be housed upon release in the least restrictive setting deemed
                   clinically appropriate unless exceptional circumstances affecting the
                   facility exist; and

           (d)     all FIP discharges following a period of suicide watch will be seen by a
                   QMHP within 72 hours of FIP release, or sooner if indicated, unless
                   exceptional circumstances affecting the facility exist.

           STATUS:        PARTIAL COMPLIANCE

             Substantial Compliance requires DMH to review the medical records of all
    prisoners on suicide watch in FIP for one randomly selected month each quarter, and
    submit a report regarding the implementation of the step-down protocols and the results
    of its review of the medical records. Previously, the Monitor did not rate the County's
    compliance with Paragraph 41 because all FIP patients on suicide watch during the
    period either remained on suicide watch at the end of the period or "did not remain in the
    system (they were transferred to prison), and therefore did not go through the protocols."

           During the Fifth Reporting Period, the parties agreed to revise the Compliance
    Measures to increase the number of inmates subject to the step-down protocols of
    Paragraph 41 and ensure that the implementation of step-down protocols for FIP patients
    on suicide watch "ameliorate the impact of the restrictions" and have the necessary "level
    of precautions based upon individual assessment[s]" of the patients. The revised
    Compliance Measures were reviewed by the Mental Health Subject Matter Expert.

            The County's Seventh Self-Assessment reports that the "County recently finalized
    an EMR template to meaningfully assess the County's compliance with the application of
    this Compliance Measure to the relevant universe of patients and affiliated step-down
    protocols." The Augmented Self-Assessment reports that "68% -- rather than the
    required 95% -- of the inmates discharged from FIP during the [Third Quarter of 2018]
    after having been on suicide watch" met the Compliance Measures requirements. The
    Mental Health Subject Matter Expert noted "numerous problems in the documentation
    and scoring, some where the County did not give itself credit where it should have. . .and



                                                42
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 45 of 124 Page ID
                                  #:3213


    counting as compliant situations where they should not have." Further, "the
    documentation is often not clear and the nature of the precautions is often poorly
    characterized," and sometimes the County is relying on a nursing note with "no
    documentation of a QMHP assessment for step-down."




                                                43
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 46 of 124 Page ID
                                  #:3214


            42.     Consistent with existing DMH policies, the County and the Sheriff will
    implement step-down protocols to ensure that prisoners admitted to HOH and placed on
    risk precautions are assessed by a QMHP. As part of the assessment, the QMHP will
    determine on an individualized basis whether to implement "step-down" procedures for
    that prisoner as follows:

           (a)    the prisoner will be assessed by a QMHP within three Normal business
                  work days, but not to exceed four days, following discontinuance of risk
                  precautions;

           (b)    the prisoner is counseled to ameliorate the negative psychological impact
                  that any restrictions may have had and in ways of dealing with this impact;

           (c)    the prisoner will remain in HOH or be transferred to MOH, as determined
                  on a case-by-case basis, until such assessment and counseling is
                  completed, unless exceptional circumstances affecting the facility exist;
                  and

           (d)    the prisoner is subsequently placed in a level of care/housing as
                  determined by a QMHP.

           STATUS:       PARTIAL COMPLIANCE

           The County’s Seventh Self-Assessment reports that for the Second Quarter of
    2018 at CRDF, 100% of the medical records reviewed reflected that "inmates in HOH
    and placed on risk precautions were assessed by a QMHP"; "45% -- instead of the
    required 90% -- of the records reflected that the QMHP determined on an individualized
    basis whether to implement step-down procedures;" and "0% -- rather than the required
    85% -- of the records reflected that step-down procedures were implemented per the
    QMHP assessment, where applicable." For this quarter at TTCF, the results in these
    categories were 100%, 62%, and 25%.

            The County's Augmented Seventh Self-Assessment reports that for the Third
    Quarter of 2018 at CRDF, 100% of the records "reflected that inmates in HOH and
    placed on risk precautions were assessed by a QMHP;" 40% "of the records reflected that
    the QMHP determined on an individualized basis whether to implement step-down
    procedures;" and 33% "of the records reflected that step-down procedures were
    implemented per the QMHP assessment, where applicable." For this quarter at TTCF,
    the results in these categories were 100%, 73%, and 12%.

           As noted by the Mental Health Subject Matter Expert, the County has a working
    group developing "more individual risk-based approaches to removal and restoration of
    property that should improve compliance."




                                               44
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 47 of 124 Page ID
                                  #:3215


           43.      Within six months of the Effective Date, the County and the Sheriff will
    develop and implement written policies for formal discipline of prisoners with serious
    mental illness incorporating the following:

           (a)     Prior to transfer, custody staff will consult with a QMHP to determine
                   whether assignment of a prisoner in mental health housing to disciplinary
                   housing is clinically contraindicated and whether placement in a higher
                   level of mental health housing is clinically indicated, and will thereafter
                   follow the QMHP's recommendation;

           (b)     If a prisoner is receiving psychotropic medication and is placed in
                   disciplinary housing from an area other than mental health housing, a
                   QMHP will meet with that prisoner within 24 hours of such placement to
                   determine whether maintenance of the prisoner in such placement is
                   clinically contraindicated and whether transfer of the prisoner to mental
                   health housing is clinically appropriate, and custody staff will thereafter
                   follow the QMHP's recommendation;

           (c)     A QMHP will participate in weekly walks, as specified in paragraph 38, in
                   disciplinary housing areas to observe prisoners in those areas and to
                   identify those prisoners with mental health needs; and

           (d)     Prior to a prisoner in mental health housing losing behavioral credits for
                   disciplinary reasons, the disciplinary decision-maker will receive and take
                   into consideration information from a QMHP regarding the prisoner’s
                   underlying mental illness, the potential effects of the discipline being
                   considered, and whether transfer of the prisoner to a higher level of mental
                   health housing is clinically indicated.




                                                45
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 48 of 124 Page ID
                                  #:3216


            STATUS (43):              SUBSTANTIAL COMPLIANCE (as of October 1,
                                      2017, through September 30, 2018 at NCCF and PDC
                                      North (verified))

                                      PARTIAL COMPLIANCE (at CRDF, MCJ, and
                                      TTCF)

           In response to comments by the Monitor and DOJ, the Department submitted
    proposed revisions to its discipline policies on May 30, 2017. After consulting with the
    Subject Matter Experts, the Monitor provided his written comments to the Department on
    June 29, 2017. The DOJ provided its comments to the Department the same day. The
    County's Seventh Self-Assessment reports that the Department is still "currently in the
    process of finalizing the revised policies related to discipline and the mentally ill," which
    were reviewed by the Monitor and DOJ nearly 18 months earlier.

           The County's Sixth Self-Assessment reported the County "made changes in
    housing arrangements to develop mental health discipline pods, and implemented new
    guidelines and policy which reduce the number of patients eligible for discipline at TTCF
    and CRDF."

            The County's Sixth Self-Assessment also reported on the practices regarding the
    discipline for inmates with P2, P3, and P4 designations in mental health housing
    locations. The Seventh Self-Assessment reports that the County has "continued its
    previously reported development of mental health discipline pods" and a "revised process
    for receiving notice of P1 inmates residing in General Population," but reiterates that "the
    County continues to experience staffing shortages that impact its ability to achieve
    Substantial Compliance" with this Provision.

            The County's Seventh Self-Assessment reports that it achieved Substantial
    Compliance at NCCF in the Second Quarter of 2018 where a QMHP met with the one
    inmate receiving psychotropic medications who was transferred to disciplinary housing
    from an area outside mental health housing within 24 hours of the transfer as required by
    Compliance Measure 43-9(c) and "100% -- equal to the required 100% of the required
    weekly row walks through disciplinary units occurred pursuant to Compliance Measure
    43.9(d)."21 Similarly, it achieved Substantial Compliance at PDC North where 100% of
    the required weekly walks through disciplinary units took place.

            The results for MCJ also showed that 100% of the weekly row walks occurred,
    but MCJ did not achieve Substantial Compliance because only 41% of the meetings
    required pursuant to Compliance Measure 43-9(c) occurred, which is well-below the 90%
    threshold for Substantial Compliance when inmates receiving psychotropic medications
    are transferred to disciplinary housing from areas other than mental health housing.

            Although not stated in the Self-Assessment, it appears that Compliance Measures

    21
     The County's Augmented Sixth Self-Assessment reported that it achieved Substantial Compliance at
    NCCF and PDC North in the First Quarter of 2018. These results were verified by the Monitor's auditors.


                                                       46
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 49 of 124 Page ID
                                  #:3217


    43.9(b) and 43.9(e) are not applicable for NCCF, PDC North, and MCJ because these
    facilities did not have any prisoners transferred to disciplinary housing from mental
    health housing. In addition, it appears that Compliance Measure 43.9(c) is not applicable
    for PDC North because it did not have any inmates who were receiving psychotropic
    medications transferred from areas other than mental health housing.

           The results for CRDF and TTCF for the Second Quarter of 2018 also showed that
    100% of the weekly row walks occurred, but these facilities did not achieve Substantial
    Compliance because the consultations with QMHPs required pursuant to Compliance
    Measure 43-9(b) and the meetings required pursuant to Compliance Measure 43-9(c) did
    not meet the thresholds for Substantial Compliance.

            The County's Augmented Seventh Self-Assessment reports that the County
    achieved Substantial Compliance at NCCF and PDC North in the Third Quarter of 2018
    where "100% -- equal to the required 100% of the required weekly row walks through
    disciplinary units occurred pursuant to Compliance Measure 43.9(d)." There "were no
    inmate-patients falling within the parameters of Compliance Measure 43-9(c) (prisoners
    receiving psychotropic medications transferred to disciplinary housing from areas other
    than mental health housing) at NCCF during the relevant period." Apparently, this is also
    the case at PDC North. These results have been verified by the Monitor’s auditors and
    NCCF and PDC North will no longer be subject to monitoring for compliance with
    Paragraph 43.

            The County's Augmented Seventh Self-Assessment also reports that for the Third
    Quarter of 2018, 59% of the required consultations at CRDF "occurred prior to transfers
    from mental health housing;" 75% of the required meetings occurred when inmates
    receiving psychotropic medications are transferred to disciplinary housing from areas
    other than mental health housing; and 100% of the weekly row walks through
    disciplinary units occurred. The results for TTCF were 58%, 81%, and 100%. For MCJ,
    50% of the required meetings and 100% of the row walks occurred.

           The Mental Health Subject Matter Expert and the clinicians reviewed random
    samples of inmates in HOH and MOH at CRDF and TTCF and concluded that a QMHP
    evaluated the inmate before discipline was imposed in 67% of the cases at CRDF, but
    only 10% of the cases at TTCF. The results for inmates in General Population on
    psychotropic medications were significantly better: 88% from CRDF and 92% from
    TTCF were evaluated by a QMHP prior to imposing discipline.

           The Subject Matter Expert reports that he and clinicians "found no instances
    where a QMHP's recommendation was not followed. As before, no QMHP ever made a
    finding that discipline was contraindicated, and only occasionally did a QMHP
    recommend a higher level of care; a recommendation for a lower level of care was much
    more common, though these recommendations seemed reasonable." In addition, he notes
    that:

           It does not seem that QMHPs have a clear sense of what might constitute a



                                               47
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 50 of 124 Page ID
                                  #:3218


            contraindication to discipline.22 While they address the patients’ mental
            health condition, there is rarely any discussion of the nature of discipline
            proposed and how this might affect the mental health of the patient. At
            TTCF, it was uncommon for a patient to be assessed prior to imposing
            discipline in MOH/HOH but there was more evidence of attending to
            contraindications, though it was usually just a statement that the patient
            could serve discipline.

                                                ****

            The focus of these evaluations needs to be on the welfare and needs of the
            patient in light of proposed discipline (the nature of which was almost
            never discussed), not on whether mental illness contributed to the
            behavior. Many of these evaluations were done at cell front,
            compromising the quality of the assessment and making it unlikely that
            patients (especially when able to be heard by other inmates in the
            disciplinary setting) will be comfortable sharing their problems.




    22
      The County "strongly disagrees" with this assessment and asserts that "QMHPs engage in a detailed
    analysis and evaluation of inmate-patients whom custody is seeking to discipline and significant discussion
    with custody staff regarding the appropriateness of the discipline sought." It notes, however, that "there
    was some confusion among clinicians regarding how that analysis and evaluation should be documented."


                                                        48
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 51 of 124 Page ID
                                  #:3219


             44.    Within six months of the Effective Date, the County and the Sheriff will
    install protective barriers that do not prevent line-of-sight supervision on the second floor
    tier of all High Observation Housing areas to prevent prisoners from jumping off of the
    second floor tier. Within six months of the Effective Date, the County and the Sheriff
    will also develop a plan that identifies any other areas in mental health housing where
    such protective barriers should be installed.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016)

            The County has maintained Substantial Compliance with Paragraph 44 of the
    Agreement since January 1, 2016. Pursuant to Paragraph 111 of the Settlement
    Agreement, Paragraph 44 was not subject to monitoring during the Seventh Reporting
    Period.




                                                 49
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 52 of 124 Page ID
                                  #:3220


            45.      Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will provide both a Suicide Intervention Kit that contains an emergency cut-down
    tool and a first-aid kit in the control booth or officer’s station of each housing unit. All
    custody staff who have contact with prisoners will know the location of the Suicide
    Intervention Kit and first-aid kit and be trained to use their contents.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                           through September 30, 2016 (verified) at CRDF, NCCF, PDC
                           EAST, PDC SOUTH, and TTCF)

                           SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016 (verified) at MCJ and PDC North)

            The County has maintained Substantial Compliance with Paragraph 45 for twelve
    consecutive months at all facilities as of December 31, 2016. Pursuant to Paragraph 111
    of the Settlement Agreement, Paragraph 45 was not subject to monitoring during the
    Seventh Reporting Period.




                                                50
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 53 of 124 Page ID
                                  #:3221


           46.    The County and the Sheriff will immediately interrupt, and if necessary,
    provide appropriate aid to, any prisoner who threatens or exhibits self-injurious behavior.

             STATUS:             PARTIAL COMPLIANCE

            Substantial Compliance requires the Department to review the documentation
    from randomly selected incidents involving prisoners who threaten or exhibit self-
    injurious behavior, and include an assessment of the timeliness and appropriateness of the
    Department’s responses to these incidents in its semi-annual Self-Assessment. The
    County's Seventh Self-Assessment reports that for the Second Quarter of 2018, "96% --
    1% more than the required 95% -- of the records reviewed . . . reflected that appropriate
    aid and (when necessary) immediate interruption of self-injurious behavior was provided
    by the Department." In the Third Quarter of 2018, 95% of the records reflect that the
    Department provided appropriate aid and necessary interruption.

            The County Seventh Self-Assessment notes that the "adaptation of the electronic
    BOMHR has ensured that staff immediately interrupt and provide appropriate aid to
    inmates who threaten or exhibit self-injurious behavior as required by this Provision[.]"
    The Monitor's Sixth Report noted that "[a]lthough the BOHMRs show when the inmate
    engaged in the self-injurious behavior, when the inmate was seen by a medical provider,
    and when a mental health clinician made an assessment, the BOHMRs do not always
    show what the County did to 'interrupt' the behavior or what aid the County provided to
    the inmate." In response, the County stated that "[t]he purpose of this provision is to
    ensure that the custody staff and QMHP's are immediately and properly responding to an
    inmate who threatens or exhibits self-injurious behavior to prevent self-harm or further
    self-harm. In this regard, the BOMHRs have been effectively used to ensure the
    prevention of suicides and suicide attempts. . . . Any information beyond what is
    provided in the BOHMHR can be found in response to other provisions."

            The Mental Health Subject Matter Expert indicates that most of the BOHMRs
    involved expression of suicidal ideation, which do not involve threatened self-injurious
    behavior and thus "required no interruption. . . .The problem here is capturing a universe
    of patients where some custody intervention was needed." To establish Substantial
    Compliance, the County must either provide more detail in the BOHMRs what the
    Deputy did to interrupt the self-injurious behavior or rely on additional documentation
    reflecting the required information. By "capturing" a universe of inmates who actually
    threatened or engaged in self-injurious behavior,23 it may be possible to rely on BOHMRs
    to show what the Department did.

    23
       The Mental Health Subject Matter Expert suggests looking at the actual self-harm cases reviewed by
    CIRC, which are "more likely to be cases where some intervention may have been indicated," and then
    relying on BOHMRs or other documentation to show what Custody did to interrupt the behavior. DOJ
    "believes that the universe should include all instances of self-directed violence, and not be limited to those
    instances reviewed at the CIRC meeting based on their risk-rating score," but the County asserts that
    "[i]ncluding all incidents of self-directed violence. . .would be unduly burdensome" as there "roughly 800"
    such incidents in 2018. The Monitor agrees this would be unduly burdensome, but as noted by the Mental
    Health Subject Matter Expert, other cases may be needed "[i]f the CIRC cases are not sufficient in
    number."


                                                          51
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 54 of 124 Page ID
                                  #:3222


             47.    The County and the Sheriff will ensure there are sufficient custodial,
    medical, and mental health staff at the Jails to fulfill the terms of this Agreement. Within
    six months of the Effective Date, and on a semi-annual basis thereafter, the County and
    the Sheriff will, in conjunction with the requirements of Paragraph 92 of this Agreement,
    provide to the Monitor and DOJ a report identifying the steps taken by the County and
    the Sheriff during the review period to implement the terms of this Agreement and any
    barriers to implementation, such as insufficient staffing levels at the Jails, if any. The
    County and the Sheriff will retain staffing records for two years to ensure that for any
    critical incident or non-compliance with this Agreement, the Monitor and DOJ can obtain
    those records to determine whether staffing levels were a factor in that critical incident
    and/or non-compliance.

           STATUS:         NON-COMPLIANCE

           The County’s Seventh Self-Assessment states that the County has "provided a list
    of each critical incident between January 1 and June 30, 2018," for a total of 54 critical
    incidents during that period. It reiterates that the "County continues to work to develop a
    methodology to determine and assess whether staffing was a factor in any non-
    compliance with the Agreement, any critical incident, or the Department's handling of an
    incident."




                                                52
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 55 of 124 Page ID
                                  #:3223


            48.     Within three months of the Effective Date, the County and the Sheriff will
    have written housekeeping, sanitation, and inspection plans to ensure the proper cleaning
    of, and trash collection and removal in, housing, shower, and medical areas, in
    accordance with California Code of Regulations ("CCR") Title 15 § 1280: Facility
    Sanitation, Safety, and Maintenance.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016)

            The County maintained Substantial Compliance with Paragraph 48 of the
    Agreement at all facilities for twelve consecutive months as of December 31, 2016.
    Pursuant to Paragraph 111 of the Settlement Agreement, Paragraph 48 was not subject
    Seventh Reporting Period, the Monitor observed "an acceptable level of cleanliness,
    sanitation, repair and safety" in each facility.




                                                53
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 56 of 124 Page ID
                                  #:3224


            49.      Within three months of the Effective Date, the County and the Sheriff will
    have a maintenance plan to respond to routine and emergency maintenance needs,
    including ensuring that shower, toilet, sink, and lighting units, and heating, ventilation,
    and cooling system are adequately maintained and installed. The plan will also include
    steps to treat large mold infestations.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of March 1, 2016,
                          through February 28, 2017)

            The County maintained Substantial Compliance with Paragraph 49 of the
    Agreement at all facilities for twelve consecutive months as of February 28, 2017.
    Pursuant to Paragraph 111 of the Settlement Agreement, Paragraph 49 was not subject to
    monitoring during the Seventh Reporting Period. Nevertheless, during inspections in the
    Seventh Reporting Period, the Monitor noted that the lighting systems, heating,
    ventilation and cooling systems in each facility were "adequately maintained and
    installed."




                                                54
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 57 of 124 Page ID
                                  #:3225


           50.     Consistent with existing Sheriff’s Department policies regarding control of
    vermin, the County and the Sheriff will provide pest control throughout the housing units,
    medical units, kitchen, and food storage areas.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) at all facilities other than
                          PDC South and PDC East)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                          March 31, 2017 (verified) at PDC South and PDC East)

           The County maintained Substantial Compliance with Paragraph 50 of the
    Agreement at all facilities for twelve consecutive months as of March 31, 2017. Pursuant
    to Paragraph 111 of the Settlement Agreement, Paragraph 50 was not subject to
    monitoring during Seventh Reporting Period.




                                               55
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 58 of 124 Page ID
                                  #:3226


            51.    Consistent with existing Sheriff’s Department policies regarding personal
    care items and supplies for inmates, the County and the Sheriff will ensure that all
    prisoners have access to basic hygiene supplies, in accordance with CCR Title 15 § 1265:
    Issue of Personal Care Items.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) for all facilities other
                          than CRDF)

                          SUBSTANTIAL COMPLIANCE (as of July 1, 2016
                          through June 30, 2017 (verified) at CRDF)

           The County maintained Substantial Compliance with Paragraph 51 of the
    Agreement at all facilities for twelve consecutive months as of June 30, 2017. Pursuant
    to Paragraph 111 of the Settlement Agreement, Paragraph 51 was not subject to
    monitoring during the Seventh Reporting Period.




                                               56
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 59 of 124 Page ID
                                  #:3227


             52.    The County and the Sheriff will implement policies governing property
    restrictions in High Observation Housing that provide:

           (a)    Except when transferred directly from FIP, upon initial placement in
                  HOH:

                  (i)     Suicide-resistant blankets, gowns, and mattresses will be provided
                          until the assessment set forth in section (a)(ii) below is conducted,
                          unless clinically contraindicated as determined and documented by
                          a QMHP.

                  (ii)    Within 24 hours, a QMHP will make recommendations regarding
                          allowable property based upon an individual clinical assessment.

           (b)    Property restrictions in HOH beyond 24 hours will be based on clinical
                  judgment and assessment by a QMHP as necessary to ensure the safety
                  and well-being of the prisoner and documented in the electronic medical
                  record.

           STATUS:        PARTIAL COMPLIANCE

            Substantial Compliance requires the Department to (1) randomly inspect the cells
    of prisoners placed in HOH (except from FIP) within the previous 24 hours to confirm
    that they have been provided with suicide-resistant blankets, gowns and mattresses unless
    clinically contraindicated, and document the results of the inspection; (2) randomly
    inspect the cells of prisoners placed in HOH (except from FIP) for more than 24 hours to
    confirm that they have been provided with allowable property as recommended by a
    QMHP; and (3) review the electronic medical records of prisoners assigned to HOH on
    the days of those inspections to verify compliance with the provisions of Paragraph 52.
    All of the Compliance Measures have a 95% threshold for Substantial Compliance.

             The County’s Seventh Self-Assessment reports that in the Second Quarter of
    2018, 58% of the inmates initially placed in HOH at CRDF were provided the property
    required by Paragraph 52; 8% "of the electronic medical records for inmates assigned to
    HOH reflected a recommendation by a QMHP regarding allowable property;" 6% "of
    electronic medical records for inmates assigned to HOH reflect that property restrictions
    were based upon the clinical judgment of a QMHP;" and 95% of the inmates placed in
    HOH "for more than 24 hours" had "allowable property as recommended by a QMHP[.]"
    For the Second Quarter of 2018, the County reports that 94% of the inmates initially
    placed in HOH at TTCF were provided the property required by Paragraph 52; 50% of
    the electronic medical records "reflected a recommendation by a QMHP regarding
    allowable property;" 89% of the electronic medical records "reflect that property
    restrictions were based upon the clinical judgment of a QMHP"; and 94% of the inmates
    placed in HOH "for more than 24 hours" had "allowable property as recommended by a
    QMHP[.]"




                                               57
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 60 of 124 Page ID
                                  #:3228


           In the Third Quarter of 2018, 71% of the inmates initially placed in HOH at
    CRDF were provided the property required by Paragraph 52; and 97% of the inmates in
    HOH "for more than 24 hours" had "allowable property as recommended by a QMHP[.]"
    For TTCF, the Third Quarter results were 92% of the inmates initially placed in HOH
    were provided the property required by Paragraph 52; and 97% of the inmates placed in
    HOH "for more than 24 hours" had "allowable property as recommended by a QMHP[.]"

            The County's Augmented Seventh Self-Assessment reports for the Third Quarter
    of 2018, "22% -- rather than the required 95% -- of the electronic medical records for
    inmates assigned to HOH reflected a recommendation by a QMHP" at CRDF, and 18%
    of the electronic medical records "reflect that property restrictions were based upon the
    clinical judgment of a QMHP[.]" The results for TTCF were 48% and 73%.

             The Mental Health Subject Matter Expert and the clinicians reviewed the
    County's compliance with this provision in July and concluded that "the County
    continues to struggle with conducting and/or documenting assessments for property
    restrictions that are based on relevant risk factors." The Mental Health Subject Matter
    Expert notes that the basis (i.e., the risk assessment) for the property restrictions "is often
    absent or sorely lacking." The Department "is doing a reasonable job at providing
    property consistent with the recommendations of the QMHP's, but the quality of the
    assessments underlying these recommendations remains poor."




                                                  58
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 61 of 124 Page ID
                                  #:3229


            53.     If otherwise eligible for an education, work, or similar program, a
    prisoner’s mental health diagnosis or prescription for medication alone will not preclude
    that prisoner from participating in said programming.

           STATUS:         PARTIAL COMPLIANCE

            Substantial Compliance requires the Department to audit the records of prisoners
    who were eligible, but rejected or disqualified, for education and work programs to
    confirm that they were not rejected or disqualified because of a mental health diagnosis
    or prescription for medication alone.

             The County's Seventh Self-Assessment reports that 95% and 97% of the mentally
    ill prisoners who were eligible for and denied work in the Second and Third Quarters of
    2018 were not denied the work due to a mental health diagnosis or prescription for
    psychotropic medication alone. Accordingly, the County concludes that it has achieved
    Substantial Compliance with Paragraph 53 as of the Second Quarter of 2018, and it
    maintained Substantial Compliance through the Third Quarter of 2018.

            As noted in the Monitor's Sixth Report, the Mental Health Subject Matter Expert
    and clinicians previously reviewed documents posted by the County and noted that "[i]t is
    difficult to determine if . . . denials reflect lack of eligibility due to mental health
    diagnosis alone, or issues relating to housing placement of patients as a class, rather than
    individual determinations of eligibility." These concerns remained during the Seventh
    Reporting Period.

            While the Mental Health Subject Matter Expert and the clinicians reviewed the
    County's "table of those refused programing and agreed with the County's 'scoring' of the
    individual cases selected for Compliance Measure 53-3(b)," they have found "it hard to
    assess [the County's] compliance based on the [available] documentation" and "have not
    been able to find a description of the [County's] methodology."

            From a qualitative perspective, the Mental Health Subject Matter notes that "[t]he
    main problem is that those in HOH are effectively barred from programming because
    they are often too ill to go to settings where such programming is offered and yet no
    programming is being brought to them that some could avail themselves of. We have
    seen no HOH patients engaged in any programming, including on unit jobs (which some
    could do). Review of the movement history for those in HOH does not show attendance
    in any programming that I could find."




                                                59
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 62 of 124 Page ID
                                  #:3230


            54.    Prisoners who are not in Mental Health Housing will not be denied
    privileges and programming based solely on their mental health status or prescription for
    psychotropic medication.

           STATUS:         PARTIAL COMPLIANCE

            Substantial Compliance requires the Department to audit the records of a
    maximum of 100 randomly selected prisoners who were eligible and denied privileges or
    programs to confirm that they were not rejected or disqualified because of a mental health
    diagnosis or prescription for psychotropic medication alone. In the Fifth Reporting
    Period, the County reported that it achieved and maintained Substantial Compliance for
    the period from March 1, 2016 through December 31, 2016. The results were verified by
    the Monitor’s auditors.

            The Mental Health Subject Matter Expert then expressed a concern that the
    randomly selected population "does not pre-select for patients on [mental health] rolls or
    on medication, so it is possible that all cases reviewed had no mental health problem that
    might have resulted in a denial." To address this concern, with the approval of the
    parties, the Monitor revised the Compliance Measures for Paragraph 54, effective
    January 1, 2018, to provide for an alternative pool of inmates proposed by the County.
    Because the Monitor's auditors had verified that the County has maintained Substantial
    Compliance under the existing Compliance Measures, the parties agreed that the County
    will only be required to maintain Substantial Compliance under the revised Compliance
    Measures for two additional quarters.

           The County's Seventh Self-Assessment reports Substantial Compliance in the
    Second and Third Quarters of 2018. This is based upon posted results showing that,
    during two random weeks in the Second Quarter, none of the 18 inmates who requested,
    and were denied, programing were denied programing solely due to their prescriptions
    for psychotropic medication or mental health status. In the two random weeks in the
    Third Quarter of 2018, none of the five inmates who requested and were denied
    programing (e.g., work or education) were denied programing for these reasons.

             In response to the Monitor's concerns that the County's results do not address
    whether inmates on psychotropic medications or mental health status were denied
    "privileges," the County's provided visitation records showing that none of the 36 inmates
    on psychotropic medication who received visits during these random weeks were denied
    visits for these reasons. The visitation records reflect inmates who received visits, rather
    than inmates who were denied visits, which is insufficient to determine if any inmates
    were denied this privilege because of their medications or mental health status. Further,
    the visitation records do not address whether these inmates were denied other privileges
    such as access to the dayroom and recreation. The County must either show that no
    inmates on psychotropic medications or mental health status (1) were denied privileges
    during the random weeks for any reasons or (2) were denied privileges during those
    weeks because of their medications or mental health status.




                                                60
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 63 of 124 Page ID
                                  #:3231


            55.    Relevant custody, medical, and mental health staff in all High Observation
    Housing units will meet on Normal business work days and such staff in all Moderate
    Observation Housing units will meet at least weekly to ensure coordination and
    communication regarding the needs of prisoners in mental health housing units as
    outlined in Custody Services Division Directive(s) regarding coordination of mental
    health treatment and housing. When a custody staff member is serving as a member of a
    treatment team, he or she is subject to the same confidentiality rules and regulations as
    any other member of the treatment team, and will be trained in those rules and
    regulations.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2016,
                          through September 30, 2017 (verified) at CRDF)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2017
                          through March 31, 2018 (verified) at PDC North)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2018, through
                          June 30, 2018 (verified) and September 30, 2018 (unverified) at
                          MCJ)

                          PARTIAL COMPLIANCE (at TTCF)

            The County's Sixth Self-Assessment reported that the Department had maintained
    Substantial Compliance for twelve consecutive months through the Third Quarter of 2017
    at CRDF and through the First Quarter of 2018 at PDC North. These results were
    verified by the Monitor's auditors and CRDF and PDC North were not subject to
    monitoring for compliance with Paragraph 55 in the Seventh Reporting Period.

             The County's Seventh Self-Assessment reports Substantial Compliance for the
    Second and Third Quarters of 2018 at MCJ and for the Third Quarter of 2018 at TTCF
    for Compliance Measure 55-2. The Augmented Self-Assessment reports, however, that
    the Department only achieved Partial Compliance at TTCF; while the required TTCF
    staff attended all of the HOH meetings, they attended only 75% of the MOH meetings
    pursuant to Compliance Measures 55-6(a) and (b). The results at MJC for the Second
    Quarter of 2018 have been verified by the Monitor’s auditors. The results at MCJ for the
    Third Quarter of 2018 are subject to verification by the Monitor's auditors.

            On January 8, 2019, the Department provided a semi-annual report "verifying the
    coordination and communication at the staff meetings" in HOH and/or MOH units at
    TTCF and MCJ during the first six months of 2018 as required by Compliance Measures
    55.2, 55.4 and 55.6(c). DOJ is concerned "about the level of detail" in some huddle
    meeting minutes, and the Mental Health Subject Matter Expert notes that "it is very
    difficult to know [from the minutes] whether problem cases are being detected and
    discussed." The Monitor and Mental Health Subject Matter Expert will continue to
    attend huddle meetings during site visits to assess the efficacy of the meetings.




                                               61
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 64 of 124 Page ID
                                  #:3232


            56.     Consistent with existing DMH and Sheriff’s Department policies, the
    County and the Sheriff will ensure that custody, medical, and mental health staff
    communicate regarding any change in a prisoner’s housing assignment following a
    suicide threat, gesture, or attempt, or other indication of an obvious and serious change in
    mental health condition.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016 (verified))

            Substantial Compliance requires the Department to review in randomly selected
    periods the electronic medical records of (1) prisoners admitted to HOH following a
    suicide threat, gesture, or attempt, or other indication of an obvious and serious change in
    mental health condition to determine if the medical and/or mental health staff approved
    the placement of the prisoner in HOH; and (2) prisoners who were the subject of a suicide
    attempt notification to determine if the prisoners were clinically assessed and that clinical
    staff approved the post-incident housing.

           The County’s Substantial Compliance results for the twelve months from January
    1, 2016, through December 31, 2016, were verified by the Monitor's auditors, and the
    County was not subject to monitoring for compliance with Paragraph 56 during the
    Seventh Reporting Period.




                                                 62
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 65 of 124 Page ID
                                  #:3233


            57.    Within three months of the Effective Date, the County and the Sheriff will
    revise and implement their policies on safety checks to ensure a range of supervision for
    prisoners housed in Mental Health Housing. The County and the Sheriff will ensure that
    safety checks in Mental Health Housing are completed and documented in accordance
    with policy and regulatory requirements as set forth below:

           (a)    Custody staff will conduct safety checks in a manner that allows staff to
                  view the prisoner to assure his or her well-being and security. Safety
                  checks involve visual observation and, if necessary to determine the
                  prisoner’s well-being, verbal interaction with the prisoner;

           (b)    Custody staff will document their checks in a format that does not have
                  pre-printed times;

           (c)    Custody staff will stagger checks to minimize prisoners’ ability to plan
                  around anticipated checks;

           (d)    Video surveillance may not be used to replace rounds and supervision by
                  custodial staff unless new construction is built specifically with constant
                  video surveillance enhancements and could only be used to replace 15
                  minute checks in non-FIP housing, subject to approval by the Monitor;

           (e)    A QMHP, in coordination with custody (and medical staff if necessary),
                  will determine mental health housing assignments; and

           (f)    Supervision of prisoners in mental health housing will be conducted at the
                  following intervals:

                  (i)     FIP: Custody staff will perform safety checks every 15 minutes.
                          DMH staff will perform direct constant observation or one-to-one
                          observation when determined to be clinically appropriate;

                  (ii)    High Observation Housing: Every 15 minutes;

                  (iii)   Moderate Observation Housing: Every 30 minutes.




                                               63
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 66 of 124 Page ID
                                  #:3234


           STATUS (57):           SUBSTANTIAL COMPLIANCE (as of April 1, 2017,
                                  through March 31, 2018 (verified) at MCJ)

                                  PARTIAL COMPLIANCE (at PDC North, TTCF, and
                                  CRDF)

             Substantial Compliance requires the Department to audit the Title 15 Dashboard
    records (or UDAL records if the Title 15 scanner was not working) for all shifts for each
    module in each mental health housing unit in two randomly selected weeks to determine
    if the safety checks were staggered and conducted as required by Paragraph 57 of the
    Agreement, and to audit the housing records for each mental health housing unit for one
    randomly selected week to determine if a QMHP approved the new mental health
    housing assignments as required by Paragraph 57(e). The thresholds for achieving
    Substantial Compliance with these two Compliance Measures is 95%.

             The County’s Sixth Self-Assessment reported that it maintained Substantial
    Compliance with Compliance Measure 57.5(b) in the Fourth Quarter of 2017 and the
    First Quarter of 2018 in the MOH unit at MCJ (the "Hope Dorm"). It also reported that
    all of the inmates at MCJ "analyzed pursuant to Compliance Measure 57-5(c) had
    received QMHP approval for their housing assignments" in both quarters. The results
    were verified by the Monitor's auditors and MCJ was not subject to monitoring for
    compliance with Paragraph 57 in the Seventh Reporting Period.

            The County's Seventh Self-Assessment reports that the County achieved Partial
    Compliance in the HOH and MOH units at TTCF (88% and 83%) and CRDF (89% and
    80%) in the Second and Third Quarters of 2018. It also reports that the County achieved
    Partial Compliance in the MOH units at PDC North in the Second Quarter of 2018 (93%)
    and Substantial Compliance in the Third Quarter of 2018 (99%). As noted by DOJ, and
    confirmed by the auditors, however, the safety checks at PDC North were not staggered
    as "custody staff [took] the same route through Module 2's four doors (A,B,C and D) in
    the same order every time they conduct[ed] the checks at almost identically spaced
    intervals." The County reports that the "Department expects the facility to show
    improved staggering by module in forthcoming audits."

           The Self-Assessment also reports that 100% of the new mental health housing
    assignments in CRDF and in TTCF were approved by a QMHP in the Second and Third
    Quarters of 2018. This is consistent with the observations of the Mental Health Subject
    Matter Expert who notes that "a QMHP is almost always involved in MOH/HOH
    placement or release."




                                               64
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 67 of 124 Page ID
                                  #:3235


            58.     Within three months of the Effective Date, the County and the Sheriff will
    revise and implement their policies on safety checks. The County and the Sheriff will
    ensure that safety checks in non-mental health housing units are completed and
    documented in accordance with policy and regulatory requirements as set forth below:

           (a)     At least every 30 minutes in housing areas with cells;

           (b)     At least every 30 minutes in dormitory-style housing units where the unit
                   does not provide for unobstructed direct supervision of prisoners from a
                   security control room;

           (c)     Where a dormitory-style housing unit does provide for unobstructed direct
                   supervision of prisoners, safety checks must be completed inside the unit
                   at least every 60 minutes;

           (d)     At least every 60 minutes in designated minimum security dormitory
                   housing at PDC South, or other similar campus-style unlocked dormitory
                   housing;

           (e)     Custody staff will conduct safety checks in a manner that allows staff to
                   view the prisoner to assure his or her well-being and security. Safety
                   checks involve visual observation and, if necessary to determine the
                   prisoner’s well-being, verbal interaction with the prisoner;

           (f)     Custody staff will document their checks in a format that does not have
                   pre-printed times;

           (g)     Custody staff will stagger checks to minimize prisoners’ ability to plan
                   around anticipated checks; and

           (h)     Video surveillance may not be used to replace rounds and supervision by
                   custodial staff.




                                                65
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 68 of 124 Page ID
                                  #:3236


            STATUS (58):              SUBSTANTIAL COMPLIANCE (as of January 1, 2016
                                      through December 31, 2016 (verified) at PDC South,
                                      PDC North, and PDC East)

                                      SUBSTANTIAL COMPLIANCE ( as of July 1, 2017,
                                      through March 31, 2018 (verified) and through June 30,
                                      2018 (unverified) at CRDF)

                                      SUBSTANTIAL COMPLIANCE (as of October 1,
                                      2017, through March 31, 2018 (verified) and through
                                      September 30, 2018 (unverified) at IRC)

                                      PARTIAL COMPLIANCE (at TTCF, NCCF, and
                                      MCJ)

           Substantial Compliance requires the Department to audit the Title 15 Dashboard
    records (or UDAL records) for all shifts for each module in each housing unit to
    determine if the safety checks were staggered and conducted as required by Paragraph 58.
    The thresholds for achieving Substantial Compliance is 90%.

           The County maintained Substantial Compliance with Paragraph 58 for twelve
    consecutive months at PDC South, PDC North, and PDC East as of December 31, 2016.
    Pursuant to Paragraph 111, those facilities were not subject to monitoring in the Seventh
    Reporting Period.

           The County's Sixth Self-Assessment reported that for the Fourth Quarter of 2017
    and the First Quarter of 2018, the following percentages of safety checks were in
    compliance with Paragraph 58: CRDF (93% and 90%);24 TTCF (95% and 97%); MCJ
    (94% and 92%); NCCF (82% and 58.5%); and IRC (95% and 92%). Based upon the
    audit by the Monitor's auditors, however, it did not appear that the cell checks at MCJ
    and TTCF were staggered as required by Paragraph 58.

            The County's Seventh Self-Assessment reports that 88% of the safety checks at
    CRDF and 89% of the checks at IRC in the Second Quarter of 2018 were in compliance
    with Paragraph 58, which is slightly below the 90% threshold for Substantial
    Compliance. It nevertheless requests a Substantial Compliance finding because "the
    safety checks on the relevant dates were timely conducted under Compliance Measure
    58-2, however, there were technical difficulties uploading the scans from iPods" during
    the random weeks at both facilities. Excluding the one day (June 19, 2018) that the
    UDAL Main Report shows a problem with uploading iPod scans at CRDF, which
    accounted for 40 of the 42 missed rounds during the two random weeks, the percentage
    of compliant rounds at CRDF goes from 88.5% to 94.7%.

            There was no single day with as significant a spike in missed (or non-compliant)

    24
      Substantial Compliance requires achieving the 90% threshold based upon the aggregate data for the two
    randomly selected weeks.


                                                      66
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 69 of 124 Page ID
                                  #:3237


    rounds at IRC, but excluding the one day (May 12, 2018) on which it appears from the
    UDAL Main Report that the Title 15 scanner was not working, the percentage of
    compliance in the Second Quarter of 2018 goes from 89.4% to 91%. The Seventh Self-
    Assessment reports that 92% of the safety checks in the Third Quarter of 2018 at IRC
    were in compliance with Paragraph 58.

           The County's Seventh Self-Assessment also reports that for the Second and Third
    Quarters of 2018, the following percentages of safety checks were in compliance with
    Paragraph 58 at the remaining facilities: MCJ (90% and 88%); TTCF (96% and 95%);
    and NCCF (60% and 54%). Based upon the audit by the Monitor’s auditors, however, it
    does not appear that the cell checks at TTCF are staggered in the Second and Third
    Quarters of 2018 as required by Paragraph 58.

             The Substantial Compliance results at CRDF and IRC are subject to verification
    by the Monitor's auditors. If the results at CRDF and IRC (excluding the results for the
    days when the scanners were not working properly) are verified by the auditors,25 these
    facilities will no longer be subject to monitoring for compliance with Paragraph 58.




    25
     The Monitor’s auditors will review a few randomly selected videos for those days when the scanners
    were not working properly to verify that the safety checks occurred.


                                                      67
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 70 of 124 Page ID
                                  #:3238


            59.     Consistent with existing Sheriff’s Department policies regarding uniform
    daily activity logs, the County and the Sheriff will ensure that a custodial supervisor
    conducts unannounced daily rounds on each shift in the prisoner housing units to ensure
    custodial staff conduct necessary safety checks and document their rounds.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2017,
                          through December 31, 2017 (verified) at PDC East and MCJ)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                          March 31, 2018 (verified) at NCCF)

                          SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through September 30, 2018 (verified) at CRDF)

                          SUBSTANTIAL COMPLIANCE (as of January 1, 2018,
                          through September 30, 2018 (verified) at PDC North and PDC
                          South)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2018, through
                          September 30, 2018 (verified) at TTCF)

            Substantial Compliance requires the Department to audit e-UDAL records for
    housing units in each facility to determine if supervisors are conducting unannounced
    daily rounds in accordance with Paragraph 59. In response to the Monitor's comments,
    the Department's e-UDAL forms were modified to include a specific notation that the
    Supervisor verified that the safety checks were conducted. The threshold for achieving
    and maintaining Substantial Compliance is that 90% of the supervisor daily rounds were
    in compliance with the requirements of Paragraph 59.

            The County's Sixth Self-Assessment reported that the Department had maintained
    Substantial Compliance at PDC East and MCJ for twelve consecutive months from
    January 1, 2017 through December 31, 2017 (and continuing to March 31, 2018). It also
    reported that the Department had maintained Substantial Compliance at NCCF for twelve
    consecutive months from April 1, 2017 through March 31, 2018. The results were
    verified by the Monitor's auditors and these facilities were not subject to monitoring for
    compliance with Paragraph 59 during the Seventh Reporting Period.

           The County's Seventh Self-Assessment reports that the following percentage of
    rounds were in compliance with the provision in the Second and Third Quarters of 2018:
    CRDF (98% and 91%), PDC North (97% and 97%), PDC South (93% and 99%), and
    TTCF (98% and 91%). These results have been verified by the Monitor's auditors.
    CRDF has maintained Substantial Compliance for twelve consecutive months and is no
    longer subject to monitoring for compliance with Paragraph 59.




                                               68
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 71 of 124 Page ID
                                  #:3239


            60.      Within six months of the Effective Date, the Department of Mental
    Health, in cooperation with the Sheriff’s Unit described in Paragraph 77 of this
    Agreement, will implement a quality improvement program to identify and address
    clinical issues that place prisoners at significant risk of suicide or self-injurious behavior.

             STATUS:           PARTIAL COMPLIANCE

            Compliance Measures 60.2 and 60.3(b) require the County to prepare semi-annual
    reports setting forth (a) any identified clinical issues in the areas identified in Paragraph
    61 that place prisoners at significant risk of suicide or self-injurious behavior; (b)
    corrective actions and systemic improvements taken by DMH and the Department to
    address any such issues during the reporting period; and (c) an assessment of the
    effectiveness of steps taken to address issues identified during earlier reporting periods.

            The Mental Health Subject Matter Expert has stated that "CHS is clearly
    developing a sound QM system. It is based on well-established principles and methods
    of QM. They are taking appropriate and measured steps to implement their plan." The
    Monitor and Subject Matter Expert note the Department has continued to enhance its
    participation in the quality management process as required by Paragraphs 60 and 77.

           On January 14, 2019, the County submitted CHS's Semi-Annual Report on
    Quality Improvement/Assurance, which covers the Second and Third Quarters of 2018.
    The Report discusses a number of items that will be implemented in the future. For
    example,

             "[Custody Health Services] Compliance Team is currently developing a
             Mental Health Compliance Dashboard, which it expects to be in place by
             the first quarter of 2019. The new dashboard will track summary reports
             by facility, and nursing and mental health service, and outline trends,
             thresholds, and barriers to compliance and plans to resolve such barriers,
             as well as current and past compliance rates. The Mental Health
             Compliance Dashboard is expected to significantly improve CHS’s
             analysis of systemic data, ability to evaluate and compare current
             performance, identify key priorities, and focus on areas with the greatest
             need. Additionally, the dashboard will serve as a vehicle to improve
             communication with all levels of staff concerning our progress toward
             achieving compliance expectations."26

                                                  ****




    26
      As the Mental Health Subject Matter Expert previously observed, "[i]t is especially important for the
    county to develop and maintain on-going tracking (typically using a dashboard format) of aggregate data
    measuring critical aspects of these measures. . . .In each area, there needs to be an on-going analysis of key
    measures[.]" See Monitor's Sixth Report, p. 67.



                                                         69
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 72 of 124 Page ID
                                  #:3240


           "CHS is in the process of revamping its Quarterly QI committee[;],
           beginning in 2019, the Committee will meet monthly with the purpose of
           promoting collaboration among facilities and service lines and improving
           quality of care and patient safety. The main focus will be to align the
           organizational quality and safety priorities, identify opportunities for
           improvement, and share best practices."

           "Representatives from CHS Mental Health services will participate in
           these committee meetings on a quarterly basis beginning in January 2019.
           Mental Health services' participation is expected to focus on reports
           relating to quality and safety issues, as well as pertinent findings from the
           Critical Incident Review Committee ('CIRC') and Joint Quality
           Improvement Committee ('JQIC')."

                                          ****

           "Going forward CCSB and CHS Compliance Team will work
           collaboratively to prepare reports and improve data analysis, including in
           monthly meetings expected to begin in 2019 to ensure that data used and
           parameters are identical."

                                          ****

           "[I]n January 2019, the County plans to start collecting additional
           readmission data, including discharge location, medication, compliance,
           use of long acting injectable (LAI), and whether appropriate dosages of
           psychotropic medications were given prior to discharge. The County's
           goal in collecting the data is to develop methods to evaluate whether or
           not patients were on the inpatient unit long enough to receive appropriate
           treatment, whether or not the percentage of medication compliance was
           adequate for discharge, and whether the patient was stable upon
           discharge[.]"

    The County reports that the "shift" in the CIRC and JQIC meetings in the last reporting
    period to "discussion of system root causes" has "helped identify systemic concerns
    related to CIRC events.. . .rather than simply cataloging issues for future workgroups."
    The Mental Health Subject Matter Expert notes that:

           The Department and CHS are collaborating in conducting sound
           investigations of episodes of serious self-harm. CHS is collecting
           aggregate data, though the scope needs to be expanded to cover essential
           aspects of the elements laid out in Provision 61. The Department is
           beginning to collect and analyze aggregate data but the integration of (or
           collaboration in developing) aggregate analytics jointly between CHS and
           LASD is just beginning.




                                                70
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 73 of 124 Page ID
                                  #:3241


            The County also reports that 12 staff members, including two from mental health
    have graduated from a Quality Academy at LAC+USC; "significant progress has been
    made in updating, customizing, and training staff in Safety Intelligence, CHS's patient
    safety incident reporting system;" "nearly all" CHS managers and supervisors and 78% of
    the "front-line staff" have been trained in Just Culture, which the County has adopted to
    replace "the historical custodial-style approach to medical and mental health care;" and it
    has established "a steering committee" and trained thirteen staff member as peer
    supporters in "the Helping Healers Heal (H3) program."

            CHS's Semi-Annual Report summarizes the issues presented at the November 7,
    2018 Bi-Annual Suicide Prevention meeting, including the access that mental health and
    medical staff now have to the County's "integrated behavior health information system,"
    which "allows mental and medical health staff to more quickly and accurately care for
    inmates when they arrive at County jail facilities;" the access they are in the process of
    obtaining to the County's electronic medical records, which "is critical to the continuity
    of care" for inmates who go back and forth between County hospitals and jails; and the
    efforts of the Office of Diversion and Reentry (ODR) to divert inmates from jail. While
    reflecting the efforts that the County is making to improve the care of mentally ill
    inmates, it is not clear that these improvements are part of an integrated "quality
    improvement program to identify and address clinical issues that place prisoners at
    significant risk of suicide and self-injurious behavior."

            The report discusses the efforts to "improve the use" of CIRC meetings "to
    identify and address systemic issues;" the changes in JQIC meetings introduced in
    November 2018 to "serve as a venue to present data on trends and/or themes in SDVs
    [Self-Directed Violence] and CIRCs that may inform system-wide improvements related
    to suicide prevention;" the efforts of CCSB and CHS to use the same data on SDV
    events; and the use of a new SDV review template by QMHP's "that streamlined the
    process and allowed raters to focus on the most salient information needed to determine
    the severity [of the SDV event] and the need for any immediate corrective action."

            The County's report includes aggregate data on Suicides going back to 2014, and
    SDV incidents and CIRC incidents broken down on a monthly basis by age,
    race/ethnicity, gender, facility, proximity to court date method of attempt, prior SDV
    incidents, and risk rating. It also includes aggregate data on CIRC meetings and
    describes the efforts to "focus" the meetings "on improving overall identification of
    systemic issues, the process of tracking those issues, and analyzing trends and patterns,"
    including the "categorization of issues" in CIRC summary tables to move "the County's
    analysis of issues toward detecting patterns and/or themes in [the] case reviews."

           The Semi-Annual Report includes the following new sections:

          the Correctional Treatment Center – Mental Health Unit (CTC-MHU), including
           the significant decrease in use of clinical restraints in the unit, and its impact on




                                                 71
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 74 of 124 Page ID
                                  #:3242


             staffing;27 admission and limited re-admission data; and the development of "a
             new Step-Down Assessment form that more clearly identifies the step-down
             process and helps inform patient care through improved documentation of patient
             status through treatment on the unit."

            Psychotropic Medication, including the STEP FORWARD program at CRDF "to
             provide early psychiatric intervention beginning at intake for those patients with
             severe mental illness (SMI)" and "Initial Psychiatric Evaluation and Medication
             Management for New Arrestees in MOH;" the tracking of patients refusing
             psychotropic mediations in MOH at TTCF; and the work of the Pill Call Working
             Group to revise and improve pill call procedures in all facilities.

            Other QI projects and health care services, including a summary of timelines of
             assessments and housing as a result of the new medical and mental health
             screening process at IRC; a summary of substance use services, including
             withdrawal management pods at TTCF and CRDF and group treatment sessions
             led by substance use disorder providers; mandatory training for suicide risk
             assessment, which commenced on August 23, 2018; and the work of an expanded
             Risk Precautions working group to address concerns about "the need for more
             individualized decisions regarding step down[.]"
            The Monitor and Subject Matter Expert appreciate the many efforts that the
    Department and CHS have made to improve the quality of care afforded to address the
    needs of mentally ill inmates and prevent suicides and acts of self-directed violence in the
    jails. They believe that the County has made significant progress in the areas discussed
    in CHS's Semi-Annual Report, and is beginning to use aggregate data to recommend
    corrective action or systemic improvements. The quality management program is more
    organized with less fragmentation of processes, working groups, and projects, and CHS
    staff has benefitted from being trained in quality management.

            Many of the elements of the quality improvement program were recently
    implemented or are scheduled to begin in the next reporting period. The County
    recognizes that much of the program is in the early stages, noting that "[i]n future
    reporting periods the County expects to demonstrate a more organized and structured
    approach to these types of work groups. The plan is to follow quality improvement
    principles that require a more formal approach and accountability." As stated by one of
    the clinicians, however, "developing the system is not the same as implementing and
    effectively using a QI program."

            The Monitor and Mental Health Subject Matter Expert believe that the County
    will be able to achieve Substantial Compliance with a more formal approach and the
    implementation of the elements of the program set to begin in this next reporting period.

    27
      The County attributes this, in part, to changes in Custody's use of force policies and "an increase in using
    discussion and negotiation techniques to gain compliance from inmates/patients" and, in part, to the early
    use of "long-acting injectable (LAI) psychotropic mediations in CTC-MHU."


                                                         72
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 75 of 124 Page ID
                                  #:3243


    It "will require the continued buildout of data collection and aggregation, analysis of
    aggregate data, general outcome measures (e.g., the dashboard), and coordination and
    engagement in these processes by the Department."




                                                73
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 76 of 124 Page ID
                                  #:3244


            61.    The quality improvement program will review, collect, and aggregate data
    in the following areas and recommend corrective actions and systemic improvements:

           (a)     Suicides and serious suicide attempts:

                   (i)     Prior suicide attempts or other serious self-injurious behavior
                   (ii)    Locations
                   (iii)   Method
                   (iv)    Lethality
                   (v)     Demographic information
                   (vi)    Proximity to court date;

           (b)     Use of clinical restraints;

           (c)     Psychotropic medications;

           (d)     Access to care, timeliness of service, and utilization of the Forensic In-
                   patient Unit; and

           (e)     Elements of documentation and use of medical records.

           STATUS:         PARTIAL COMPLIANCE

            Substantial Compliance requires the County’s semi-annual reports to (a) review,
    collect, and aggregate data in the areas set forth in Paragraph 61; (b) recommend
    corrective actions and systemic improvements in those areas; and (c) assess the
    effectiveness of actions and improvements in prior reporting periods.

            The CHS Semi-Annual Report sets forth aggregate data for suicides for the period
    2014 through the Third Quarter of 2018, broken down by prior attempts or other serious
    self-injurious behavior, facility, method, demographics (age, ethnicity, and gender), and
    proximity to court date, which are the areas identified in Paragraph 61(a)(i) through (vi).
    Other than some very general conclusions, this section of the report does not analyze the
    data, recommend actions and improvements, or assess the effectiveness of prior actions
    and improvements.

            The CHS Report also summarizes the process for QMHP reviews of SDV and the
    CIRC reviews of "moderate and high risk" cases at its monthly meetings. It reports that
    "[i]n August 2018, CHS officially began using the new template which streamlined the
    process and allowed raters to focus on the most salient information needed to determine
    severity and the need for any immediate corrective action." It then sets forth aggregate
    data for:

           (1)     SDV incidents for the second and third quarters of 2018 broken
           down by prior suicide attempts or other serious self-injurious behavior,
           ethnicity, gender, proximity to court date, and, on a monthly basis, by



                                                 74
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 77 of 124 Page ID
                                  #:3245


             facility, method, CDC Risk Rating Score, and age; and

             (2)     serious self-injurious incidents that were reviewed at CIRC
             meetings broken down by systemic issues identified in each quarter, and
             by prior suicide attempts, facility, method, lethality (risk rating scores),
             age, ethnicity, gender, and proximity to court date.

    As with the suicide data, with the exception of general conclusions regarding some of the
    aggregate data, the CHS Report does not set forth any analysis of the data, recommended
    "corrective actions and systemic improvements" in the areas in Paragraph 61, or "assess
    the effectiveness of actions and improvements in prior reporting periods."28 The report
    indicates that CHS intends to improve its analysis of the data in the future.29

           Attached to the CHS Report is a summary for each of the 18 cases that breaks
    down each incident by the categories in Paragraph 61(a)(i) through (vi) of the Settlement
    Agreement, and then sets forth "issues" assigned by the categories in Paragraph 61(b)
    through (e), and the "response/status" of the issues.

           The Semi-Annual Report also includes sections that "review, collect, and
    aggregate data" and in the areas required by Paragraph 61(b) through (e):

            aggregate data on the decrease in the use of clinical restraints in the Mental Health
             Unit of the CTC and analysis of the cause and effect of the decrease;

            aggregate comparative data on the admission, discharge, and readmission of
             patients in the CTC-MHU for the Second and Third Quarters of 2018 and
             historical data for admissions from 2014 through the Third Quarter of 2018.

            the development of a new Step-Down Assessment that more clearly identifies the
             step-down process and helps to inform patient care through improved
             documentation of patient status as they progress through treatment on the [CTC-
             MHU].

            a summary of the quality improvement projects relating to the use of psychotropic
             medication, including the STEP FORWARD program at CRDF that addresses
             system shortcomings;



    28
       There is a cross-reference to the report of CCSB's activities, which provides a fairly detailed analysis of
    SDV incidents by age. See CHS Report, p. 25.
    29
       For example, based upon SDV incidents in the Second and Third Quarters of 2018, the CHS Report
    concludes that "a history of prior suicide attempts does not appear to be a significant factor as to whether or
    not inmates will engage in self-directed violence." It notes, however, that "this result may change when
    analyzing this category over a longer period of time and/or in conjunction with other categories[.]"
    Elsewhere, it notes that "[a]lthough the QI Category data [for CIRC incidents] provides only a very broad
    description it is a starting point for further analysis."


                                                          75
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 78 of 124 Page ID
                                  #:3246


          the implementation of a MOH intake team approach that has significantly reduced
           the wait time for patients/inmates with a P2 level of care housed in MOH to be
           see a psychiatrist;

          the development of a medication refuser list to track patients refusing
           psychotropic medications at MOH in TTCF;

          a pill call pilot program "to align pill call procedures with best practices" and
           address concerns expressed by the Monitor regarding these procedures;

          summaries of other quality improvement projects, including tracking the
           timeliness of suicidal patients being seen by mental health clinicians in IRC, and
           data showing a significant improvement in the flow of suicidal patients through
           IRC;

          comparative "admission," "discharge," and "re-admission" data for the Mental
           Health Unit of the Correctional Treatment Center for the Second and Third
           Quarters of 2017 and 2018.
    Some of these targeted QI projects, such as the STEP FORWARD program and the pill
    call pilot program, may "be considered a CAP for an identified problem," but the Mental
    Health Subject Matter Expert notes that they do not reflect a "sufficient breadth of
    analysis of aggregate data to develop CAPs, which would set benchmarks and look at
    trends and patterns of usage." For example, there is no "analysis of general prescribing
    patterns or medication monitoring, both critical aspects of quality management of
    psychotropic prescribing." The Mental Health Subject Matter Expert notes:

           The initiatives involving MOH psychiatric encounters, IRC QMHP
           assessments by QMHPs, and CTC utilization are good beginnings to
           assessing access to care. It will be important for the County to assess
           more general access to care such as individual contacts by patients with
           QMHPs and psychiatrists and group dosage according to established
           benchmarks. As access to care is determined by both CHS and the
           Department, collaboration on the analysis and correction of problems
           related to access to care are essential.

    The most recent CHS semi-annual report is "a significant step forward."




                                                 76
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 79 of 124 Page ID
                                  #:3247


          62.    The County and the Sheriff’s Unit described in Paragraph 77 of this
    Agreement will develop, implement, and track corrective action plans addressing
    recommendations of the quality improvement program.

            STATUS:           PARTIAL COMPLIANCE

            Substantial Compliance requires the County's semi-annual Self-Assessments to
    set forth (a) the "development of corrective action plans to address the most recent
    recommendations of the quality improvement program;" and (b) the "implementation and
    tracking of corrective action plans to address recommendations of the program in prior
    quarters."

            The reviews of the incidents discussed at CIRC meetings that are attached to
    CHS's Semi-Annual Report provide data responsive to the requirements of Paragraph
    61(a)(i) through (vi), which is the basis of the aggregate data reported elsewhere, and set
    forth "issues" identified and assigned in the meetings about SDV incidents broken down
    by the categories set forth in Paragraph 61(b) through (e) and the "response/status" of
    those issues.

           CCSB's Semi-Annual Report describes all of the corrective action plans identified
    during the Executive Inmate Death Reviews of suicides that occurred in the first six
    months of 2018 and the status of those CAPs as of December 2019.30

           The Mental Health Subject Matter Expert reviewed these reports and has the
    following observations:

            There is no central tracking of CAPs and progress towards their
            completion. The CIRC reviews track case-specific CAPs, although some
            CAPs address repeated problems having broader impact (such as closing
            gaps between furniture and walls and repairing speaker grates). The CHS
            Semi-Annual Report does not track CAPs in a well-organized manner and
            it generally limited to tracking "project" outcomes that may considered to
            be CAPs that address repeated defects.31 The CCSB semi-annual report
            does not separately track system-wide CAPs that are generated from
            aggregate data or on-going, system-wide problems (such as contraband
            being used for self-harm).



    30
       The CCSB Report also summarizes generally the CAP/Issues related to the serious suicide attempts
    reviewed during the CIRC meetings, broken down by CAP items issued to the Sheriff's Department and
    those issued to Correction Health Services. While the description of the CAPs at the suicide review
    meetings satisfies the requirements of Paragraph 77 for suicides, the general summary of the CAPs does not
    provide any specific information about the CAPs for the serious suicide attempts. The specific information
    is provided in the CIRC reviews attached to CHS's report.
    31
       Examples of this include the work on the intake process and the timeliness of MOH (P2) psychiatric
    encounters, which are also "important examples in that they reflect the use of aggregate data to identify
    systematic problems."


                                                       77
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 80 of 124 Page ID
                                  #:3248


    Further, the County's reports do not discuss whether these CAPS/Issues raise systemic
    issues, recommend systemic improvements, or assess the effectiveness of such
    improvements from prior reporting periods. The County is clearly doing a good job in
    addressing specific CAPS/Issues; what appears to be missing is a programmatic analysis
    of these CAPS/Issues and the systemic impact on the quality of care provided to inmates.
    The Mental Health Subject Matter Expert states that "the steps the County is taking to
    improve the organization of the quality management program, the collaboration between
    CHS and the Department, and the development and use of more global aggregate data
    and its posting on a dashboard are appropriate next steps to achieve substantial
    compliance."




                                               78
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 81 of 124 Page ID
                                  #:3249


            63.      The County and the Sheriff will maintain adequate High Observation
    Housing and Moderate Observation Housing sufficient to meet the needs of the jail
    population with mental illness, as assessed by the County and the Sheriff on an ongoing
    basis. The County will continue its practice of placing prisoners with mental illness in
    the least restrictive setting consistent with their clinical needs.

           STATUS:         NON-COMPLIANCE

            The Compliance Measures require that the County's Self-Assessment set forth (a)
    the average daily populations in HOH and MOH units in TTCF and CRDF during the
    reporting period; (b) the average number of beds in those units during the reporting
    period; (c) the number of days in which there was a waiting list for HOH or MOH
    housing; and (d) the average number of step-downs per week (i) from HOH to MOH and
    (ii) from MOH to the least restrictive setting consistent with the prisoners’ clinical needs.
    In addition, for two random weeks, the Department is required to review the count sheets
    documenting the number of occupied and available beds in the MOH and HOH units at
    TTCF and CRDF. Substantial Compliance requires "the immediate availability of HOH
    and MOH beds at TTCF and CRDF 95% of the time."

            The County reports the number of days in which the total number of HOH and
    MOH available beds was equal to or more than the number of HOH and MOH inmates
    for the two randomly selected weeks in the Second Quarter of 2018 are as follows:

                                               MOH                             HOH
                TTCF                           100%                             0%
                CRDF                            0%                             100%

           The County also reports the number of days in which the total number of HOH
    and MOH available beds was equal to or more than the number of HOH and MOH
    inmates for the two randomly selected weeks in the Third Quarter of 2018 are as follows:

                                               MOH                             HOH
                TTCF                           100%                             0%
                CRDF                            0%                             50%

            The average Daily Population in HOH at TTCF increased from 918 in the two
    randomly selected weeks in the Second Quarter of 2018 to 968 in the two randomly
    selected weeks in the Third Quarter of 2018, while the average number of HOH Beds was
    relatively constant (763.5 in the Second Quarter of 2018 to 759.7 in the Third Quarter).

            The County's Augmented Seventh Self-Assessment reports that the Department
    "is not able to accurately assess bed availability electronically without reflecting
    erroneous results, and as such, the Department is not able to provide an accurate semi-
    annual report at this time." The Mental Health Subject Matter Expert suggests a simple
    methodology using P levels as a proxy (P4 means FIP, P3 means HOH, P2 means MOH).




                                                 79
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 82 of 124 Page ID
                                  #:3250


            64.     Within six months of the Effective Date, the County and the Sheriff will
    develop a short-term plan addressing the following 12-month period, and within 12
    months of the Effective Date, the County and the Sheriff will develop a long-term plan
    addressing the following five-year period, to reasonably ensure the availability of
    licensed inpatient mental health care for prisoners in the Jails. The County and the
    Sheriff will begin implementation of each plan within 90 days of plan completion. These
    plans will describe the projected capacity required, strategies that will be used to obtain
    additional capacity if it is needed, and identify the resources necessary for
    implementation. Thereafter, the County and the Sheriff will review, and if necessary
    revise, these plans every 12 months.

           STATUS:         PARTIAL COMPLIANCE

            Substantial Compliance requires the Department to (1) develop a short-term plan
    that will address the availability of licensed inpatient mental health care for prisoners in
    an initial 12-month period; (2) commence to implement the plan within 90 days after it is
    developed; (3) develop a long-term plan within 12 months after the short term plan that
    will address the availability of licensed inpatient mental health care for prisoners in the
    following five-year period; and (4) commence to implement the long-term plan within 90
    days after it is developed.

            On July 14, 2017, the County submitted to the Monitor a Plan Regarding
    Availability of Licensed Inpatient Mental Health Care (Long Term and Short Term
    Plans) to provide "an update regarding the County's current efforts to meet the needs of
    the acutely mentally ill." The County reiterates in its Seventh Self-Assessment that "the
    County continues to pursue a dual strategy to increase inpatient beds and the resources
    necessary to obviate the need for these beds. With increased services to address the
    underlying mental health needs (both through appropriate medication and clinical
    treatment), and the County's strong effort to divert people from the jails, the need for
    inpatient services should decline."

            The County's Seventh Self-Assessment reports that "the County also operates 18
    inpatient beds at Olive View-UCLA Medical Center. These beds house individuals who
    are diverted from the County Jail, either pre-trial or once they have been brought into the
    jail and are awaiting trial. The County's Office of Diversion [began] managing these
    beds in early July 2018, and is responsible for identifying appropriate individuals for
    them." In addition, the Seventh Self-Assessment reports that the "County also continues
    to operate its Mental Health Unit-Correctional Treatment Center Inpatient Step-Down
    Unit, which increased the capacity of FIP-related housing to 64 beds."

            The County's Seventh Self-Assessment also reports that the FIP waitlist
    "[c]urrently consists of approximately 46 patients," down from 64 patients reported for
    the Sixth Reporting Period. "Fourteen of these individuals are taking medications on a
    voluntary basis and are, therefore, not prioritized for admission to the FIP." Further, as in
    the prior reporting period, "the current average time from referral to admission for the
    most acute is approximately two days, and can be roughly 20 days for those on the FIP



                                                 80
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 83 of 124 Page ID
                                  #:3251


    waitlist that are less acute." It appears that the County's plans are still not sufficient to
    "reasonably ensure the availability of licensed inpatient mental health care for prisoners
    in the Jails."

             The Monitor's Fourth Report stated that the County's long-term "plans must have
    a reasonable basis for projecting need in order to establish Substantial Compliance with
    Paragraph 64." As noted in the Monitor's Fifth Report, the County's "new level of care
    system that designates patients into categories based on acuity and treatment needs" and
    its "tracking system to monitor the number of patients who meet this criteria on any given
    day" "may provide a reasonable basis for projecting 'the number of licensed inpatient
    mental health beds necessary to serve the inmate population.'" The County needs to use
    this "methodology" to determine "the projected capacity required" in the long term and
    project how many beds will be required over several years. Without using this (or some
    other) methodology to project the number of FIP patients in the future, it is not possible
    to assess whether the County's plans for adding FIP beds are reasonable and sufficient.
    This remains an issue that needs to be addressed to achieve Substantial Compliance with
    Paragraph 64.




                                                  81
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 84 of 124 Page ID
                                  #:3252


            65.     Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will ensure that psychotropic medications are administered in a clinically
    appropriate manner to prevent misuse, hoarding, and overdose.

            STATUS:           PARTIAL COMPLIANCE

             Substantial Compliance requires that (1) the County's Self-Assessments set forth
    the (a) the results of weekly medication audits documenting the visual observation of the
    administration of medication during the quarter; (b) unauthorized medications found as a
    result of cell searches during the reporting period; and (c) incidents involving confirmed
    prescription drug overdoses; and that (2) "the Monitor concludes, after consulting with
    the Subject Matter Expert, that psychotropic medications have been administered in a
    clinically appropriate manner 85% of the time."

             On April 6, 2018, the County provided a flow chart entitled "Provision 65 Pill
    Call – Ideal State Pod-Front Pill Call Procedures” (excluded HOH cell-to-cell procedure)
    that is the product of a work group convened to develop a "new method and practice of
    administering medications." The Monitor and Mental Health Subject Matter Expert
    concluded that the flow chart is a "reasonable approach," but that the "primary issue will
    be the nature of the interventions adopted by custody and healthcare staff in response to
    lack of cooperation" and "what happens if they are not able to verify that the inmate
    ingested the pills," which the flow chart partially addresses.

            The County's Seventh Self-Assessment reports that a working group of
    representatives from Custody, Mental Health, and Nursing "initiated a pilot program in
    two modules at TTCF designed to test and improve pill call administration methods. To
    date, the pilot has increased cooperation between Custody and nursing through education,
    briefing, and increased supervision with the goal of increasing medication compliance by
    inmates and more quickly and more accurately identifying inmates who do not allow staff
    to verify medication ingestion and may be hoarding medication." The Mental Health
    Subject Matter Expert notes that this "is a good example of using quality management
    principles to improve system function[.]"

           As in the past, medication was found during a significant number of searches
    during the Second 32 and Third Quarters33 of 2018. There were also six confirmed drug
    overdoses during the Third Quarter of 2018.




    32
       During the Second Quarter of 2018, 141 medications "not appropriately possessed by inmates" were
    found during 159 unannounced searches at CRDF, 456 medications were found during 89 searches at
    TTCF, 11 medications during 275 searches at MCJ, and 166 medications during 615 searches at NCCF.
    There were no medications found during searches at PDC South, PDC North, and PDC East.
    33
       During the Third Quarter of 2018, 181 medications "not appropriately possessed by inmates" were found
    during 160 unannounced searches at CRDF, 635 medications were found during 79 searches at TTCF, 193
    medications during 200 searches at MCJ, 10 medications during 502 searches at NCCF, and 51 mediations
    during 196 searches at PDC North. There were no medications found at PDC South and PDC East.


                                                      82
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 85 of 124 Page ID
                                  #:3253


            66.     Consistent with existing DMH policies, prisoners in High Observation
    Housing and Moderate Observation Housing, and those with a serious mental illness who
    reside in other housing areas of the Jails, will remain on an active mental health caseload
    and receive clinically appropriate mental health treatment, regardless of whether they
    refuse medications.

           STATUS:         NON-COMPLIANCE

            Substantial Compliance requires the Department to review, on a random basis, the
    electronic medical records of prisoners in HOH and MOH or with a Serious Mental
    Illness ("SMI") to assess whether they have remained on an active mental health caseload
    and that 95% of HOH prisoners, 90% of MOH prisoners, and 85% of other prisoners with
    a serious mental illness been offered "clinically appropriate structured mental health
    treatment" and been seen by a QMHP at least monthly, regardless of whether they refuse
    medications.

            For the Second Quarter of 2018, the County posted results show that 22% of
    prisoners in HOH, 10% in MOH, and 41% with serious mental illness who reside in other
    housing areas were "offered clinically appropriate structured mental health treatment and
    were seen by a QMHP at least once a month." For the Third Quarter of 2018, the posted
    results for these categories are 28% of HOH prisoners, 6% of MOH prisoners, and 50%
    of others with serious mental illness.

             The County's Seventh Self-Assessment reports that "[t]he County continues to
    work towards increasing its capacity to offer clinically appropriate treatment, including
    structured mental health treatment" and "improved standardization of the intake
    assessment process performed in the reception centers" to better identify "inmates at
    intake who have a serious mental illness." The County also "continues to hire staff to
    replace those departing service in the jails, some 18 psychiatric social workers started at
    the jails during quarters two and three."




                                                 83
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 86 of 124 Page ID
                                  #:3254


          67.     Within three months of the Effective Date, the County and the Sheriff will
    implement policies for prisoners housed in High Observation Housing and Moderate
    Observation Housing that require:

           (a)    documentation of a prisoner’s refusal of psychotropic medication in the
                  prisoner’s electronic medical record;

           (b)    discussion of a prisoner’s refusal in treatment team meetings;

           (c)    the use of clinically appropriate interventions with such prisoners to
                  encourage medication compliance;

           (d)    consideration of the need to transfer non-compliant prisoners to higher
                  levels of mental health housing; and

           (e)    individualized consideration of the appropriateness of seeking court orders
                  for involuntary medication pursuant to the provisions of California
                  Welfare and Institutions Code sections 5332-5336 and/or California Penal
                  Code section 2603(a).

           STATUS:        NON-COMPLIANCE

           Substantial Compliance requires the County to "review the electronic medical
    records of 25% of the prisoners in HOH and MOH who refused psychotropic medication
    during the quarter to verify that the records [of 85% of the prisoners] reflect the
    documentation and consideration of the matters required by the terms of Paragraph 67."

            The County's Seventh Self-Assessment reports acknowledges that the County
    "has historically experienced challenges implementing and assessing compliance with
    this Provision." It also reports that "[t]he County continues to work on ways to use
    technology to better and more accurately identify and assess compliance where patients
    have refused 50% of psychotropic medication within a seven day period."

             The Mental Health Subject Matter Expert and the clinicians evaluated 15 cases
    from CRDF and 24 cases from TTCF for compliance with Paragraph 67. They found that
    a QMHP considered whether a higher level of care was indicated in 53% of the cases at
    CRDF and 25% of the cases at TTCF. They also found that 50% of the cases at CRDF
    and 22% of the cases at TTCF included "a reasonable determination of the reason for the
    recommendation for housing change." They were "concern[ed] to see that the
    interventions to improve adherence were rarely clinically appropriate at TTCF. There
    was also very rare consideration of whether involuntary treatment or FIP placement was
    indicated, even in severely ill patients with documentation strongly suggestive of
    dangerousness or grave disability. Many of these patients were being isolated in their
    cells in HOH with some refusing medical care."




                                               84
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 87 of 124 Page ID
                                  #:3255


            The County "strongly disagrees" with the Mental Health Subject Matter Expert's
    findings and conclusions. Although not directly addressing the Subject Matter Expert's
    qualitative assessment of the clinical judgements, the County notes that inmates in HOH

           are frequently engaged by custody staff and psychiatric technicians, seen
           weekly by mental health clinicians, and are seen at least once a month by a
           psychiatrist. Inmate-patients who are of a P4 status are seen by a
           psychiatrist every other week. Moreover, psychiatrists evaluating inmate-
           patients in mental health housing who are refusing medications are trained
           to specifically consider FIST Orders, involuntary medication orders under
           Penal Code 2603, and/or admission to the mental health inpatient unit. In
           MOH, psychiatric technicians compile lists of inmate-patients refusing
           medication, and those lists are circulated and reviewed weekly by doctors
           and clinicians. The clinicians and psychiatrists evaluating inmate-patients
           in MOH regularly evaluate the patient's behavior regarding medication
           adherence in their assessments of P levels and other clinical matters.

            The Mental Health Subject Matter Expert notes, however, that "[t]here are rarely
    specific interventions targeting medication adherence; when adherence is mentioned, it is
    primarily encouragement to take medications, which is rarely a sufficient clinical
    intervention."




                                               85
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 88 of 124 Page ID
                                  #:3256


            68.      Within six months of the Effective Date, the County and the Sheriff will
    develop and implement a procedure for contraband searches on a regular, but staggered
    basis in all housing units. High Observation Housing cells will be visually inspected
    prior to initial housing of inmates with mental health issues.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) at MCJ, NCCF,
                          PDC East, PDC South, and PDC North)

                          SUBSTANTIAL COMPLIANCE (as of January 1, 2017
                          through December 31, 2017 (verified) at TTCF)

                          PARTIAL COMPLIANCE (at CRDF)

             Substantial Compliance requires that "85% of the housing units are searched for
    contraband at least once in the previous quarter; and 95% of the HOH units visually
    inspected prior to housing prisoners in these units." Self-Assessments are to include a
    summary of searches conducted in the Second Quarter of the last reporting period and the
    First Quarter of the current reporting period and to randomly select and review 25
    Checklist forms for HOH units to confirm that the units were visually inspected prior to
    initial housing of prisoners in these units.

            The County’s posted results reflect that in the Fourth Quarter of 2017, 88% of the
    housing units at CRDF were searched at least once in the quarter, and 80% of the
    randomly selected HOH cells at CRDF were visually inspected before housing prisoners
    in these units. During the First Quarter of 2018, 93% of the housing units at CRDF were
    searched at least once in the quarter, and 92% of the randomly selected HOH cells at
    CRDF were visually inspected before housing prisoners in these units.

             During the Sixth Reporting Period, the County provided additional records and
    CCTV footage to show that the HOH cells at TTCF were visually inspected more than
    95% of the time in the Third Quarter of 2017. Where there was a date discrepancy in the
    source documents, the CCTV footage showed that the HOH cells were visually inspected
    before the prisoners were housed in these units. In the Fourth Quarter of 2017, 96% of
    the housing units at TTCF were searched at least once in the quarter, and 96% of the
    randomly selected HOH cells at TTCF were visually inspected before housing prisoners
    in these units. These results have been verified by the Monitor's auditors. The County
    has maintained Substantial Compliance with Paragraph 68 at TTCF for more than 12
    consecutive months, and is no longer subject to monitoring with this provision at that
    facility. The County previously maintained Substantial Compliance for twelve
    consecutive months at MCJ, NCCF, PDC East, PDC South, and PDC North, and these
    facilities were not subject to monitoring for compliance with Paragraph 68 during this
    reporting period. As noted by DOJ, however, the "failure to conduct effective
    contraband searches as required by this provision, may implicate the County's ability to
    comply with other provisions related to medication hoarding, chiefly provisions 31 and
    65."



                                                86
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 89 of 124 Page ID
                                  #:3257


            69.     Consistent with existing DMH policies regarding use of clinical restraints,
    the County and the Sheriff will use clinical restraints only in the Correctional Treatment
    Center and only with the approval of a licensed psychiatrist who has performed an
    individualized assessment and an appropriate Forensic Inpatient order. Use of clinical
    restraints in CTC will be documented in the prisoner’s electronic medical record. The
    documentation will include the basis for and duration of the use of clinical restraints and
    the performance and results of the medical welfare checks on restrained prisoners. When
    applying clinical restraints, custody staff will ensure a QMHP is present to document and
    monitor the condition of the prisoner being placed in clinical restraints.

             STATUS:           SUBSTANTIAL COMPLIANCE (as of July 1, 2018,
                               through September 30, 2018 (unverified))

           Substantial Compliance requires the Department to review the electronic medical
    records of all prisoners placed in clinical restraints to verify that the restraints were used,
    approved, and documented, and that the results of medical welfare checks on restrained
    prisoners were also documented.

            The County’s Seventh Self-Assessment reports that for the Second Quarter of
    2018, "77%. . . of electronic medical records reviewed. . .reflected that, for inmates
    placed in clinical restraints for psychiatric purposes, the restraints were used, approved
    and documented as required by this Provision." The County’s Seventh Self-Assessment
    also reports that, for the Third Quarter of 2018, five of the six (83%) of the medical
    records reviewed "reflected that, for inmates placed in clinical restraints for psychiatric
    purposes, the restraints were used, approved, and documented as required by this
    Provision." The County's Self-Assessment notes that the "County has significantly
    reduced the number of times it uses clinical restraints" and that the "County tracks
    roughly 11 separate categories of information to assess compliance for each use of
    clinical restraints." It reports that it "failed to meet only 4 of the 198 items tracked—an
    effective compliance rate of more than 97%" in the Second Quarter of 2018, and "only 1"
    of 66 items tracked in the Third Quarter of 2018, or 98%."

           The Monitor's Sixth Report notes that the Mental Health Subject Matter Expert
    believes that "the requirements of [this Compliance Measure] are excessive and do not
    match standards published by organizations such as the Centers for Medicare and
    Medicaid Services (CMS)[.]" For example, he "reviewed the one case that the County
    marked as non-compliant, which appeared to be because the patient was not seen by a
    psychiatrist prior to restraint even though the nurse obtained a proper telephone order.
    The psychiatrist assess the patient within 24 hours as well, in my view this should count
    as compliant." Based upon the Mental Health Subject Matter Expert's assessment, and
    with DOJ’s concurrence, the County achieved Substantial Compliance in the Third
    Quarter of 2018,34 subject to verification by the Monitor’s auditors.

    34
       The Mental Health Subject Matter Expert still recommends that the Compliance Measures be revised to
    allow for telephonic approval followed by a psychiatric assessment within 24 hours and that the County
    restructure its approach to the placement of inmates in clinical restraints as well as the monitoring of those
    in restraints.


                                                          87
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 90 of 124 Page ID
                                  #:3258


           70.     Within three months of the Effective Date, the County and the Sheriff will
    have policies and procedures regarding the use of Security Restraints in HOH and MOH.
    Such policies will provide that:

             (a)      Security Restraints in these areas will not be used as an alternative to
                      mental health treatment and will be used only when necessary to insure
                      safety;

             (b)      Security Restraints will not be used to punish prisoners, but will be used
                      only when there is a threat or potential threat of physical harm, destruction
                      of property, or escape;

             (c)      Custody staff in HOH and MOH will consider a range of security restraint
                      devices and utilize the least restrictive option, for the least amount of time,
                      necessary to provide safety in these areas; and

             (d)      Whenever a prisoner is recalcitrant, as defined by Sheriff’s Department
                      policy, and appears to be in a mental health crisis, Custody staff will
                      request a sergeant and immediately refer the prisoner to a QMHP.

             STATUS:            PARTIAL COMPLIANCE

            The Mental Health Subject Matter Expert and DOJ have expressed concern about
    the Department's Substantial Compliance with paragraph 70(c) if all inmates in HOH are
    routinely handcuffed when they are out of their cells "in a housing pod at the same time."
    One of the clinicians observed that "[o]ur recent onsite observations suggested that not all
    patients required such restraints all the time."35 The Mental Health Subject Matter Expert
    is of the view that the Department's own "policies impose other requirements for review
    of restraints that the Department is not following for this population."

            As the County "previously reported[,] the Department routinely handcuffs
    inmates in HOH and HOH_MIST housing when more than one HOH inmates is out of
    the cell in a housing pod at the same time. This category of inmates, as a whole, is a
    safety concern as they are deemed unpredictable and potentially dangers."

          In response to concerns expressed by the Mental Health Subject Matter Expert
    and DOJ, the County's Seventh Self-Assessment reports that:

             Department has developed and continues to use alternative types of mental
             health housing with the goal of housing inmates with mental health
             concerns in the least restrictive manner appropriate, these models include
             Step-Down modules, the HOPE Dorm and the Living Module. As


    35
      The Mental Health Subject Matter Expert notes that paragraph 70(b) is also implicated because it
    required that restraint's "will be used only when there is a threat or potential threat of physical harm,
    destruction of property, or escape."


                                                           88
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 91 of 124 Page ID
                                  #:3259


           previously reported, the 'Living Module' concept at TTCF, whereby each
           patient begins their mental health treatment in an HOH pod and transitions
           into an MOH pod as their mental health improves. With each stage in the
           transition, the inmate-patient gains privileges and is less restricted in their
           movement. The Living Module now operates in two pods. Inmates in the
           Step-down modules and HOPE Dorm are not restrained when out of cell.

             The County's Seventh Self-Assessment also reports that "[t]he County continues
    to conduct weekly assessments of inmates in HOH housing. During those assessments,
    clinicians consider, among other things, whether an inmate is able to cohabitate with
    others. In addition, the County conducts daily huddle meetings to assess whether HOH
    inmates are suitable for a double man cell, or transfers to Enhanced Mental Health
    Housing or MOH." The Mental Health Subject Matter Expert notes, however, that while
    housing in a double-man cell is relevant, some inmates who need single-cell housing may
    still be able to come out unrestrained.

             The Subject Matter Expert notes that the "County has made some progress in
    implementing step-down units and the Living Module approach, but it is far from
    universally implemented and there is no formal policy or procedure in place to govern
    this and to reasonably assure continuation." To achieve Substantial Compliance with
    Paragraph 70(c), the County needs to conduct individual assessments to determine which
    inmates need to be restrained, throughout HOH and which inmates can be housed in less
    restrictive settings, as long as there are adequate beds at each level.




                                                 89
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 92 of 124 Page ID
                                  #:3260


            71.      The County and the Sheriff will ensure that any prisoner subjected to
    clinical restraints in response to a mental health crisis receives therapeutic services to
    remediate any effects from the episode(s) of restraint.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                           June 30, 2017 (verified))

           Substantial Compliance requires the Department to review the electronic medical
    records of all prisoners placed in clinical restraints to verify that the prisoners received
    therapeutic services as required by Paragraph 71.

           The County maintained Substantial Compliance with Paragraph 71 for twelve
    consecutive months during a prior reporting period and Paragraph 71 was not subject to
    monitoring in the Seventh Reporting Period.




                                                  90
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 93 of 124 Page ID
                                  #:3261


            72.      The County and the Sheriff will develop and implement policies and
    procedures that ensure that incidents involving suicide and serious self-injurious behavior
    are reported and reviewed to determine: (a) whether staff engaged in any violations of
    policies, rules, or laws; and (b) whether any improvements to policy, training, operations,
    treatment programs, or facilities are warranted. These policies and procedures will define
    terms clearly and consistently to ensure that incidents are reported and tracked accurately
    by DMH and the Sheriff’s Department.

               STATUS:           SUBSTANTIAL COMPLIANCE (as of January 1,
                                 2017, through December 31, 2017) (subject to further
                                 verification)

           Substantial Compliance requires the Self-Assessments to report on (a) suicide
    review meetings and (b) CIRC meetings that review incidents of serious self-injurious
    behavior in the reporting period.

            The Monitor's Sixth Report found that the County had maintained Substantial
    Compliance with Paragraph 72 for the twelve month period ending on December 31,
    2018, but expressed the Monitor's concern that the information provided by the County
    was insufficient "for the Monitor 'to assess' whether the County is adequately reviewing
    potential non-custody staff misconduct.'"36 To address this concern, the County
    submitted a list of 2017 Performance Management cases reflecting the status and/or
    results of investigations Custody Health Services personnel in 2017. In includes whether
    the allegations were "substantiated" and, if so, the "Final Administrative and/or
    Disciplinary Action," but does not, as DOJ notes, "indicate to which suicides or suicide
    attempts the investigation and discipline listed correspond" or "how many of the
    investigations or disciplinary actions listed arose due to suicides or suicide attempts."
    The Monitor agrees that this information is needed to assess whether the County
    maintained Substantial Compliance for twelve consecutive months during the Fifth and
    Sixth Reporting Periods and, therefore, was not subject to monitoring for compliance
    with this provision during the Seventh Reporting Period.




    36
         See Monitor's Sixth Report, p. 84, note 44.


                                                       91
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 94 of 124 Page ID
                                  #:3262


            73.     Depending on the level of severity of an incident involving a prisoner who
    threatens or exhibits self-injurious behavior, a custody staff member will prepare a
    detailed report (Behavioral Observation and Mental Health Referral Form, Inmate Injury
    Report, and/or Incident Report) that includes information from individuals who were
    involved in or witnessed the incident as soon as practicable, but no later than the end of
    shift. The report will include a description of the events surrounding the incident and the
    steps taken in response to the incident. The report will also include the date and time that
    the report was completed and the names of any witnesses. The Sheriff’s Department will
    immediately notify the County Office of Inspector General of all apparent or suspected
    suicides occurring at the Jails.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                           through September 30, 2018 (verified))

            Substantial Compliance requires the Department to review quarterly a random
    sample of reports of any threats or exhibitions of self-injurious behavior to verify that the
    reports have the information required by Paragraph 73; and to provide the Monitor with
    the notifications to the Inspector General of all incidents involving an apparent or
    suspected suicide during the reporting period.

            The County’s Seventh Self-Assessment reports that for the Second Quarter of
    2018, "96% -- 6% more than the required 90% -- of reports reviewed have all of the
    information required by Compliance Measure 73-4(a)." It also reports that the Office of
    Inspector General was notified of the one apparent or suspected suicide that occurred
    during this quarter.

           The County’s Seventh Self-Assessment also reports that for the Third Quarter of
    2018, "99% -- 9% more the required 90% -- of reports reviewed have all of the
    information required by Compliance Measure 73-4(a)" and there were "no incidents
    involving an apparent or suspected suicide" during the quarter. The Monitor’s auditors
    have verified the County’s results. Accordingly, the County has maintained Substantial
    Compliance for twelve consecutive months and will no longer be subject to monitoring
    for compliance with Paragraph 73.




                                                 92
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 95 of 124 Page ID
                                  #:3263


            74.     The Sheriff’s Department will ensure that there is a timely, thorough, and
    objective law enforcement investigation of any suicide that occurs in the Jails.
    Investigations shall include recorded interviews of persons involved in, or who
    witnessed, the incident, including other prisoners. Sheriff’s Department personnel who
    are investigating a prisoner suicide or suspected suicide at the Jails will ensure the
    preservation of all evidence, including physical evidence, relevant witness statements,
    reports, videos, and photographs.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of September 1, 2016,
                          through December 31, 2017)

            Substantial Compliance requires the Department to provide the Monitor with an
    Executive Suicide Death Review reflecting the results of the Department’s investigation
    of any suicide in the Jails within six months of the suicide. The review must reflect steps
    taken to preserve all of the evidence; and list the interviews of persons involved in, or
    who witnessed, the incident, and whether the interviews were recorded.

            The County previously maintained Substantial Compliance with this provision for
    twelve consecutive months and it was not subject to monitoring during the Seventh
    Reporting Period. The County nevertheless continued to notify the Monitor of all inmate
    deaths, including suicides, and the subsequent death reviews. The Monitor continued to
    attend death reviews during the Seventh Reporting Period.




                                                93
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 96 of 124 Page ID
                                  #:3264


           75.    Within three months of the Effective Date, the County and the Sheriff will
    review every suicide attempt that occurs in the Jails as follows:

           (a)    Within two working days, DMH staff will review the incident, the
                  prisoner’s mental health status known at the time of the incident, the need
                  for immediate corrective action if any, and determine the level of suicide
                  attempt pursuant to the Centers for Disease Control and Prevention’s Risk
                  Rating Scale;

           (b)    Within 30 working days, and only for those incidents determined to be a
                  serious suicide attempt by DMH staff after the review described in
                  subsection (a) above, management and command-level personnel from
                  DMH and the Sheriff’s Department (including Custody Division and
                  Medical Services Bureau) will meet to review relevant information known
                  at that time, including the events preceding and following the incident, the
                  prisoner’s incarceration, mental health, and health history, the status of
                  any corrective actions taken, and the need for additional corrective action
                  if necessary;

           (c)    The County and the Sheriff will document the findings that result from the
                  review of serious suicide attempts described in subsection (b) above; and

           (d)    The County and the Sheriff will ensure that information for all suicide
                  attempts is input into a database for tracking and statistical analysis.




                                               94
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 97 of 124 Page ID
                                  #:3265


           STATUS (75):            SUBSTANTIAL COMPLIANCE (as of October 1,
                                   2017, through September 30, 2018 (verified))

            Substantial Compliance requires (a) DMH to review documentation of randomly
    selected suicide attempts during the previous quarter to verify that the prisoner’s mental
    health status and need for immediate corrective action were considered timely by the
    DMH staff and that the staff determined whether the suicide attempt was serious; (b) that
    the Department and DMH reviewed the relevant information known at that time and the
    status of any corrective actions taken, and they considered the need for additional
    corrective action if necessary; and (c) that the information is reflected in the Department's
    database for tracking and statistical analysis.

            The County's Seventh Self-Assessment reported that for the Second Quarter of
    2018, "85% -- equal to the required 85% -- of documents reviewed showed CHS staff
    considered the inmate's mental health status and need for immediate corrective action;"
    "100% -- 5% more than the required 95% -- of suicide attempts are reflected in the
    Department's database;" and "90% rather than the required 95% -- of the suicide
    attempts" were reviewed by "management and command-level personnel" from Custody,
    mental health, and medical. The County did not meet the 95% threshold for management
    and command level reviews of suicide attempts as required by Compliance Measure 75-
    5(b) because "due to a miscalculation," one of the ten serious suicide attempts "was
    reviewed 31 days after its occurrence – failing to meet the compliance requirement by
    only 1 day.” Because the delay was minimal and the "County is in Substantial
    Compliance with the other requirements of this Provision in the Second Quarter, the
    County requests a finding of Substantial Compliance." The Mental Health Subject
    Matter Expert concurs, and notes that the County is "doing a good job on these reviews,
    including some meaningful CAPs."

            The County's Augmented Seventh Self-Assessment reports for the Third Quarter
    of 2018 "that 91%—6% more than the required 85%—of documents reviewed showed
    CHS staff considered the inmate's mental health status and need for immediate corrective
    action." The County also concluded that 100% - 5% more than the required 95% - of the
    suicide attempts were reviewed by "management and command-level personnel" from
    Custody, mental health, and medical; and 100% -- 5% more than the required 95%— of
    suicide attempts are reflected in the Department's database for tracking and statistical
    analysis. The Monitor’s auditors have verified the County’s results. Accordingly, the
    County has maintained Substantial Compliance for twelve consecutive months and will
    no longer be subject to monitoring for compliance with Paragraph 75.




                                                 95
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 98 of 124 Page ID
                                  #:3266


            76.     The County and the Sheriff will review every apparent or suspected
    suicide that occurs in the Jails as follows:

           (a)    Within no more than two working days, management and command-level
                  personnel from DMH and the Sheriff’s Department (including Custody
                  Division and Medical Services Bureau) will meet to review and discuss
                  the suicide, the prisoner’s mental health status known at the time of the
                  suicide, and the need for immediate corrective or preventive action if any;

           (b)    Within seven working days, and again within 30 working days,
                  management and command-level personnel from DMH and the Sheriff’s
                  Department (including Custody Division and Medical Services Bureau)
                  will meet to review relevant information known at that time, including the
                  events preceding and following the suicide, the prisoner’s incarceration,
                  mental health, and health history, the status of any corrective or preventive
                  actions taken, and the need for additional corrective or preventive action if
                  necessary; and

           (c)    Within six months of the suicide, the County and the Sheriff will prepare a
                  final written report regarding the suicide. The report will include:

                  (i)    time and dated incident reports and any supplemental reports with
                         the same Uniform Reference Number (URN) from custody staff
                         who were directly involved in and/or witnessed the incident;
                  (ii)   a timeline regarding the discovery of the prisoner and any
                         responsive actions or medical interventions;
                  (iii)  copies of a representative sample of material video recordings or
                         photographs, to the extent that inclusion of such items does not
                         interfere with any criminal investigation;
                  (iv)   a reference to, or reports if available, from the Sheriff’s
                         Department Homicide Bureau;
                  (v)    reference to the Internal Affairs Bureau or other personnel
                         investigations, if any, and findings, if any;
                  (vi)   a Coroner’s report, if it is available at the time of the final report,
                         and if it is not available, a summary of efforts made to obtain the
                         report;
                  (vii) a summary of relevant information discussed at the prior review
                         meetings, or otherwise known at the time of the final report,
                         including analysis of housing or classification issues if relevant;
                  (viii) a clinical mortality review;
                  (ix)   a Psychological Autopsy utilizing the National Commission on
                         Correctional Health Care’s standards; and
                  (x)    a summary of corrective actions taken and recommendations
                         regarding additional corrective actions if any are needed.




                                                96
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 99 of 124 Page ID
                                  #:3267


           STATUS (76):           SUBSTANTIAL COMPLIANCE (as of
                                  September 1, 2016, through December 31, 2017)

           The County previously maintained Substantial Compliance with Paragraph 76 for
    twelve consecutive months and this provision was no longer subject to monitoring during
    the Seventh Reporting Period. Nonetheless, the County continued to conduct the reviews
    required by Paragraph 76 for the suicides that occurred during this period and invited the
    Monitor to attend these meetings.




                                               97
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 100 of 124 Page ID
                                   #:3268


           77.     The County and the Sheriff will create a specialized unit to oversee,
    monitor, and audit the County’s jail suicide prevention program in coordination with the
    Department of Mental Health. The Unit will be headed by a Captain, or another Sheriff’s
    Department official of appropriate rank, who reports to the Assistant Sheriff for Custody
    Operations through the chain of command. The Unit will be responsible for:

            (a)      Ensuring the timely and thorough administrative review of suicides and
                     serious suicide attempts in the Jails as described in this Agreement;

            (b)      Identifying patterns and trends of suicides and serious suicide attempts in
                     the Jails, keeping centralized records and inputting data into a unit
                     database for statistical analysis, trends, and corrective action, if necessary;

            (c)      Ensuring that corrective actions are taken to mitigate suicide risks at both
                     the location of occurrence and throughout the concerned system by
                     providing, or obtaining where appropriate, technical assistance to other
                     administrative units within the Custody Division when such assistance is
                     needed to address suicide-risk issues;

            (d)      Analyzing staffing, personnel/disciplinary, prisoner classification, and
                     mental health service delivery issues as they relate to suicides and serious
                     suicide attempts to identify the need for corrective action where
                     appropriate; and recommend remedial measures, including policy
                     revisions, re-training, or staff discipline, to address the deficiencies and
                     ensure implementation; and

            (e)      Participating in meetings with DMH to develop, implement, and track
                     corrective action plans addressing recommendations of the quality
                     improvement program.

            STATUS:           PARTIAL COMPLIANCE

            CCSB's Semi-Annual Report for the Second and Third Quarters of 201837 reports
    that "there were two (2) suicides within the jail facilities, nineteen (19) suicide attempts,
    and four hundred and twenty-six (426) Self-Directed Violence notifications in the jails.
    Each suicide was discussed in a Preliminary (24 hr), 7 and 30 Day Executive Review" as
    required by Paragraph 76. A third suicide that occurred at the end of the First Quarter of
    2018 was also discussed within these timeframes in the Second Quarter of 2018.38 19 of
    the SDV incidents "were deemed serious suicide attempts." Of those 19, only nine of the
    serious incidents were discussed during six (6) Critical Incident Review Committee
    (CIRC) meetings.



    37
       Because the CCSB report covers the Second and Third Quarters of 2018, there is some overlap with
    CCSB's report for the Sixth Reporting Period, which covered the First and Second Quarters of 2018.
    38
       All of the suicides occurred in the Second Quarter of 2018 and were covered in CCSB's prior report.


                                                        98
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 101 of 124 Page ID
                                   #:3269


             The Semi-Annual Report includes the following sections:

           (a)     "Administrative Review of Suicides." This summarizes the 24-hour, 7-
    day, and 30-day suicide reviews that occurred during the Second and Third Quarters of
    2018, which includes the corrective actions the Department took to mitigate suicide risks
    following these reviews. Based upon CCSB's Report and CHS's Semi-Annual Report,
    the Monitor remains satisfied that CCSB is ensuring that CHS and the Department are
    timely and thoroughly conducting administrative review of suicides and serious suicide
    attempts in the jails as required by Paragraphs 76 and Compliance Measure 77-2(a).

            (b)     "Patterns and trends and statistical analysis of suicides and serious suicide
    attempts in the jails." This section breaks down the suicides reviewed in the Second and
    Third Quarters of 2018 by age, ethnicity, days from arrest, time of day, location, method,
    and prior self-directed violence. Age and ethnicity are also reported as the rate per
    100,000 inmates. In this report, CCSB "compare[s] the age distribution of inmates who
    committed or engaged in self-directed violence to that of the inmate population overall
    both by acts of self-directed violence more generally, and specifically, acts of self-
    directed violence deemed to be 'critical incidents' by the Correctional Health Services
    (CHS) self-directed violence review team," and also calculates rates per thousand inmates
    in various age groups to "develop benchmarks by which incidents of self-directed
    violence can be tracked according to the age of the inmate[.]" The report analyzes the
    three suicides in the Second and Third Quarter of 2018, the 426 SDV incidents, and 18
    CIRC incidents by age, compared to the inmate populations in each age group and per
    thousand inmates.39 It concludes "that inmates in the age categories 26-34 and 35-39
    years old are at a higher risk of self-directed violence." This more detailed statistical
    analysis satisfies the requirements of Compliance Measure 77(b), but it is limited to age
    groups.40

             (c)    "Corrective actions taken by the department to mitigate suicide risks."
    This section summarizes the status of "a total of 74 CAP/Issues related to 19 serious
    suicide attempts that were reviewed during a Critical Incident Meeting,"41 and 24
    corrective actions related to three suicides reviewed during the Second and Third
    Quarters of 2018. CCSB's report of the CAPs discussed at the Executive Inmate Review
    Committee meetings under the "Administrative Review of Suicides" section above and
    the CHS's Summary of Recent CIRC Incidents and Data in its Semi-Annual Report
    reflect that corrective actions are being "taken to mitigate suicide risks." The Mental
    Health Subject Matter Expert notes that "none of these CAPs were based on analysis of
    aggregate data or "patterns and trends and statistical analysis of suicides and serious
    suicide attempts."

    39
       As CCSB notes, since the CIRC sample size is only 18, "it is difficult to draw any conclusions as the
    margin of error is about 23%." Since the sample size of the suicides is only three, it is not possible to draw
    any conclusions from this data.
    40
       The report indicates that the County is continuing to develop its ability to "track trends and patterns in the
    area of inmate age groups and future reports may include analysis based on factors such as: the nature of
    the crime committed, . . . marital status, known gang affiliation and/or other identifying criteria."
    41
       See CCSB Report, p. 28. The County subsequently noted that there was an error in the CCSB Report
    and "[t]here were 18 CIRCs during the relevant period, each of which was reviewed in the normal course."


                                                          99
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 102 of 124 Page ID
                                   #:3270


            (d)      "Technical issues provided to, or obtained for other administrative units
    within the Custody Division to address suicide-risk issues." This section vaguely
    references "[v]arious projects and programs [that] have been developed to help address
    some of the [undefined] concerns" and notes that there are "incidents that include factors
    such as mental health, systemic issues, and facility layout/construction projects that will
    likely result in repeated behaviors until more long-term solutions are put into place."
    CCSB will be "responsible for monitoring the implementation and tracking of CAPs to
    address the issues identified." It does not appear, however, that CCSB provided any
    technical assistance to other administrative units within the Custody Division in this
    reporting period.

           (e)     "Analysis of staffing, personnel/disciplinary, prisoner classification, and
    mental health service delivery issues as they relate to suicides and serious suicide
    attempts." This section summarizes, without any analysis, issues in these categories that
    were identified for the three suicides reviewed during the Second and Third Quarters of
    2018.

            (f)     "Remedial measures, including policy revisions, re-training, or staff
    discipline, to address issues related to suicide and serious suicide attempts." This section
    consists of a table that summarizes the measures taken to address issues related to the
    three suicides reviewed during the Second and Third Quarters.

            (g)     "Summaries of meeting with DMH to develop, implement, and track
    corrective action plans." This section reports that "CCSB, and CHS (Mental and
    Medical Health) are involved in the CIRC and Joint Quality Improvement
    Committee (“JQIC”) meetings. Corrective action plans are primarily identified and
    discussed at CIRC meetings. At every JQIC meeting, there is follow up to verify
    that the CAP(s) have been addressed and assigned, also the individual assigned to
    the CAP should verify their effectiveness. CCSB tracks all suicide-related CAPs,
    whether they are CHS or LASD CAPs, and does so continuously outside of the
    CIRC and JQIC context." There were a total of 6 JQIC meetings during the Second
    and Third Quarters of 2018 that discussed 74 CAP/Issues identified during CIRC
    meetings.

            Because the County is no longer subject to monitoring for compliance with
    Paragraph 24, which requires the County and the Sheriff "to review and inspect housing
    areas on at least an annual basis to identify suicide hazards," it is incumbent on CCSB to
    track the County's implementation of its Suicide Hazard Mitigation Plans and the
    corrective actions to address suicide hazards identified in the annual inspections. This is
    not, however, captured in either of CCSB's Semi-Annual Reports or other postings.

           CCSB is to be commended for the work it has done to facilitate the
    implementation of various provisions of the Settlement Agreement. Paragraph 77 also
    requires the unit "to oversee the County's jail suicide prevention program in coordination
    with [CHS]" and Paragraphs 60 and 62 impose obligations on CCSB to work with CHS
    to "implement a quality improvement plan to identify and address clinical issues that



                                                100
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 103 of 124 Page ID
                                   #:3271


    place prisoners at significant risk of suicide and self-injurious behavior" and "develop,
    implement and track corrective action plans addressing recommendations of the quality
    improvement program."

             Coordination between CCSB and CHS is improving, and they are tracking and
    sharing data related to suicides and self-directed violence, but not other measures. They
    are beginning to share and track suicide-related data (as per Paragraphs 61(a) and 77(b)),
    but not data related to other areas in which custody has some role, such as access to care,
    administration of psychotropic medications, and clinical restraints (as per Paragraph
    61(b), (c), and (d)). Further, Custody's focus is primarily a matter of investigation and
    fixing case-specific problems, rather than gathering and analyzing aggregate data to
    detect system-wide problems. For example, the determination of whether an inmate can
    be brought out of his or her cell for therapy or must be seen by the clinician at the cell
    front instead is an access to care issue. While Custody necessarily has an important role
    in facilitating this clinical determination, there are HOH inmates who do not come out of
    their cells because they are deemed too dangerous, and therefore they are not receiving
    the access to care they need to treat their mental illness. The extent to which HOH
    inmates are not coming out of their cells and the reasons they are not coming out are not
    being tracked and assessed by Custody and CHS to ascertain the extent to which this is a
    significant access to care problem, and what systemic improvements can be identified,
    implemented and measured.

           While CAPS identified at the CIRC and JQIC meetings are reviewed on a case-
    by-case basis, there is, as noted by the Mental Health Subject Matter Expert, "no
    evidence that aggregate data are being used to determine whether there are system-wide
    problems." He observes that:

           There has been continued improvement in the tracking, coordination and
           follow through of case-specific CAPs. The use of Longitudinal
           Improvement Projects (LIPs) is also a sound development, but there needs
           to be more focused and targeted measures associated with these projects.
           A good example is the repeated problem of contraband associated with
           self-directed violence. The only reference to any effort to address this is
           repeated cell searches, but there are no targets, no method to determine
           efficacy, and no evidence that this problem has been reduced, despite
           being repeatedly identified as a problem.




                                                101
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 104 of 124 Page ID
                                   #:3272


           78.     The County and the Sheriff will maintain a county-level Suicide
    Prevention Advisory Committee that will be open to representatives from the Sheriff’s
    Department Custody Division, Court Services, Custody Support Services, and Medical
    Services Bureau; the Department of Mental Health; the Public Defender’s Office; County
    Counsel’s Office; the Office of the Inspector General; and the Department of Mental
    Health Patients’ Rights Office. The Suicide Prevention Advisory Committee will meet
    twice per year and will serve as an advisory body to address system issues and
    recommend coordinated approaches to suicide prevention in the Jails.

           STATUS:       SUBSTANTIAL COMPLIANCE (as of May 11, 2016, through
                         May 18, 2017)

          Substantial Compliance requires (1) the Committee to meet twice per year and (2)
    "recommend coordinated approaches to suicide prevention in the Jails."

            The County maintained Substantial Compliance with Paragraph 78 for twelve
    consecutive months as of May 18, 2017, and this provision was not subject to monitoring
    in the Seventh Reporting Period. The County has continued the Bi-Annual Suicide
    Prevention meetings and reports that 73 participants from various County departments
    attended the most recent meeting on November 7, 2018.




                                              102
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 105 of 124 Page ID
                                   #:3273


           79.     (a)    Unless clinically contraindicated, the County and the Sheriff will
                          offer prisoners in mental health housing:

                          (i)     therapeutically appropriate individual visits with a QMHP;
                                  and

                          (ii)    therapeutically appropriate group programming conducted
                                  by a QMHP or other appropriate provider that does not
                                  exceed 90 minutes per session;

                   (b)    The County and the Sheriff will provide prisoners outside of
                          mental health housing with medication support services when
                          those prisoners are receiving psychotropic medications and
                          therapeutically appropriate individual monthly visits with a QMHP
                          when those prisoners are designated as Seriously Mentally Ill; and

                   (c)    The date, location, topic, attendees, and provider of programming
                          or therapy sessions will be documented. A clinical supervisor will
                          review documentation of group sessions on a monthly basis.

           STATUS:        NON-COMPLIANCE

            Substantial Compliance requires the Department to maintain records of
    therapeutically appropriate individual visits and group programming, and the names of
    the clinical supervisors who reviewed the documentation of group sessions; describe the
    medication support services available for prisoners not in mental health housing who are
    receiving psychotropic medications; and review electronic medical records of such to
    confirm that medication support services were provided to these prisoners.

            The County’s Seventh Self-Assessment reports that in the Second Quarter of
    2018, 56% of the prisoners who resided outside of mental health housing and were
    receiving psychotropic medications were "provided with medication support services,"
    which is below the 85% threshold required by Compliance Measure 79.5(d) for
    Substantial Compliance. The County's Augmented Seventh Self-Assessment reports that
    in the Third Quarter of 2018, 51% of these prisoners were provided with medication
    support services.

            As in the past, the County has "determined that a shortage of medical doctors
    treating patients in the general population hindered its ability to comply with this
    Provision." The County also acknowledges that, "[a]s noted in previous reports by the
    Monitor, the Subject Matter Expert determined that Compliance Measures 79-1(a-c) and
    79-5(b), governing therapeutically appropriate treatment to inmates in HOH and MOH
    units, are not yet ripe for evaluation as the County is not yet able to render structured
    treatment according to methods reflected in treatment plans. The County continues to
    dedicate resources to improving treatment planning and the quality of individual and
    group therapeutic services."



                                               103
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 106 of 124 Page ID
                                   #:3274


           80.     (a)    The County and the Sheriff will continue to make best efforts to
    provide appropriate out-of-cell time to all prisoners with serious mental illness, absent
    exceptional circumstances, and unless individually clinically contraindicated and
    documented in the prisoner’s electronic medical record. To implement this requirement,
    the County and the Sheriff will follow the schedule below:

                   (i)     By no later than six months after the Effective Date, will offer
                           25% of the prisoners in HOH ten hours of unstructured out-of-cell
                           recreational time and ten hours of structured therapeutic or
                           programmatic time per week;

                   (ii)    By no later than 12 months after the Effective Date, will offer
                           50% of the prisoners in HOH ten hours of unstructured out-of-cell
                           recreational time and ten hours of structured therapeutic or
                           programmatic time per week; and

                   (iii)   By no later than 18 months after the Effective Date, will offer
                           100% of the prisoners in HOH ten hours of unstructured out-of-
                           cell recreational time and ten hours of structured therapeutic or
                           programmatic time per week.

            (b)     No later than six months after the Effective Date, the County and the
    Sheriff will record at the end of each day which prisoners in HOH, if any, refused to
    leave their cells that day. That data will be presented and discussed with DMH staff at
    the daily meeting on the following Normal business workday. The data will also be
    provided to the specialized unit described in Paragraph 77 and to DMH’s quality
    improvement program to analyze the data for any trends and to implement any corrective
    action(s) deemed necessary to maximize out-of-cell time opportunities and avoid
    unnecessary isolation.




                                               104
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 107 of 124 Page ID
                                   #:3275


           STATUS (80):            NON-COMPLIANCE

            Paragraph 80 requires that, "no later than 18 months after the Effective Date [July
    1, 2015]," 100% of the prisoners in HOH receive "ten hours of unstructured out-of-cell
    recreational time and ten hours of structured therapeutic or programmatic time per week."
    The parties have agreed that up to five hours of the structured time can consist of
    education or work programs, but at least five hours of the time must be therapeutic.

           The County's Seventh Self-Assessment reports that in the Second Quarter of
    2018, 26% of the prisoners at CRDF and 84% of the prisoners at TTCF were offered the
    required 10 or more hours of unstructured, out-of-cell recreational time, which is well-
    below the 100% threshold for both unstructured recreational time and structured
    therapeutic or programming.

            The County's Seventh Self-Assessment also reports that "[w]ith respect to the
    structured out-of-cell time, CHS is in the process of piloting an electronic system that
    allows clinicians, and not Custody staff, to track structured out-of-cell time offered. . . .
    The County also continues to work on expanding staffing so that it may offer additional
    group therapy sessions and a wider variety of group sessions such that patients receive
    clinically appropriate offerings."

           The Mental Health Subject Matter Expert and the clinicians observed HOH pods
    at CRDF and TTCF in the Seventh Reporting Period, and they "coded" out-of-cell time
    for inmates in the pods. The Mental Health Subject Matter Expert "continues to have
    substantial concerns with the tracking of this data," and he also reports that:

           Virtually all the structured out-of-cell activities were mental health
           groups and occasional meetings with mental health clinicians. The
           unstructured out-of-cell time mostly consisted of unstructured dayroom
           time with a minority of the time being constituted by showers, yard time,
           and stray activities.

           As before, about half of the inmates did not come out of their cells, at
           all. . . .On average, out-of-cell time for structured activities remained
           about the same as [in the prior reporting period] at only about 25 minutes
           but unstructured time increased from an average of 88 minutes to 142
           minutes per day.

    The Department believes that increasing the "numbers of HOH pods allowing inmates
    out unrestrained. . .will likely continue to afford more unstructured out of cell time."




                                                 105
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 108 of 124 Page ID
                                   #:3276


            81.     Except as specifically set forth in Paragraphs 18-20 of this Agreement, and
    except as specifically identified below, the County and the Sheriff will implement the
    following paragraphs of the Implementation Plan in Rosas at all Jails facilities, including
    the Pitchess Detention Center and the Century Regional Detention Facility, by no later
    than the dates set forth in the Implementation Plan or as revised by the Rosas Monitoring
    Panel: Paragraphs 2.2-2.13 (use of force policies and practices); 3.1-3.6 (training and
    professional development); 4.1-4.10 (use of force on mentally ill prisoners); 5.1-5.3 (data
    tracking and reporting of force); 6.1-6.20 (prisoner grievances and complaints); 7.1-7.3
    (prisoner supervision); 8.1-8.3 (anti-retaliation provisions); 9.1-9.3 (security practices);
    10.1-10.2 (management presence in housing units); 11.1 (management review of force);
    12.1-12.5 (force investigations, with the training requirement of paragraph 12.1 to be
    completed by December 31, 2016); 13.1-13.2 (use of force reviews and staff discipline);
    14.1-14.2 (criminal referrals and external review); 15.1-15.7 (documentation and
    recording of force); 16.1-16.3 (health care assessments); 17.1-17.10 (use of restraints);
    18.1-18.2 (adequate staffing); 19.1-19.3 (early warning system); 20.1-20.3 (planned uses
    of force); and 21.1 (organizational culture).

           STATUS:         PARTIAL COMPLIANCE

            Policies approved by the Rosas Monitors and adopted by the Department in the
    First Reporting Period implemented the following provisions of the Rosas
    Implementation Plan: Paragraphs 2.2-2.13 (use of force policies and practices); 3.6
    (training and professional development); 4.1-4.5 (use of force on mentally ill prisoners);
    5.1-5.3 (data tracking and reporting of force); 7.1-7.3 (prisoner supervision); 8.1-8.3
    (anti-retaliation provisions); 9.2-9.3 (security practices); 10.1-10.2 (management
    presence in housing units); 11.1 (management review of force); 12.2-12.5 (force
    investigations); 14.1-14.2 (criminal referrals and external review); 15.1-15.7
    (documentation and recording of force); 16.1-16.3 (health care assessments); 17.1-17.10
    (use of restraints); 18.1-18.2 (adequate staffing); 20.1-20.3 (planned uses of force); and
    21.1 (organizational culture).

            In the Second Reporting Period, the Rosas Monitors approved policies to
    implement the following provisions of the Rosas Implementation Plan: Paragraphs 6.1-
    6.20 (grievance system); Paragraph 8.2 (combining "Complaints of Retaliation"). They
    also approved revised policies to implement Paragraphs 13.1-13.2 (discipline for PREA
    violations, dishonesty, and failure to report force incidents).

            Paragraphs 3.1-3.4, 4.6-4.9, and 12.1 of the Rosas Implementation Plan reflect
    training requirements that were supposed to be, but were not, completed by December 31,
    2016. This is due in part to the delays that have occurred in the review and approval of
    the Department's use of force and investigations training program. The Monitor's
    auditors will review the Department's training records and verify the Department's
    compliance with the training requirement of the Rosas plan at CRDF, NCCF, PDC North,
    PDC South, and PDC East.

           On July 10, 2018, the Department presented to the Rosas Monitors its Custody



                                                106
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 109 of 124 Page ID
                                   #:3277


    Operations Employee Review System it has implemented "to facilitate the identification,
    tracking, analysis, and review of specific employee-related incidents and issues." The
    system generates monthly reports reflecting use of force, grievances against staff, and
    Watch Commander Service Comment Reports for individual employees over a three
    month period to identify potentially problematic employees. The Rosas Monitors
    concluded that this system addresses the requirements of Paragraphs 19.1, 19.2, and 19.3
    of the Rosas plan for an Early Warning System. The Department implemented the
    Employee Review System as a pilot program at the Downtown Jail Facilities on July 27,
    2018, and expanded it throughout Custody Operations on October 25, 2018. As a result,
    the Department implemented all of the provisions of the Rosas Plan at NCCF, CRDF,
    PDC North, and PDC South and achieved Substantial Compliance with Paragraph 81 as
    of October 25, 2018. The Department is subject to monitoring of its compliance with the
    Rosas Plan at these facilities for the 18-month period required under the Rosas Settlement
    Agreement.

           Paragraphs 4.10 and 9.1 of the Rosas Implementation Plan are moot since the
    Settlement Agreement requires the Crisis Intervention and Conflict Resolution training to
    be extended to the remaining deputies and Custody Assistants, and it specifies the
    required cell checks in the Jails. Accordingly, the Department has implemented all of the
    provisions of the Rosas Implementation Plan.

            In the Seventh Reporting Period, the Monitor reviewed 31 randomly selected
    completed force packages for CRDF, NCCF, PDC North, and PDC South. Packages that
    the Monitor concluded raised an issue were also reviewed by the recently retained Use of
    Force Subject Matter Expert Susan McCampbell. Overall, the Monitor concluded that
    the Department is complying with its policies regarding the use and reporting of force
    incidents at NCCF, CRDF, PDC North, and PDC South,42 and that the force
    investigations are thorough and complete. There were two cases in which the Monitor
    concluded that the force was not in compliance with the applicable provisions of the
    Rosas Plan,43 and one case in which reporting and investigation of the force was not in
    compliance with the other applicable provisions of the plan. Of the two cases in which
    the Monitor concluded that the force was out of policy, one involved the use of a
    chemical spray against a naked inmate during the intake process and the other punches to
    the head of a restrained inmate. In the first case, the Monitor concluded that the reporting
    and investigation were also out of policy because the reports were not consistent with the
    video footage of the incident.44 In the latter case, the Department also found that the
    force was out of policy, but the Department determined that the Deputy Sheriff should
    receive additional training rather than discipline for the violation. Given that over 93%

    42
       With the exception of one force incident at South, all of the other force incidents reviewed by the
    Monitor during the Seventh Reporting Period were captured on the CCTVs at CRDF, NCCF, and PDC
    North.
    43
       In a third case at PDC South, the Monitor was not able to reach a conclusion regarding the force as the
    accounts of the involved deputy and the inmate were in conflict and the incident was not captured on the
    CCTV.
    44
       The Monitor's finding regarding the reporting and investigation of the force used in this case does not
    affect the Substantial Compliance finding with respect to Provision 84, which focuses on the timeliness of
    the completion of the investigations.


                                                       107
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 110 of 124 Page ID
                                   #:3278


    of the force incidents complied with the Rosas use of force provisions and over 96% of
    the reports and investigations complied with the Rosas reporting and investigation
    provisions, the Monitor concluded that the Department achieved Substantial Compliance
    with these provisions at the facilities outside of the Downtown Jail Complex during the
    Seventh Reporting Period.

             During the Seventh Reporting Period, the Monitor met with the Inmate Grievance
    Teams at CRDF and NCCF and with the Division Inmate Grievance Coordinator who has
    oversight responsibility for the implementation of the new grievance system. The
    grievance teams at both CRDF and NCCF have made significant improvements in the
    tracking of inmate grievances, reducing the back-log of overdue grievance investigations
    and closing out investigations that had been open for more than 30 days at their
    institutions. The Division Inmate Grievance Coordinator provided the Monitor with his
    Executive Reports: Statistical Analysis and Trends through the Third Quarter of 2018
    (with a comparison to the Second Quarter of 2018) and for the months of November and
    December 2018, broken down by facility and with response times in compliance with the
    15-day response required by the Rosas Plan. The Division Inmate Grievance Coordinator
    has done an outstanding job creating a new system for handling inmate grievances and in
    tracking and reporting on the effectiveness of this new system. The Monitor believes that
    the Department has achieved Substantial Compliance with the grievance provisions of the
    Rosas Plan at NCCF, CRDF, PDC North, and PDC South, which are the facilities
    covered by Paragraph 81.




                                              108
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 111 of 124 Page ID
                                   #:3279


            82.     With respect to paragraph 6.16 of the Rosas Implementation Plan, the
    County and the Sheriff will ensure that Sheriff's Department personnel responsible for
    collecting prisoners’ grievances as set forth in that paragraph are also co-located in the
    Century Regional Detention Facility.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 15, 2016, through
                           December 31, 2017)

            The Rosas Monitors have approved a de-centralized inmate grievance system,
    which includes an Inmate Grievance Team co-located at Century Regional Detention
    Facility. The Department published its new grievance policies on July 15, 2016.

           CRDF has its own Inmate Grievance Team with the staffing required by CDM 8-
    01.020.00. The Monitor met with CRDF's Inmate Grievance Team during the Sixth
    Reporting Period and reviewed the operation of the grievance system at CRDF.

            Pursuant to Paragraph 111 of the Settlement Agreement, the County was not
    subject to monitoring for Substantial Compliance with Paragraph 82 in the Seventh
    Reporting Period.




                                                109
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 112 of 124 Page ID
                                   #:3280


             83.    The County and the Sheriff will install closed circuit security cameras
    throughout all Jails facilities’ common areas where prisoners engage in programming,
    treatment, recreation, visitation, and intra-facility movement ("Common Areas"),
    including in the Common Areas at the Pitchess Detention Center and the Century
    Regional Detention Facility. The County and the Sheriff will install a sufficient number
    of cameras in Jails facilities that do not currently have cameras to ensure that all
    Common Areas of these facilities have security-camera coverage. The installation of
    these cameras will be completed no later than June 30, 2018, with TTCF, MCJ, and IRC
    completed by the Effective Date; CRDF completed by March 1, 2016; and the remaining
    facilities completed by June 30, 2018. The County and the Sheriff will also ensure that
    all video recordings of force incidents are adequately stored and retained for a period of
    at least one year after the force incident occurs or until all investigations and proceedings
    related to the use of force are concluded.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 1, 2015, through
                           June 30, 2016 at MCJ and IRC)

                           SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                           through September 30, 2016 at TTCF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                           March 31, 2017 at CRDF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2018, through
                           September 30, 2018, at NCCF and PDC North)

                           SUBSTANTIAL COMPLIANCE (as of July 1, 2018, through
                           September 30, 2018 at PDC South)

             The Monitor visited NCCF and PDC North on April 4, 2018, and confirmed that
    the closed circuit security cameras were operational in Common Areas at those facilities.
    The Department subsequently ordered and installed an additional eight cameras to cover
    blind spots at PDC North. On July 12, 2018, the Department submitted a report showing
    all of the cameras requested were installed and operational at NCCF, PDC North, and
    PDC South.

             Paragraph 83 also requires the Department to provide evidence that all video
    recordings of force incidents were adequately stored and retained for a period of at least
    one year after the force incident occurs. The County's Sixth Self-Assessment reported
    that it has achieved Substantial Compliance for this measure at CRDF in the Fourth
    Quarter of 2017.

           The County's posted results for NCCF, PDC North, and PDC South reflect that
    the Department achieved Substantial Compliance at these facilities in that all of the video
    recordings of all force incidents at PDC North and South of randomly selected force
    incidents at NCCF in the Second and Third Quarters of 2018 "were stored and retained



                                                110
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 113 of 124 Page ID
                                   #:3281


    by the Department." The Monitor reviewed the video recordings and confirmed that the
    Department's videos depict the force incidents on the Department's inventory.45

            In order to maintain Substantial Compliance, however, the Department must show
    that "90% of the force incidents on the quarterly lists. . . are on the inventory provided by
    the Department one year after the force incident." This requires the Department to show
    that force incidents that occurred in the first year after the cameras were installed be on
    the inventory one year after the incident. This means that NCCF and PDC North are
    subject to this requirement of Paragraph 83 until March 31, 2020, and PDC South is
    subject to it until June 30, 2020.

          The County previously maintained Substantial Compliance with Paragraph 83 at
    IRC, MCJ, TTCF, and CRDF for twelve consecutive months and was not subject to
    monitoring at these facilities during the Seventh Reporting Period.




    45
      One force incident at PDC South in the Second Quarter was, however, too blurry to be able to see what
    actually happened. Since this was before all of the cameras were installed at PDC South, it occurred before
    the Department achieved Substantial Compliance at South.


                                                       111
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 114 of 124 Page ID
                                   #:3282


            84.     The Sheriff will continue to maintain and implement policies for the
    timely and thorough investigation of alleged staff misconduct related to use of force and
    for timely disciplinary action arising from such investigations. Specifically:

            (a)      Sworn custody staff subject to the provisions of California Government
                     Code section 3304 will be notified of the completion of the investigation
                     and the proposed discipline arising from force incidents in accordance
                     with the requirements of that Code section; and

            (b)      All non-sworn Sheriff’s Department staff will be notified of the proposed
                     discipline arising from force incidents in time to allow for the imposition
                     of that discipline.

            STATUS:           SUBSTANTIAL COMPLIANCE (as of July 1, 2017, through
                              June 30, 2018 (verified))

            Substantial Compliance under the Compliance Measures requires the Department
    to demonstrate that 95% of the investigations of force incidents in which sworn custody
    staff and non-sworn custody staff were found to have violated Department policy or
    engaged in misconduct were completed and administrative action, which could include
    discipline, was taken within the time frames provided for in Government Code Section
    3304 and relevant Department policies.46

           The County’s Seventh Self-Assessment reports that the Department maintained
    Substantial Compliance in the Second Quarter of 2018. The Department concluded that
    "100% -- rather than the required 95% -- of investigations of force incidents which
    involved a violation of policy or misconduct were completed and administrative action
    was timely taken pursuant to 84-2." The reported results have been verified by the
    Monitor's auditors. As a result, the Department has maintained Substantial Compliance
    with Paragraph 84 for twelve months and is no longer subject to monitoring for
    compliance with this provision.




    46
       The Monitor's determination of the Department's compliance with Paragraph 84 is largely based upon
    the timeliness of the completion of the investigations, but the Monitor also previously reviewed several
    internal investigations, which appeared to be thorough and unbiased.



                                                       112
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 115 of 124 Page ID
                                   #:3283


           85.     The County and the Sheriff will ensure that Internal Affairs Bureau
    management and staff receive adequate specialized training in conducting investigations
    of misconduct.

           STATUS:        NON-COMPLIANCE

            Substantial Compliance requires the Department to provide the Monitor and
    Subject Matter Experts with (1) the curriculum/syllabus for the three specialized courses
    given to IAB management, and (2) a list of the sworn personnel assigned to IAB and
    proof that such personnel successfully completed the training. The County's posted
    results show that only 63% of the IAB investigators completed all three of the required
    courses as of the end of the Third Quarter of 2018.




                                               113
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 116 of 124 Page ID
                                   #:3284


           86.     Within three months of the Effective Date, the County and the Sheriff will
    develop and implement policies and procedures for the effective and accurate
    maintenance, inventory, and assignment of chemical agents and other security equipment.
    The County and the Sheriff will develop and maintain an adequate inventory control
    system for all weapons, including OC spray.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                           March 31, 2017 at MCJ and CRDF)

                           SUBSTANTIAL COMPLIANCE (as of October 1, 2016,
                           through December 31, 2017 at PDC North)

                           SUBSTANTIAL COMPLIANCE (as of February 1, 2017,
                           through March 31, 2018 at PDC South and PDC East)

                           SUBSTANTIAL COMPLIANCE (as of March 1, 2017,
                           through March 31, 2018 at NCCF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                           March 31, 2018 at IRC)

                           SUBSTANTIAL COMPLIANCE (as of April 1,
                           2018, through December 31, 2018 at TTCF)

            CDM 7-08/080 ACCOUNTABILITY OF SPECIALWEAPONS, effective
    October 14, 2016, requires each facility to have unit orders that "establish procedures for
    the storage, issuance, reissuance, accountability, maintenance, and periodic inventory of
    all weapons. . . stored at, or issued from, the facility," which includes detailed
    requirements for the "Inventory, Control, and Accountability of Aerosol Chemical
    Agents."

            In addition to providing written policies and procedures for the effective and
    accurate maintenance, inventory, and assignment of chemical agents and other security
    equipment, Substantial Compliance requires the Department to provide the Monitor and
    Subject Matter Experts with up-to-date Unit Orders for each jail requiring the inventory
    and inspection of special weapons, and armory audit logs documenting the inventory and
    control of armory-level weapons.

           The Monitor and Use of Force Subject Matter Expert inspected the armories at
    TTCF on September 17, 2018, and noted the continued improvement and that the
    inventory logs were checked daily in the TTCF armories.

            The Department previously maintained Substantial Compliance with Paragraph
    86 for twelve consecutive months at MCJ, CRDF, PDC North, PDC South, PDC East,
    IRC, and NCCF. Pursuant to Paragraph 111, these were not subject to monitoring in the
    Seventh Reporting Period.



                                                114
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 117 of 124 Page ID
                                   #:3285
                                APPENDIX A


       PROVISION                       STATUS                               SUBSTANTIAL
 NO.                                                                        COMPLIANCE
                                                                            DATES

 18    Suicide Prevention Training     Substantial Compliance (MCJ,         (10/1/17 at MCJ &
                                       NCCF, PDC South, PDC East,           PDC South)1
                                       TTCF, IRC, PDC North, &              (9/1/17 at NCCF)
                                       CRDF)                                (12/1/17 at PDC
                                                                            East)
                                                                            (4/1/18 at TTCF,
                                                                            IRC, & PDC North)
                                                                            (6/1/18 at CRDF)

 19    Crisis Intervention &           Substantial Compliance (MCJ,         (4/1/18 at MCJ,
       Conflict Resolution Training    NCCF, IRC, & TTCF)                   NCCF & IRC)
                                       Partial Compliance (CRDF)            (7/1/18 at TTCF)

 20    Training at NCCF, PDC and       Substantial Compliance (PDC          (8/1/17 at PDC East,
       CRDF                            East, PDC North, PDC South,          PDC North, NCCF,
                                       NCCF, & CRDF)                        & CRDF)
                                                                            (10/1/17 at PDC
                                                                            South)

 21    CPR Certification               Substantial Compliance               (10/1/15 – 9/30/16 at
                                       (NCCF, PDC East, PDC North,          PDC East & PDC
                                       PDC South, TTCF, IRC, MCJ, &         South)
                                       CRDF)                                (1/1/16 – 12/31/16 at
                                                                            NCCF, PDC North,
                                                                            & IRC)
                                                                            (4/1/16 – 3/31/17 at
                                                                            TTCF)
                                                                            (10/1/17 – 9/30/18 at
                                                                            MCJ)
                                                                            (7/1/18 – 9/30/18 at
                                                                            CRDF)

 22    Use of Arresting and            Substantial Compliance               (7/1/16 – 6/30/17)
       Booking Documents



        1
         Substantial Compliance Dates in bold reflect that the Department has achieved
 Substantial Compliance with the training requirements or maintained Substantial Compliance for
 twelve consecutive months with the other requirements; the results were verified by the
 Monitor's auditors when required; and the County or designated facilities are no longer subject to
 monitoring of this provision pursuant to Paragraph 111 of the Settlement agreement.
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 118 of 124 Page ID
                                   #:3286
                                APPENDIX A



 23   Suicide Hazard Mitigation       Substantial Compliance         (7/12/18)
      Plans

 24   Suicide Hazard Inspection       Substantial Compliance         (10/1/17 – 9/30/18)

 25   Transportation of Suicidal      Partial Compliance
      Inmates (station jails)

 26   Identification and Evaluation   Partial Compliance
      of Suicidal Inmates

 27   Screening for Mental Health     Partial Compliance
      Care and Suicide Risk

 28   Expedited Booking of            Substantial Compliance (IRC)   (4/1/17 – 3/31/18 at
      Suicidal Inmates                Partial Compliance (CRDF)      IRC)

 29   Mental Health Assessments       Substantial Compliance         (4/1/17 – 3/31/18)
      (of non-emergent mental
      health needs)

 30   Initial Mental Health           Partial Compliance
      Assessments & Treatment
      Plans

 31   Electronic Medical Records      Partial Compliance
      Alerts

 32   Electronic Medical Records      Substantial Compliance         (1/1/16 – 12/31/16)
      – Suicide Attempts

 33   Supervisor Reviews of           Substantial Compliance         (7/1/16 – 6/30/17)
      Electronic Medical Records

 34   Discharge Planning              Stayed Pending Litigation

 35   Referral for Mental Health      Substantial Compliance         (11/1/17 – 9/30/18)
      Care


 36   Assessments After               Partial Compliance
      Triggering Events

 37   Court Services Division         Partial Compliance
      Referrals
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 119 of 124 Page ID
                                   #:3287
                                APPENDIX A




 38   Weekly Rounds in Restricted      Substantial Compliance           (1/1/16 – 12/31/16)
      Housing Modules

 39   Confidential Self-Referral       Substantial Compliance (NCCF     (7/1/17 – 6/30/18 at
                                       & PDC North)                     NCCF)
                                       Partial Compliance (TTCF, MCJ,   (7/1/18 – 9/30/18 at
                                       & CRDF)                          PDC North)
                                       Not Rated (PDC South & East)

 40   Availability of QMHPs            Partial Compliance

 41   FIP Step-Down Protocols          Partial Compliance

 42   HOH Step-Down Protocols          Partial Compliance

 43   Disciplinary Policies            Substantial Compliance (NCCF   (10/1/17 – 9/30/18 at
                                       & PDC North)                   NCCF & PDC
                                       Partial Compliance (CRDF, MCJ, North)
                                       & TTCF)

 44   Protective Barriers              Substantial Compliance           (1/1/16 – 12/31/16)

 45   Suicide Intervention and         Substantial Compliance           (10/1/15 – 9/30/16 at
      First Aid Kits                                                    CRDF, NCCF,
                                                                        TTCF, PDC East, &
                                                                        PDC South)
                                                                        (1/1/16 – 12/31/16 at
                                                                        MCJ & PDC North)

 46   Interruption of Self-Injurious   Partial Compliance
      Behavior

 47   Staffing Requirements            Non-Compliance

 48   Housekeeping and Sanitation      Substantial Compliance           (1/1/16 – 12/31/16)

 49   Maintenance Plans                Substantial Compliance           (3/1/16 – 2/28/17)

 50   Pest Control                     Substantial Compliance           (1/1/16 – 12/31/16 at
                                                                        MCJ, NCCF, PDC
                                                                        North, TTCF, &
                                                                        CRDF)
                                                                        (4/1/16 – 3/31/17 at
                                                                        PDC South & PDC
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 120 of 124 Page ID
                                   #:3288
                                APPENDIX A


                                                                         East)

 51    Personal Care & Supplies       Substantial Compliance             (1/1/16 – 12/31/16
                                                                         at MCJ, NCCF,
                                                                         PDC East, PDC
                                                                         North, PDC South,
                                                                         & TTCF)
                                                                         (7/1/16 – 6/30/17 at
                                                                         CRDF)

 52    HOH Property Restrictions      Partial Compliance

 53    Eligibility for Education,     Partial Compliance
       Work and Programs

 54    Privileges and Programs2       Partial Compliance

 55    Staff Meetings                 Substantial Compliance (CRDF,      (10/1/16 – 9/30/17 at
                                      PDC North, & MCJ)                  CRDF)
                                      Partial Compliance (TTCF)          (4/1/17 – 3/31/18 at
                                                                         PDC North)
                                                                         (4/1/18 – 9/30/18 at
                                                                         MCJ)

 56    Changes in Housing             Substantial Compliance             (1/1/16 – 12/31/16)
       Assignments

 57    Inmate Safety Checks in        Substantial Compliance (MCJ)       (4/1/17 – 3/31/18 at
       Mental Housing                 Partial Compliance (PDC North,     MCJ)
                                      TTCF, & CRDF)

 58    Inmate Safety Checks in        Substantial Compliance (PDC        (1/1/16 – 12/31/16 at
       Non-Mental Housing             South, PDC North, PDC East,        PDC South, PDC
                                      CRDF, & IRC)                       North, & PDC East)
                                      Partial Compliance (TTCF,          (7/1/17 – 6/30/18 at
                                      NCCF, & MCJ)                       CRDF)
                                                                         (10/1/17 – 9/30/18 at
                                                                         IRC)




        2
          Per agreement of the parties, the County must maintain Substantial Compliance for two
 additional quarters under the revised Compliance Measures.
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 121 of 124 Page ID
                                   #:3289
                                APPENDIX A



 59   Supervisor Rounds           Substantial Compliance (at PDC   (1/1/17 – 12/31/17 at
                                  North, PDC East, MCJ, CRDF,      PDC East & MCJ)
                                  PDC South, NCCF, & TTCF)         (4/1/17 – 3/31/18 at
                                                                   NCCF)
                                                                   (10/1/17 – 9/30/18 at
                                                                   CRDF)
                                                                   (1/1/18 – 9/30/18 at
                                                                   PDC North & PDC
                                                                   South)
                                                                   (4/1/18 – 9/30/18 at
                                                                   TTCF)

 60   Implementation of Quality   Partial Compliance
      Improvement Program

 61   Requirements of Quality     Partial Compliance
      Improvement Program

 62   Tracking of Corrective      Partial Compliance
      Action Plans


 63   Sufficient HOH and MOH      Non-Compliance
      Housing

 64   Plans for Availability of   Partial Compliance
      Inpatient Health Care


 65   Administration of           Partial Compliance
      Psychotropic Medication

 66   Active Mental Health        Non-Compliance
      Caseloads

 67   Prisoner Refusals of        Non-Compliance
      Medication

 68   Contraband Searches         Substantial Compliance (MCJ,     (1/1/16 – 12/31/16 at
                                  NCCF, PDC East, PDC South        MCJ, NCCF, PDC
                                  PDC North, & TTCF)               East, PDC South, &
                                  Partial Compliance (CRDF)        PDC North)
                                                                   (1/1/17 – 12/31/17 at
                                                                   TTCF)
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 122 of 124 Page ID
                                   #:3290
                                APPENDIX A




 69   Clinical Restraints in CTC          Substantial Compliance   (7/1/18 – 9/30/18)

 70   Security Restraints in HOH          Partial Compliance
      and MOH

 71   Therapeutic Services for       Substantial Compliance        (7/1/16 – 6/30/17)
      Inmates in Clinical Restraints

 72   Administrative Reviews              Substantial Compliance   (1/1/17 – 12/31/17)3

 73   Reporting of Self-Injurious         Substantial Compliance   (10/1/17 – 9/30/18)
      Behavior and Threats

 74   Law Enforcement                     Substantial Compliance   (9/1/16 – 12/31/17)
      Investigations of Suicides

 75   Management Reviews of               Substantial Compliance   (10/1/17 – 9/30/18)
      Suicide Attempts

 76   Management Reviews of               Substantial Compliance   (9/1/16 – 12/31/17)
      Suicides

 77   Custody Compliance and              Partial Compliance
      Sustainability Bureau

 78   Suicide Prevention Advisory         Substantial Compliance   (5/11/16 – 5/18/17)
      Committee

 79   Therapeutic Services in             Non-Compliance
      Mental Health Housing

 80   Out-of-Cell Time in HOH             Non-Compliance

 81   Implementation of Rosas             Partial Compliance
      Recommendations

 82   Grievances at CRDF                  Substantial Compliance   (7/15/16 – 12/31/17)




       3
           Subject to further verification.
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 123 of 124 Page ID
                                   #:3291
                                APPENDIX A

 83   Closed Circuit Cameras      Substantial Compliance         (7/1/15 – 6/30/16 at
                                  (MCJ, TTCF, IRC, CRDF,         MCJ & IRC)
                                  NCCF, PDC North, & PDC         (10/1/15 – 9/30/16 at
                                  South)                         TTCF)
                                                                 (4/1/16 – 3/31/17 at
                                                                 CRDF)
                                                                 (4/1/18 – 9/30/18 at
                                                                 NCCF & PDC North)
                                                                 (7/1/18 –9/30/18 at
                                                                 PDC South

 84   Investigation of Staff      Substantial Compliance         (7/1/17 – 6/30/18)
      Misconduct

 85   Internal Affairs Bureau     Non-Compliance
      Training

 86   Maintenance and Inventory   Substantial Compliance (MCJ, (4/1/16 – 3/31/17 at
      of Security Equipment       CRDF, PDC North, PDC South,  MCJ & CRDF)
                                  PDC East, NCCF, IRC, & TTCF) (10/1/16 – 12/31/17 at
                                                               PDC North)
                                                               (2/1/17 – 3/31/18 at
                                                               PDC South & PDC
                                                               East)
                                                               (3/1/17 – 3/31/18 at
                                                               NCCF)
                                                               (4/1/17 – 3/31/18 at
                                                               IRC)
                                                               (4/1/18 – 12/31/18 at
                                                               TTCF)
Case 2:15-cv-05903-DDP-JEM Document 148 Filed 02/28/19 Page 124 of 124 Page ID
                                   #:3292
                                APPENDIX B

                 Substantial    Partial        Non-           Substantial     No Longer
                 Compliance     Compliance1    Compliance     Compliance      Subject To
                 (Provisions)                                 (Facilities)2   Monitoring3

    First4       5              16                            10

    Second       14             30             13             24

    Third        22             27(1)          10             29              4(2)

    Fourth       24             26(1)          10             29              10(2)

    Fifth        23             24(2)          7              34              15(5)

    Sixth        32             22             7              38              18(9)

    Seventh      31             22             7              39              23(11)




        1
          The figure in parenthesis under Partial Compliance is the number of additional
 provisions where some facilities were in Partial Compliance and other facilities were in Non-
 Compliance.
        2
          This represents the number of provisions where the Department is in Substantial
 Compliance at all or some of the facilities.
        3
          The figure in parenthesis under No Longer Subject to Monitoring is the number of
 additional provisions where some facilities are no longer subject to monitoring.
        4
          During the First Reporting Period, 43 provisions were not subject to monitoring.
